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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ____________________________________
   CHARLOTTE FREEMAN, et al.,           :
                                        :   Case No. 14-CV-6601 (DLI)(CLP)
                     Plaintiffs,        :
                                        :
         -against-                      :
                                        :
   HSBC HOLDINGS PLC, et al.,           :
                                        :
                     Defendants.        :
   ____________________________________:




        PLAINTIFFS’ OMNIBUS MEMORANDUM OF LAW IN OPPOSITION TO
     DEFENDANTS’ MOTIONS TO DISMISS THE SECOND AMENDED COMPLAINT
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                                                 INTRODUCTION

           The Second Amended Complaint (“Complaint” or “SAC”)1 sets forth a criminal

   conspiracy (the “Conspiracy”) that is unprecedented in the scope and magnitude of terrorism that

   it facilitated. Comprising admissions Defendants made in judicial proceedings, government

   findings, and whistleblower-supplied documents that detail the stratagems Standard Chartered

   Bank and other Defendants employed to facilitate Iran’s successful decades-long effort to evade

   sanctions and arms embargoes, the Complaint sets forth the aims and foreseeable results of the

   Conspiracy that inexorably led to Iran devising, manufacturing and supplying Improvised

   Explosive Devices (“IEDs”) (including signature Iranian weapons – Explosively Formed

   Penetrators (“EFPs”)) that killed and maimed hundreds of Americans in Iraq between 2004 and

   2011, including Plaintiffs.2

           Collectively, Defendants’ myriad briefs recycle nearly every failed argument invoked by

   ATA defendants over the past fifteen years, including, most notably, their talismanic incantation


   1
             Defendants argue that this Court must dismiss the Complaint with prejudice without leave to amend if it
   agrees with Defendants’ arguments, because the SAC is the third complaint Plaintiffs have filed. In support,
   Defendants cite Denny v. Barber, 576 F.2d 465, 471 (2d Cir. 1978). Joint Mem. at 2, 30 n. 13. In Denny, however,
   the court had already dismissed the complaint twice after hearings. Here Plaintiffs amended twice to add additional
   plaintiffs and to reflect new facts provided by whistleblower disclosures against Defendant Standard Chartered
   Bank, and the Court will be ruling for the first time on Defendants’ Motion to Dismiss.
   2
             EFPs are a particularly effective form of manufactured IED sometimes known as a shaped charge, usually
   made with a manufactured concave copper disk and a high explosive packed behind the liner. Metallurgic analysis
   by U.S. technicians helped confirm that the high-purity copper EFP liners were not produced in Iraq. Differences in
   the liners indicated the kind of press that was required to fabricate them – a heavy hydraulic press not commonly
   seen in Iraq. To produce these weapons, copper sheets were often loaded onto a punch press to yield copper discs.
   These discs were annealed in a furnace to soften the copper. The discs were then loaded into a large hydraulic press
   and formed into the disk-like final shape. This manufacturing process is critical to the design and lethality of the
   weapon. When the explosives inside an EFP detonate, the blast energy inverts the copper plate into a ragged slug
   traveling over a mile per second, capable of punching through armor even 300 feet away. The EFPs manufactured
   by Hezbollah and the IRGC were far more sophisticated than homemade explosive devices such as traditional IEDs
   used by al Qaeda and other terrorist groups, and they were designed specifically to target American and Coalition
   armored vehicles – with lethal results. They were also identifiable as weapons of Iranian-origin. SAC ¶¶259-279.
   Under the ATA, IEDs and EFPs are deemed “weapons of mass destruction” as that term is defined in 18 U.S.C.
   §2332a(c)(2)(A).



                                                            1
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   of “Rothstein” in the apparent belief that this Court is incapable of distinguishing obviously

   different pleadings simply because both mention Iran and banks.3 By styling their Joint

   Memorandum on behalf of the “Moving Defendants” and distancing themselves from their

   former customer and co-conspirator, Bank Saderat Plc (“Bank Saderat” or “Saderat”) (which was

   compelled to file its own brief), Defendants also hope to obscure their long-standing involvement

   with this Specially Designated Global Terrorist (“SDGT”).

            In sum, it is clear that the Moving Defendants do not view the Deferred Prosecution

   Agreements (“DPAs”) they signed (or the fines they have paid) as marks of shame, but rather as

   grants of immunity, shielding them from further legal consequences of a decade of serving as

   what Judge Posner termed “financial angels” of the world’s most lethal and prolific State

   Sponsor of Terrorism. Boim v. Holy Land Found. for Relief and Dev., 549 F.3d 685, 690 (7th

   Cir. 2008) (en banc) (“Boim III”). Having escaped meaningful criminal prosecution, at least so

   far, they now ask this Court to rule, as a matter of law, that they are entirely beyond the reach of

   American civil justice.

            The ATA, however, offers no such safe harbor for their crimes.

            On the contrary, Congress expressly enacted the ATA to empower Americans precisely

   like the Plaintiffs to hold such entities legally accountable. Furthermore, less than three weeks

   ago, Congress affirmed its intent “to provide civil litigants with the broadest possible basis

   [under the ATA], consistent with the Constitution of the United States, to seek relief against

   persons, entities, and foreign countries, wherever acting and wherever they may be found, that

   have provided material support, directly or indirectly, to foreign organizations or persons that


   3
            Moving Defendants’ Joint Memorandum alone mentions Rothstein sixty times in 30 pages, as if repetition
   can substitute for analysis, but fails to mention the seminal civil ATA case, Boim v. Holy Land Found. for Relief and
   Dev. (en banc) (Boim III), 549 F.3d 685 (7th Cir. 2008), even once.


                                                            2
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   engage in terrorist activities against the United States.” Justice Against Sponsors of Terrorism

   Act (“JASTA”), §2(b), Pub. L. No. 114–222, Sept. 28, 2016.4

            In sum, the Complaint plausibly and sufficiently pleads ATA claims, entitling Plaintiffs

   to their day in court.

            First, Plaintiffs’ First and Second Claims for Relief against all Defendants are predicated

   on the incorporated criminal conspiracy provisions of 18 U.S.C. §2339A and §2339B, (as well as

   JASTA §4(a), adding §2333(d) to the ATA). Yet the Moving Defendants’ Joint Memorandum

   relegates this threshold conspiracy argument to the end of their brief. Joint Mem. at 24-27.

   Defendants bury it not just because their “no-conspiracy defense” is inconsistent with both the

   holding and language of the seminal ATA case, Boim III, (and now by §2333(d)’s express

   terms), but also to avoid proximate causation standards of conspiracy law that are fatal to that

   defense. Under both settled Second Circuit precedent and the legal framework Congress has

   expressly found applicable in JASTA §2(a)(5), Defendants are liable for all of the foreseeable

   acts of the conspiracy they willingly joined, whether or not they shared every one of its

   objectives or “intended to achieve a terroristic purpose,” as the HSBC and RBS Defendants

   incorrectly claim they must. HSBC/RBS Mem. at 1.

            Second, notwithstanding Defendants’ efforts to re-write the Complaint’s allegations,

   Plaintiffs allege not only that Iran acted indirectly by providing material support to the terrorists

   responsible for the attacks that injured them, but also that Iran was itself directly involved in, and

   is legally responsible for, those acts of terrorism.5 The fact that the identities of the terrorists who


   4
            JASTA applies to pending civil actions “arising out of an injury to a person, property, or business on or
   after September 11, 2001.” All injuries alleged in the Complaint occurred after September 11, 2001.
   5
            See, e.g. SAC ¶250 (“[Iran’s] Qods Force provides lethal support in the form of weapons, training, funding,
   and guidance to select groups of Iraqi Shi’a militants who target and kill Coalition and Iraqi forces…”), SAC ¶257
   (“Ordered by IRGC headquarters to create disorder, the task of these groups is to attack bases of Coalition Forces in
   southern Iraq…”)

                                                            3
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   detonated Iranian-manufactured weapons may remain unknown does not mean – as Defendants

   imply – that the terrorist acts at issue were caused solely by “multiple unknown actors.” Joint.

   Mem. at 1, 9. On the contrary, the Complaint plausibly pleads that Iran bears primary

   responsibility for the attacks perpetrated by its instrumentalities and agents (e.g., Hezbollah, the

   Islamic Revolutionary Guard Corps (“IRGC”) (including the IRGC-Qods Force (“IRGC-QF”)),

   Ministry of Defense and Armed Forces Logistics (“MODAFL”), Islamic Republic of Iran

   Shipping Lines (“IRISL”) and Mahan Air), and that by illegally funding those agents,

   Defendants aided in those attacks.

          Third, Rothstein v. UBS AG, 708 F.3d 82 (2d Cir. 2013), on which Defendants’ causation

   arguments hinge, does not require dismissal of even the Complaint’s non-conspiracy claims for

   failure to plead proximate causation. Rothstein merely affirmed that traditional tort principles of

   proximate cause are applicable to the ATA. Id. at 91 (affirming that a defendant is liable “to

   those with respect to whom his acts were a substantial factor in the sequence of responsible

   causation and whose injury was reasonably foreseeable or anticipated as a natural consequence”)

   (citation omitted). It simply declined to mechanically extend Congress’s finding that “foreign

   organizations that engage in terrorist activity are so tainted by their criminal conduct that any

   contribution to such an organization facilitates that conduct” to State Sponsors of Terrorism,

   because even State Sponsors of Terrorism “have many legitimate agencies, operations, and

   programs to fund.” Id. at 97. The Rothstein plaintiffs fatally failed to plead that the support UBS

   provided was not directed toward Iran’s “legitimate agencies, operations, and programs,” relying

   instead on a supposed “presumption” of causation that the Second Circuit rejected. Id. at 95-97.

   (Plaintiffs argued “causation may be presumed” when defendant has committed a “per se

   violation of a statute.”) Defendants extrapolate from this that “the mere provision of banking



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   services to Iran, a [S]tate [S]ponsor of [T]errorism, is too indirect to satisfy the proximate cause

   standard.” Joint Mem. at 18 (emphasis added).

           Plaintiffs agree.

           The Complaint, however, does not allege “the mere provision of banking services to

   Iran.” In sharp contrast to Rothstein’s insufficient pleadings, the Complaint details U.S.

   government findings that the Conspiracy delivered at least:

                   $50 million to Hezbollah (a U.S.-designated Foreign Terrorist
                    Organization (“FTO”) that organized attacks on Plaintiffs);

                   at least $100 million to the IRGC (Iran’s prime instrument for supporting
                    terrorism and weapons proliferation, which planned, supplied, and
                    organized attacks on Plaintiffs); 6 and

                   at least $100 million for the benefit of IRISL (Iran’s prime instrument for
                    transporting weapons, including components and manufacturing devices
                    for the signature weapons used in attacks on Plaintiffs). SAC ¶¶23, 1022-
                    1023.

           Furthermore, the Complaint alleges – also voluminously – that Defendants had a

   transparent channel for financial transactions on behalf of Iran’s legitimate activities, and

   intentionally chose to engage in non-transparent conduct designed to evade U.S. laws – conduct

   whose only possible purpose and explanation was to help a State Sponsor of Terrorism fund its

   illegitimate entities, operations, and programs.

           Fourth, Congress expressly created nationwide service of process for ATA claims. 18

   U.S.C. §2334(a) (authorizing nationwide service of process wherever the defendant resides, is

   found, or has an agent). In addition, New York’s long arm statute provides personal jurisdiction.

   Both bases of jurisdiction satisfy the applicable due process limits for the unlawful transactions

   purposefully directed through the United States that are at the center of Plaintiffs’ claims.

   6
            Moreover, these sums do not include the still (pre-discovery) unquantified sums that the HSBC Defendants,
   Standard Chartered Bank, and RBS N.V. illegally processed for the IRGC through their customer, the National
   Iranian Oil Company (“NIOC”), a U.S. government-identified IRGC agent during the relevant period.

                                                           5
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   Personal jurisdiction here is especially consistent with Congress’s finding that “Persons, entities,

   or countries that knowingly or recklessly contribute material support or resources, directly or

   indirectly, to persons or organizations that pose a significant risk of committing acts of terrorism

   that threaten the security of nationals of the United States or the national security, foreign policy,

   or economy of the United States, necessarily direct their conduct at the United States, and should

   reasonably anticipate being brought to court in the United States to answer for such activities.”

   JASTA §2(a)(6) (emphasis added).

           Finally, Congress did not simultaneously create a civil remedy for American victims of

   “acts of international terrorism,” in order to snatch it away by then labeling those same acts of

   international terrorism “acts of war.” Bank Saderat’s contention that the terrorist attacks in this

   case took place in a “Declared War,” BS Mem. at 6-9, or, alternatively, that they occurred in an

   “armed conflict” within the meaning of the ATA’s “act-of-war” defense (18 U.S.C. §2336) are

   equally untenable. What Bank Saderat calls “clashes” of violence in the “aftermath” of major

   combat operations in Iraq are, in fact, acts of international terrorism. FTO Hezbollah, the IRGC

   and their terrorist proxies were not “military forces” either. Id. This Court should not be the first

   to find that the kidnapping and murder of Americans in Iraq by terrorists that did not fight

   openly, wear uniforms, or follow the laws of war, are “acts of war” that immunize Defendants

   from liability.

           This Court should deny Defendants’ motion to dismiss and give Plaintiffs the chance to

   prove their claims – the type of claims that Congress vindicated and that the ATA affords.

                                      STANDARD OF REVIEW

           Federal Rule of Civil Procedure 8(a) does not “require heightened fact pleading of

   specifics,” Arista Records, LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010) (quoting Bell Atl.



                                                     6
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   Corp v. Twombly, 550 U.S. 544, 570 (2007). “The Court accepts all well-pleaded allegations in

   the complaint as true, drawing all reasonable inferences in the plaintiff’s favor.” Operating Local

   649 Annuity Trust Fund v. Smith Barney Fund Mgmt. LLC, 595 F.3d 86, 91 (2d Cir. 2010).

                                          FACTUAL ALLEGATIONS

   A.      The Criminal Conspiracy

           Against a backdrop of widely documented Iranian-orchestrated terrorism directed at

   Americans in Iraq, the Complaint alleges that Defendants actively participated in the Conspiracy

   with Iran, a U.S.-designated State Sponsor of Terrorism, knowing of Iran’s designation. The

   Conspiracy’s chief objectives were:

           1. concealing Iran’s Eurodollar7 financial transactions through the U.S. from detection,
              scrutiny or monitoring by U.S. regulators, law enforcement, and/or depository
              institutions; and

           2. facilitating illicit transactions through the U.S. on behalf of such Iranian
              instrumentalities of terrorism as Hezbollah8; the IRGC; IRISL (including transactions
              after it was designated a Specially Designated National (“SDN”); Iranian-controlled
              banks such as Defendant Bank Saderat9 (an SDGT) and Bank Melli (an SDN)10; and
              Iran’s Ministry of Defense and Armed Forces Logistics (“MODAFL”) (also an SDN),
              Mahan Air (an SDGT), and the NIOC. SAC ¶¶19-23.


   7
             Eurodollar refers to a time deposit denominated in U.S. dollars that is maintained by a bank outside the
   United States. Payment transactions in the Eurodollar market are not typically settled by the physical transfer of
   USD-denominated banknotes from one counterparty to another. Instead, Eurodollar transactions are settled
   electronically in New York through a bank-owned clearinghouse, and then maintained by book entries of credits and
   debits in the respective counterparties’ accounting systems (based on the Society for Worldwide Interbank Financial
   Telecommunication network--“SWIFT-NET”--messages sent between the counterparties and their correspondent
   banks). SAC ¶1, n. 1.

   8
            Hezbollah, a Lebanon-based terrorist organization, was first designated a Foreign Terrorist Organization by
   the United States in 1997. The designation has remained in effect since that time. SAC ¶11.
   9
            During the relevant period, Defendant Bank Saderat was a customer of Defendants HSBC (SAC ¶¶478,
   521), Barclays (SAC ¶¶576, 614), SCB (SAC ¶¶623, 645, 660, 668), RBS (SAC ¶874), Credit Suisse (SAC ¶¶932-
   933), and Commerzbank (SAC ¶994).
   10
          During the relevant period, Bank Melli was a customer of Defendants HSBC (SAC ¶¶426, 446), Barclays
   (SAC ¶¶426-427), SCB (SAC ¶¶431-432), RBS (SAC ¶¶426, 430), Credit Suisse (SAC ¶¶442-443), and
   Commerzbank (SAC ¶¶444, 1001).


                                                            7
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            The acts of international terrorism that injured Plaintiffs were planned, authorized, and/or

   perpetrated by these instrumentalities and entities, and were the foreseeable – indeed inevitable –

   results of the Conspiracy.

            The Defendants effectuated the Conspiracy by various means, including:

            1. removing or altering identifying information of the payment messages they sent
               through U.S. correspondent banks (commonly referred to as “stripping”). HSBC
               (SAC ¶¶479-482), Barclays (SAC ¶¶576, 581-583), SCB (SAC ¶¶619-622, 629-630),
               RBS (SAC ¶¶871-873, 876-878), Credit Suisse (SAC ¶¶930-931, 936-937), and
               Commerzbank (SAC ¶¶992-994);

            2. converting SWIFT11 payment messages through U.S. banks from ones that disclosed
               Iranian counter-parties to the transactions into ones that did not. 12 HSBC (SAC
               ¶¶482-484), Barclays (SAC ¶¶581, 586-595), SCB (SAC ¶¶628-632, 636-639), RBS
               (SAC ¶¶876-896), Credit Suisse (SAC ¶¶931, 936-940, 960), and Commerzbank
               (SAC ¶¶994, 997-999);

            3. intentionally avoiding conducting the required screening of Iran-linked Letters of
               Credit documents for compliance with the U.S. Office of Foreign Assets Control
               (“OFAC”); the U.S. State Department’s United States Munitions List (“USML”) of
               defense-related export controlled items; and/or the U.S. Bureau of Industry and
               Security’s (“BIS”) Commerce Control List (“CCL”) of dual-use export controlled
               items, and Denied Persons List (“DPL”) of export denied entities 13; and

            4. knowingly and willfully facilitating the laundering the proceeds of Iranian petroleum
               sales for the NIOC and other sanctioned Iranian entities. These “petrodollar”
               transactions, including trade-finance and foreign exchange, provided Iran with illegal
               access to billions of dollars to which it otherwise would not have had access, and
               included the direct funding of the IRGC and its network of front companies through
               the Defendants. SAC ¶25.


   11
            SWIFT-Brussels is a cooperative society under Belgian law owned by its member financial institutions.
   SWIFT-Brussels’s global private network, SWIFT-NET, enables financial institutions to send and receive
   information about financial transactions in the Eurodollar market, among other financial markets, in a standardized
   message format. SAC ¶22, n. 4.
   12
            When a bank customer sends an international wire payment, the de facto standard to execute such a
   payment is the MT 103. When a financial institution sends a bank-to-bank credit transfer, the de facto standard is the
   MT 202. The crucial difference, during the relevant period, was that MT 202 payments typically did not require the
   bank to identify the originating party to the transactions, and banks typically did not include that information in MT
   202 messages. SAC ¶25.
   13
            See SAC ¶¶173-196 with regard to Letters of Credit and the regulatory architecture the U.S. employed in
   furtherance of its trade embargo against Iran.


                                                             8
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           The U.S. government’s so-called “U-Turn Exemption” (available to Iran until November

   10, 2008) provided Iran with a legal and transparent method of transferring Eurodollars through

   the U.S. financial system to fund its legitimate agencies, operations, and programs. Because the

   core aim of the Conspiracy was Iran’s manipulation of the U.S. financial system for terrorism

   and for the benefit of other illegitimate agencies, operations, and programs, however, Iran was

   unwilling to subject all of its Eurodollar transactions to the scrutiny and transparency required by

   the U-Turn Exemption. Instead, Iran (including Defendant Bank Saderat) used the above-

   mentioned unlawful means to launder hundreds of billions of dollars through the United States

   undetected. SAC ¶¶140-149.14

           1.       Defendants Intentionally Joined an Agreement to Commit Unlawful Acts.

           Each Moving Defendant entered into a Deferred Prosecution Agreement with U.S.

   prosecutors (often accompanied by consent orders with federal, and, in some cases, state

   regulators) in which it admitted that it knowingly concealed Iranian financial activities and

   transactions from detection, scrutiny, or monitoring by U.S. law enforcement and regulatory

   authorities. HSBC (SAC ¶¶523-524); Barclays (SAC ¶¶616-618); Standard Chartered Bank

   (SAC ¶¶839-843); RBS (SAC ¶¶919-929); Credit Suisse (SAC ¶¶988-990); and Commerzbank

   (SAC ¶992). Below are merely a few examples demonstrating each Defendant’s agreement to

   join, and its involvement in, the Conspiracy.

           a. Bank Saderat

                   SAC ¶163 (quoting the New York State Department of Financial Services
                    (“DFS”) identifying Saderat as one of the Iranian banks “engaging in deceptive


   14
            Defendants’ exploitation of the U-Turn Exemption was so pervasive that the U.S. revoked it altogether in
   2008. As former Manhattan District Attorney Robert M. Morgenthau pointedly told Congress in 2009, “the U-Turn
   exemption constituted a glaring hole that undermined both the enforcement of, and the rationale behind, the Iranian
   sanctions program.” SAC ¶170.


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                conduct to hide its involvement in various other prohibited transactions, such as
                assisting OFAC-sanctioned weapons dealers”)

               SAC ¶¶375, 692-693, 742-43 (setting forth Bank Saderat Plc’s agreement to
                clandestinely finance the illegal acquisition of U.S.-embargoed equipment on
                behalf of Mahan Air and various sub-agencies of MODAFL)

               SAC ¶18 (quoting U.S. government finding that Bank Saderat Plc acted on behalf
                of Iran’s Central Bank (“CBI”) to launder funds to Hezbollah)

         b. Standard Chartered Bank

               SAC ¶¶636-39 (describing Standard Chartered Bank’s 2004 internal policy
                document outlining the Bank’s methods of laundering money on Iran’s behalf)

               SAC ¶842 (noting the Department of Justice’s filing of a criminal information
                charging Standard Chartered Bank with “knowingly and willfully conspiring to
                violate” U.S. sanctions laws)

         c. HSBC Defendants

               SAC ¶¶501-507 (describing HSBC’s “Bank Melli proposal” containing specific
                instructions to Bank Melli on how to avoid OFAC sanctions screening filters)

               SAC ¶¶541-543 (describing the “Eastwood Memorandum,” 15 which detailed
                HSBC’s “cover payment method” of evading U.S. sanctions and specific actions
                HSBC took to modify the contents of payment messages)

         d. Barclays

               SAC ¶¶584-599 (describing Barclays’ “List of Correspondents,” which contained
                instructions to its employees on how to process payments for sanctioned Iranian
                banks so as to bypass OFAC controls in the United States)

               SAC ¶¶427-428 (describing Bank Melli’s instructions to process Eurodollar
                transactions referencing only Bank Melli’s Eurodollar account number at Midland
                Park Plc in London without referencing Bank Melli Iran’s name in the SWIFT-
                NET payment orders)




   15
          The Eastwood Memorandum was entitled “COMPLIANCE-OFAC ISSUES IN GENERAL AND
   SPECIFIC TO IRAN.” SAC ¶541.

                                               10
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          e. RBS N.V.

                  SAC ¶¶881-883 (describing one section of RBS’ payment manual entitled
                   “Special Conditions,” which listed specific instructions on how to effectuate
                   payments by Iranian banks and avoid OFAC filters)
                  SAC ¶¶919-929 (describing criminal information filed against RBS N.V. for
                   conspiracy, including, inter alia, meeting with representatives of the Iranian co-
                   conspirator banks, creating “Special Conditions” for said co-conspirator banks in
                   RBS N.V.’s payment manuals, and submitting materially false and misleading
                   reports to OFAC)

          f. Credit Suisse

                  SAC ¶¶941-943 (describing Credit Suisse’s pamphlets and letters to its Iranian
                   co-conspirators explaining its procedures for illegally clearing USD transactions
                   through its affiliates in the United States)

                  SAC ¶¶962-963 (describing how Credit Suisse instructed its Iranian bank co-
                   conspirator customers to format USD payments so as to evade U.S. sanctions)

                  SAC ¶967 (noting that Credit Suisse provided its Iranian bank co-conspirator
                   customers with materials to use for training other banks on how to properly
                   prepare USD payment messages so as to evade U.S. sanctions)

          g. Commerzbank

                  SAC ¶997 (describing Commerzbank’s policy document entitled “Routing
                   Instructions Iranian banks for USD payments,” which set forth its internal
                   processes for evading U.S. sanctions)

                  SAC ¶1012 (noting Commerzbank’s coordination with IRISL to assist it in
                   laundering U.S. dollars through the United States)

                  SAC ¶¶1019-1020 (describing Commerzbank’s adoption of a “safe payments
                   solution” by which IRISL initiated USD funds transfers through the U.S., using the
                   accounts of less conspicuous subsidiaries)

          2.       Defendants Were Aware of the Conspiracy’s Unlawful Aims and Objectives.

          First, all Moving Defendants knew they were conspiring with a State Sponsor of

   Terrorism. SAC ¶10. Second, as noted above, they all knew that Iran had a legal channel to

   transfer funds for Iran’s legitimate operations via the U-Turn Exemption, but purposefully chose

   unlawful and clandestine avenues instead. SAC ¶¶140-149. The only conceivable reason Iran

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   could have had for enlisting Defendants in the Conspiracy to launder hundreds of billions of

   dollars in this unlawful manner was to facilitate and conceal transfers for its illegitimate purposes

   – particularly terrorism. More specifically, U.S. regulators acknowledged that Iran was using

   “‘U-Turn’ transactions … to finance terrorist groups, including Hezbollah, Hamas and the

   Palestinian Islamic Jihad, and engaging in deceptive conduct to hide its involvement in various

   other prohibited transactions, such as assisting OFAC-sanctioned weapons dealers.” SAC ¶163.

   Thus, Defendants joined the Conspiracy knowing or consciously avoiding knowing that it was

   intended to, and resulted in, Iran successfully transferring millions of dollars to fund entities like

   FTO Hezbollah and the IRGC to commit terrorism.

          Bank Saderat, an SDGT that transferred millions of dollars directly to FTO Hezbollah,

   axiomatically knew the Conspiracy’s goals. SAC ¶¶365-367. Moving Defendants were also fully

   aware of the foreseeable consequences of conspiring with Iran. For example, as early as October

   2001, HSBC’s compliance and audit departments acknowledged the risk of its money laundering

   on behalf of Iranian banks “particularly if we are unfortunate enough to process a payment which

   turns out to be connected to terrorism.” SAC ¶510. An October 2006 email from a senior HSBC

   compliance staff member notes there was “direct evidence against Bank Saderat particularly in

   relation to the alleged funding of Hezbollah” and that the U.S. government “suspected all major

   Iranian State owned banks of involvement in terrorist funding and WMD procurement.”

   SAC ¶518. By June 2007, the U.S. Treasury Department directly warned HSBC to withdraw

   from relationships with Iranian banks. ¶520; HSBC nonetheless continued its illegal conduct at

   least until 2010. SAC ¶¶526-531.

          Standard Chartered Bank and Credit Suisse also secretly facilitated Letters of Credit for

   Iran that evaded the U.S. embargo on dual-use goods and materials. SAC ¶¶673-838. That the



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   Letters of Credit required alteration (i.e., necessitated criminal conduct) itself signaled Iran’s

   malignant intentions. However, as detailed in the Complaint, the attendant circumstances – the

   contraband nature and destination of the goods involved, the use of shady middlemen (often

   customers of Standard Chartered Bank), and the glaring indications that the true parties-in-

   interest were IRGC and MODAFL entities – all make inescapable the inference that Defendants

   knowingly served as merchants of death on behalf of a State Sponsor of Terrorism. Id.

           Standard Chartered Bank further manifested its guilty knowledge in a 2006 e-mail

   involving the revocation of Bank Saderat’s U-Turn exemption. When Standard Chartered Bank’s

   U.K. Group Executive Director was apprised by a senior U.S. executive that its Iranian business

   could “subject[] management in US and London (e.g. you and I) and elsewhere to … serious

   criminal liability,” he responded: “You f---ing Americans. Who are you to tell us, the rest of

   the world, that we’re not going to deal with Iranians.” SAC ¶¶665-66 (emphasis added). In

   light of published reports that Standard Chartered Bank continued to maintain accounts for Bank

   Saderat in such a way that they had “no markers against them”16 as of 2015, it is clear that such

   warnings went unheeded. SAC ¶865.

           Standard Chartered Bank, in particular, continued knowingly to work with Iranian banks

   subject to strict U.S. sanctions, conceal the Iranian connection to the transactions by stripping

   information from the Letters of Credit, and facilitate the unlawful delivery of goods under U.S.

   embargo to Iran’s military and/or the IRGC — all in the service of transactions that Standard

   Chartered knew were not for Iran’s legitimate agencies, operations, or programs. SAC ¶¶673-

   676. In September 2012, Standard Chartered Bank and the New York State Department of


   16
             According to the same published report: “The status of numerous Iranian and Iran-connected entities was
   still being reviewed by [SCB] as late as 2013.... These included entities that had internal ‘markers’ and ‘blocks’
   placed against them, a way for the bank to flag up concern about links to Tehran.” SAC ¶865.


                                                          13
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   Financial Services (“DFS”) executed a Consent Order in which DFS identified approximately

   59,000 transfers Standard Chartered laundered through the United States on behalf of U.S.-

   sanctioned Iranian customers, totaling approximately $250 billion in illegal transactions. DFS

   subsequently concluded that “SCB operated as a rogue institution.” SAC ¶¶839-840.17

            Standard Chartered Bank and Credit Suisse were not the only Defendants that understood

   the particularly lethal consequences of their conduct. Commerzbank representatives also

   memorialized their awareness of, and indifference to, the ongoing efforts of U.S. regulatory

   authorities’ continuing efforts to circumscribe Iran’s illegal efforts to obtain U.S. dollars for

   IRISL. In a written presentation that Commerzbank delivered to IRISL on January 25, 2005,

   Commerzbank’s Hamburg relationship manager stated: “[t]he current rejections show that IRISL

   is in the OFAC list.” SAC ¶¶1015-17 (emphasis in the original). But rather than modify its

   banking practices to conform to U.S. regulations and to prevent a known instrumentality of Iran

   and weapons proliferator from gaining access to millions of dollars in U.S. currency,

   Commerzbank instead undertook efforts to assist Iran and IRISL in evading U.S. sanctions,

   using IRISL’s subsidiaries as proxies. SAC ¶¶1019-1021. The following year, in June 2006, a

   Commerzbank employee in New York responding to Commerzbank’s new Chief Compliance



   17
             Less than two years later, in August 2014, DFS announced that Standard Chartered Bank had failed to
   remediate its compliance problems as required in its 2012 settlement. SAC ¶853. DFS ordered Standard Chartered
   to: (1) suspend dollar clearing through Standard Chartered’s New York branch for high-risk retail business clients at
   its Hong Kong subsidiary; (2) exit high-risk client relationships within certain business lines at its branches in the
   United Arab Emirates; (3) decline new dollar-clearing clients or accounts across its operations without prior
   approval from DFS; (4) pay a $300 million penalty; and (5) take other remedial steps. SAC ¶854. Additionally,
   according to an October 29, 2014 article in The New York Times, federal and Manhattan prosecutors have reopened
   their investigation into Standard Chartered, questioning whether Standard Chartered had failed to disclose the extent
   of its wrongdoing to the government, thus imperiling Standard Chartered’s 2012 settlement. SAC ¶856. In August
   2015, The New York Times reported that Standard Chartered was once again under investigation: “The Justice
   Department is examining whether it committed sanctions violations beyond those covered in the 2012 deal, which
   centered on what the bank called ‘Project Gazelle,’ an effort to forge ‘new relationships with Iranian companies.’”
   SAC ¶864. In September 2015, the Financial Times reported that it had reviewed documents indicating Standard
   Chartered was “determined to keep working with Iranian companies” and noted that as late as 2013 Standard
   Chartered still had accounts open for SDGT Bank Saderat with no internal notations about closing them. SAC ¶865.

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   Officer’s query regarding compliance concerns, noted the “[p]ersistent disregarding of OFAC

   rules by foreign branches. Hamburg is notorious for it.” SAC ¶1030.

          On September 10, 2008, the U.S. designated IRISL, IRISL Europe GmbH, and several

   IRISL subsidiaries SDNs based on evidence that the IRISL network of companies was engaged

   in WMD proliferation activity and the fact that “IRISL has pursued new strategies which could

   afford it the potential to evade future detection of military shipments.” SAC ¶1035. The next day,

   on September 11, 2008, a senior OFAC official personally forwarded the press release

   announcing IRISL’s designation to Commerzbank’s Head of Compliance in New York. SAC

   ¶1036. The press release was then forwarded to Commerzbank employees in Germany with

   IRISL-related responsibilities. In the email, the relationship manager noted that the U.S.

   government alleged “that IRISL as Iranian government carrier systematically circumvents the

   Iranian arms embargo.” SAC ¶1037. Nonetheless, between September 10, 2008, and December

   31, 2008 alone, Commerzbank illegally directed close to $40 million on behalf of IRISL

   subsidiaries and related entities through its New York branch and other U.S. financial

   institutions. SAC ¶1038.

          Commerzbank also maintained an account for a notorious Hezbollah fundraising

   organization in Germany known as Waisenkinderprojekt Libanon e.V. (in English, “the Orphans

   Project Lebanon e.V.,” hereinafter, “Waisenkinderprojekt”). It did so, despite the fact that prior

   public German government reports had identified Waisenkinderprojekt as a Hezbollah

   fundraising organization, and that on July 24, 2007 the United States had designated the

   Lebanese organization that was the primary recipient of funds donated from the account

   (Hezbollah’s Martyrs Foundation) as an SDGT.18 SAC ¶1039. Accordingly, Commerzbank



   18
          See, https://www.treasury.gov/press-center/press-releases/Pages/hp503.aspx.

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   either knew, or consciously avoided knowing, that by continuing to provide financial services to

   Waisenkinderprojekt it was providing material support to FTO Hezbollah. SAC ¶1040.

          Barclays was no better. In an April 2005 internal memo, it demonstrated its knowledge

   and indifference to the “moral risk” of using MT 202 cover payments, noting that:

                  [c]hanging to different message types would be much more expensive to
                  us. Moral risk exists if we carry on using cover payments but that is what
                  the industry does. I[n] M[y] H[umble] O[pinion] we should carry on using
                  cover payments and accept that there is a risk of these being used on
                  occasion to hide true beneficiaries (who may or may not be sanctioned
                  individuals or entities). [SAC ¶611 (emphasis added.)]

   Moreover, indifferent to U.S. sanctions and the “moral risk” attendant to continuing to facilitate

   illegal Eurodollar transfers for sanctioned Iranian banks, Barclays continued to partner with

   Bank Melli after OFAC designated Melli an SDN for transferring millions of dollars to the

   IRGC. Likewise, Barclays continued its efforts on behalf of Bank Saderat after OFAC

   designated Saderat an SDGT for enabling the transfer of USD funds to FTO Hezbollah.

   SAC ¶¶614-615.

          Although RBS was at all relevant times aware of the United States’ imposition of the

   Iranian sanctions, and the anti-terrorism basis for same, its representatives preferred to substitute

   their own self-serving judgment for that of the U.S. government. For example, in a July 25, 2003

   e-mail, John Philbin, RBS’s Senior Relationship Banker for Iranian Banks, wrote in reference to

   the sanctions regime:

          Surely Iran is the most obvious case in point for these structures. Twenty-four
          years of US sanctions and OFAC listing and Iran continues to sell oil and gas in
          USD. And, it imports and pays in USD as well. All of this is clearly done though
          accounts in Europe and elsewhere. There is a very good case to be made for
          getting an overall acceptance that when issues are purely US, we should not be a
          part of it. In fact, we should see it as an opportunity. OFAC is not the Bible for
          money laundering (e.g. Cuba is prominent on OFAC). It is a tool of broader US
          policy. We therefore need to distinguish between US foreign policy on the one
          hand and AML/anti-Terrorism on the other, however much the US administration
          may wish to insist that the two are closely linked. It is well worth working on a
                                                    16
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           solution for clients who find themselves in this position or who fear (Syria, Saudi
           Arabia) that they, one day soon might find themselves there. [SAC ¶907
           (emphasis added).]

   Also in 2003, Diane Perrin, a member of RBS’s Group Compliance team at its Amsterdam Head

   Office, stated, “as a European Institution, we do not comply with US Sanctions because those

   sanctions are politically motivated.” SAC ¶908.

           3.       Many of the Conspiracy’s Beneficiaries Were Integral to Iran’s Terror
                    Apparatus.

           Iran’s two principal agents for orchestrating acts of terrorism in Iraq, Hezbollah and the

   IRGC, were directly responsible for Plaintiffs’ injuries. Hezbollah and the IRGC, in turn, were

   supported by a web of Iranian government entities integral to Iran’s terror apparatus, including:

   (1) Mahan Air; (2) MODAFL; (3) IRISL; and (4) the NIOC. Their role rested on at least two

   logistical requirements. First, both Hezbollah and IRGC operatives had to be transported in and

   out of Iraq. Second, they needed specific weapon components and manufacturing equipment to

   supply their proxies with, inter alia, the signature Iranian weapon – the EFP – used in attacks on

   more than 90% of the Plaintiffs or their family members.

           a. Mahan Air

           In October 2011, the United States designated the Iranian commercial airline Mahan Air

   an SDGT for having provided financial, material, and technological support to the IRGC and

   Hezbollah in Iraq. SAC ¶¶19-20. The Treasury explained that Mahan Air had been directly

   involved with terrorist operations, personnel movements and logistics on the IRGC’s behalf:

           Mahan Air also facilitated the covert travel of suspected IRGC-QF19 officers into and out
           of Iraq by bypassing normal security procedures and not including information on flight

   19
            The IRGC-QF is an IRGC directorate. SAC ¶7. It was designated an SDGT in October 2007, and the press
   release accompanying its designation noted, inter alia, its “long history of supporting Hezbollah’s [sic] military,
   paramilitary, and terrorist activities, providing it with guidance, funding, weapons, intelligence, and logistical
   support.” SAC ¶16.


                                                           17
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            manifests to eliminate records of the IRGC-QF travel.

            Mahan Air crews have facilitated IRGC-QF arms shipments. Funds were also transferred
            via Mahan Air for the procurement of controlled goods by the IRGC-QF.

            In addition to the reasons for which Mahan Air is being designated today, Mahan Air also
            provides transportation services to Hezbollah, a Lebanon-based designated Foreign
            Terrorist Organization. Mahan Air has transported personnel, weapons and goods on
            behalf of Hezbollah and omitted from Mahan Air cargo manifests secret weapons
            shipments bound for Hezbollah. SAC ¶686.

            The Department of Justice also identified Mahan Air as having transported to Iran

   thousands of radio frequency modules recovered by Coalition Forces in Iraq from IEDs that were

   used to target U.S. and Coalition Forces.20 These modules had encryption capabilities and a

   particularly long range that allowed the terrorist members of Iranian-trained Special Groups21 to

   operate them across significant distances. Mahan Air transported the modules from Singapore

   and Thailand to Tehran. Under Secretary of Commerce Eric L. Hirschhorn described this supply

   chain as “egregious conduct…by foreign companies and individuals who have endangered the

   lives of U.S. and coalition forces in Iraq.” SAC ¶¶687-691.

            Notwithstanding Mahan Air’s longtime status as the IRGC’s and Hezbollah’s airline of

   choice, Standard Chartered Bank – assisted by Defendant Bank Saderat Plc, Bank Melli Iran, and

   Bank Sepah – knowingly altered Letters of Credit enabling Mahan Air to illegally purchase more

   than $120 million in U.S. aircraft and aircraft parts prohibited by the U.S. Commerce Control

   List. SAC ¶685. On at least two of these transactions, Credit Suisse, Zurich also helped facilitate

   payment on the Letters of Credit, and on at least one occasion Credit Suisse itself routed payment

   through New York on behalf of Bank Melli, UAE, with Standard Chartered Bank’s New York

   20
            See, Superseding Indictment in U.S. v. Arrijana at: https://www.justice.gov/opa/file/837996/download.
   21
             Special Groups as used herein refers to a litany of Iraqi Shi’a terror groups that killed, injured, or maimed
   Plaintiffs and/or their family members. SAC ¶7. As discussed infra, these included Kata’ib Hezbollah (“KH”), the
   Mahdi Army (“JAM”), Asa’ib Ahl al-Haq, and the Promised Day Brigades. SAC ¶¶294-329.


                                                             18
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   branch clearing and settling the transaction in U.S. dollars. SAC ¶697. Standard Chartered

   Bank’s willingness to disguise illegal transactions financed by Iranian banks enabled Mahan Air

   to purchase aircraft and replacement parts needed to continue its operations, facilitate travel by

   IRGC-QF officers and arms shipments in and out of Iraq, transport IED technologies into Iraq,

   and transport personnel, weapons and goods on Hezbollah’s behalf – all of which substantially

   contributed to Iran’s ability to facilitate terrorist attacks in Iraq during the relevant period.

            b. Iran’s Ministry of Defense and Armed Forces Logistics (“MODAFL”)

            Iran used MODAFL22 to procure and develop weapons and equipment for the IRGC’s

   use.     SAC ¶15. The Complaint sets forth a wide array of MODAFL sub-agencies and

   companies23 that participated in the Conspiracy primarily through Standard Chartered Bank, as

   well as other co-conspirators. Standard Chartered Bank actively helped MODAFL evade U.S.

   sanctions and acquire embargoed, dual-use goods and materials by:

           Facilitating 173 transactions between 2001 and 2007 totaling more than $130 million on
            behalf of Khoram Sanat Producing Co. and another Iranian front company named
            Diamonds Steel. SAC ¶¶826-829. On June 20, 2005, Standard Chartered facilitated
            Khoram Sanat’s illegal purchase from the United States of $2.79 million USD’s worth of
            electromotors for hydraulic presses. SAC ¶825. IRISL transported the machinery into
            Iran. SAC ¶835. These hydraulic presses are the precise type of machinery required to
            manufacture EFPs, and, accordingly, required an export license (which Khoram Sanat
            could not have obtained). SAC ¶¶831-833.

           Facilitating at least 21 Letters of Credit for close to $8 million in embargoed U.S.-origin
            aircraft parts sold by Mac Aviation (a Standard Chartered accountholder) to sub-agencies
            of MODAFL. SAC ¶¶741-749. Mac Aviation was indicted in 2008 (and again in 2010)
            for, inter alia, violations of the IEEPA, the ITR, and U.S. export controls.24 SAC ¶¶729,
            737-740.


   22
            In October 2007, the U.S. designated MODAFL an SDN. SAC ¶¶12-13.
   23
            Those sub-agencies and companies are described in detail in SAC ¶¶713-14. They are sometimes referred
   to herein simply as “MODAFL” rather than by their individual names.
   24
            In 1994, a Florida court convicted one of the owners of Mac Aviation, Thomas McGuinn, for exporting
   defense products to Iran. SAC ¶729, n. 40.


                                                        19
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           Facilitating at least 10 Letters of Credit for shipment of embargoed U.S.-origin aircraft
            parts sold by Monarch Aviation (a Standard Chartered accountholder) to sub-agencies of
            MODAFL. SAC ¶768. After the 2003 indictment of Monarch Aviation’s owners,
            Standard Chartered facilitated at least 316 additional transactions involving Monarch
            Aviation’s accounts25 totaling $12,110,565. SAC ¶773.

           Facilitating 10 Letters of Credit for $1,067,575 in embargoed U.S.-origin goods sold by
            Downtown Trading Ltd. (an Iranian front company based in Malaysia) to Iran’s military
            and/or the IRGC. SAC ¶¶719-720.

           Facilitating likely dozens of illegal shipments, including at least one shipment of U.S.-
            origin aircraft parts (on the Commerce Control List) on behalf of its customer Jetpower
            Industrial, Ltd. (an Iranian front company based in Hong Kong) to one of MODAFL’s
            sub-agencies.26 SAC ¶¶782-788.

            c. IRISL

            IRISL is Iran’s state-owned shipping line that has a long history of facilitating arms

   shipments on the IRGC’s behalf, including copper disks that form the key component in EFPs.

   SAC ¶¶22, 50-51, 208-209. For example, a November 2007 State Department cable noted:

                     Washington remains concerned about on-going conventional arms
                     transfers from China to Iran, particularly given Iran’s clear policy of
                     providing arms and other support to Iraqi insurgents and terrorist groups
                     like the Taliban and Hezbollah….

                     We have specific information that Chinese weapons and components for
                     weapons transferred to Iran are being used against U.S. and Coalition
                     Forces in Iraq, which is a grave U.S. concern. [SAC ¶198.]

   The diplomatic cable noted that an IRISL-flagged vessel was loaded at a Chinese port with

   multiple containers of cargo bound for delivery at the port of Bandar Abbas, Iran. The cargo

   included Iranian Defense Industries Organization (“DIO”) 27-manufactured ammunition


   25
            Monarch Aviation maintained accounts with both Standard Chartered and Credit Suisse. SAC ¶¶751, 753.
   26
            In 2011, Jetpower’s owner, John Chan, was sentenced to 42 months for conspiring to illegally export, or
   attempting to illegally export, 10 indicators, used in C-130 military flight simulators, in violation of the Arms Export
   Control Act. According to U.S. officials, Jetpower repeatedly and illicitly exported arms to Iran prior to Chan’s
   arrest and conviction. SAC ¶¶775-777.
   27
          DIO was designated an SDN on March 30, 2007. IRGC Brigadier-General Seyyed Mahdi Farahi was
   DIO’s Managing Director, and he has been sanctioned by the EU since 2008 (see http://eur-lex.europa.eu/legal-

                                                             20
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   cartridges (7.62 x 39 rounds for AK-47 assault rifles). SAC ¶¶199-200.

            IRISL was designated an SDN in 2008, in part, for shipping military cargo on Iran’s

   behalf. SAC ¶204. Some of these shipments provided key components of EFPs to Hezbollah.

   SAC ¶¶50-51, 197-198.28 In only four months following IRISL’s designation, Commerzbank

   illegally transferred almost $40 million on behalf of IRISL subsidiaries and related entities

   through Commerzbank’s New York branch or other U.S. financial institutions. SAC ¶1022.

   Commerzbank’s role was set forth in detail in its DPA, which confirms the extensive nature of

   its unlawful and conspiratorial conduct on IRISL’s behalf. SAC ¶¶992, 1013-1020. During the

   relevant period, including a period of time after IRISL was designated, Defendants HSBC (SAC

   ¶568), SCB (SAC ¶671), RBS (SAC ¶918), and Commerzbank (SAC ¶¶1019-1022) facilitated

   illegal funds transfers through the United States on IRISL’s behalf, totaling more than $100

   million.29 SAC ¶¶23, 50, 346, 1022.

            d. The National Iranian Oil Company (“NIOC”)

            Defendants Standard Chartered Bank (SAC ¶¶406; 624-625), RBS (SAC ¶¶410-411;

   907; 910-911), and HSBC (SAC ¶516) maintained accounts for the NIOC during the relevant

   period when it was IRGC-controlled. SAC ¶¶152, 516.30 During that time, the NIOC served as



   content/EN/TXT/?uri=CELEX%3A32008D0475). He was later sanctioned by the U.S. on January 17, 2016.
   SAC ¶200 n. 18.
   28
             For example, in October 2009, U.S. troops boarded a German-owned but IRISL-chartered freighter, the
   M/V Hansa India, in the Gulf of Suez and found eight containers full of ammunition that were headed to Syria from
   Iran. The vessel carried seven containers of small arms ammunition (including 12 million bullet casings), as well as
   one container containing copper discs of the type used in EFPs and stamped “IRISL.” SAC ¶¶208, 212. A June 2011
   indictment of IRISL in New York makes clear that IRISL participated in the Conspiracy in order to continue
   illegally and clandestinely transferring funds through the U.S. financial system. SAC ¶218.
   29
          Contrary to Defendants’ claim that these allegations are “conclusory,” they reflect facts set forth in the New
   York County District Attorney’s indictment of IRISL in June 2011, of which the Court can take judicial notice.
   SAC ¶218.
   30
          The Iran Threat Reduction and Syria Human Rights Act 2012 indicated the NIOC’s key role in supporting
   the IRGC: “It is the sense of Congress that the National Iranian Oil Company and the National Iranian Tanker

                                                            21
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   the lifeblood of Iran’s illicit financing activities, providing it with access to billions of dollars in

   oil and natural gas revenues, thereby enabling the IRGC to gain entry (through the Conspiracy)

   to the global financial system. According to a published report, the NIOC even took an active

   role in support of Iran’s terrorist activities in Iraq by using its own helicopters to conduct

   surveillance on Coalition Forces’ Forward Operating Bases along the Iranian border, and

   providing intelligence in support of attacks against Coalition Forces. SAC ¶403.

           Accordingly, Defendants Standard Chartered Bank,31 RBS, and HSBC committed

   felonies in knowingly laundering billions of dollars for an agent of the IRGC – one of the Iranian

   instrumentalities directly responsible for the acts of terrorism that injured Plaintiffs. Standard

   Chartered Bank, for example, agreed to – and did – work with the CBI to launder NIOC funds

   transfers through the United States. Subsequently, between 2001 and 2006, Standard Chartered

   Bank assisted CBI in illegally routing at least 2,226 payment order messages through the United

   States for a total value of $28.9 billion.32 SAC ¶406. From at least 2003 forward, the HSBC

   Defendants also conspired to launder Eurodollars on NIOC’s behalf, SAC ¶516 n. 28 – despite

   later acknowledging that U.S. authorities “suspected all major Iranian State owned banks of

   involvement in terrorist funding and WMD procurement.” SAC ¶518.

           4.       Defendants Substantially Assisted Iran’s Terror Apparatus.

           In addition to the billions of dollars the Moving Defendants laundered directly on behalf

   of the IRGC (via NIOC) (SAC ¶¶400; 404-406), and the more than $100 million that Bank Melli

   Company are not only owned and controlled by the Government of Iran but that those companies provide significant
   support to Iran’s Revolutionary Guard Corps and its affiliates.” SAC ¶402. See, https://www.treasury.gov/resource-
   center/sanctions/Documents/hr_1905_pl_112_158.pdf.
   31
            Standard Chartered conspired to conceal an enormous volume of transactions directly on the NIOC’s
   behalf, describing this arrangement as “very prestigious.” SAC ¶¶623-625.
   32
            The Iranian Helicopter Aviation Company, Kala Naft, and the Ahwaz Pipe Mill Company are all NIOC
   subsidiaries that were IRGC dominated and controlled at all relevant times. SAC ¶811. Standard Chartered
   knowingly and illegally facilitated Letters of Credit for all three of these NIOC subsidiaries. SAC ¶¶812-819.

                                                          22
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   transferred to the IRGC via the Conspiracy (SAC ¶419), the Complaint provides specific details

   of financial services the Conspiracy effectuated to instrumentalities of Iran’s terror apparatus,

   including: $50 million for Hezbollah, SAC ¶¶18, 236, 367; $120 million in Letters of Credit for

   (SDGT) Mahan Air, SAC ¶685; $27 million (at least) in Letters of Credit for (SDN) MODAFL,

   SAC ¶¶715, 720, 737, 741, 768, 773, 781, 800; and $100 million (post-designation) on behalf of

   IRISL and its subsidiaries and related entities, SAC ¶¶23, 50, 346, 1022.

           5.       Iran’s Terror Apparatus Was Responsible for the Acts of Terrorism That
                    Injured Plaintiffs.

           Following the end of U.S. combat operations against the Government of Iraq and its

   military force in May 2003, Iran was determined to increase its influence in Iraq. To this end,

   Iran, through its agencies and instrumentalities, principally Hezbollah and the IRGC, armed,

   trained, and funded the Special Groups in an effort to kill and maim Coalition troops, and

   slaughter, kidnap and mutilate ordinary Iraqis. SAC ¶¶7, 112, 238-239.

           Hezbollah worked alongside IRGC operatives to facilitate terrorist attacks on Coalition

   Forces and civilians in Iraq. SAC ¶¶249-250, 286-291. For example, the January 20, 2007

   coordinated terrorist attack against the Provincial Joint Coordination Center (“PJCC”) in Karbala

   was a glaring example of Iran’s terror campaign during this period.33 Hezbollah planned the

   attack under the direction of IRGC protégé and surrogate, and senior Hezbollah commander, Ali

   Musa Daqduq.34 Special Group Asa’ib Ahl al-Haq carried out the attack using detailed IRGC-


   33
           Plaintiffs’ decedents Johnathon M. Millican, Brian S. Freeman, Shawn P. Falter, Jacob N. Fritz and
   Johnathan B. Chism were among those killed in the attack. Plaintiffs Billy Wallace, Evan Kirby, Johnny Washburn
   and Marvin Thornsberry were injured in the attack. SAC ¶1080.
   34
            The U.S. Treasury Department’s November 19, 2012 press release announcing Daqduq’s designation as an
   SDGT stated, in part: “Daqduq is a senior Hezbollah commander responsible for numerous attacks against Coalition
   Forces in Iraq, including planning an attack on the Karbala Joint Provincial Coordination Center (JPCC) on January
   20, 2007, which resulted in the deaths of five U.S. soldiers.” According to the U.S. government, Daqduq “was in
   Iraq working as a surrogate for Iranian Revolutionary Guards Corps Quds Force operatives involved with special
   groups.” SAC ¶¶1066-1069.

                                                          23
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   supplied intelligence. SAC ¶¶1055-1060. Indeed, for this mission, Hezbollah operatives used

   facilities in Iran to train the AAH strike team commander. SAC ¶¶1061-1062. Thus, although

   AAH operatives pulled the triggers that killed the captive U.S. servicemen, their kidnapping and

   murders were orchestrated, trained, funded, and authorized by Iran’s agents, Hezbollah and the

   IRGC – the very entities to which Iran’s banking co-conspirators were found by the United

   States government to have transferred more than $150 million through the U.S. SAC ¶¶23, 346,

   357, 419, 422, 423.

          In fact, when the U.S. designated the IRGC’s Qods Force an SDGT in October 2007, it

   specifically found that it “provides lethal support in the form of weapons, training, funding, and

   guidance to select groups of Iraqi Shi’a militants who target and kill Coalition and Iraqi forces

   and innocent Iraqi civilians.” SAC ¶16. As alleged in detail in the Complaint, in addition to

   Hezbollah itself, Iran also armed, trained, and funded the Special Groups that operated in Iraq

   during the relevant period.35

          Iran’s funding of these terrorist groups was not limited to generalized financial support.

   Intelligence estimates indicate that Iran specifically paid its terror proxies in Iraq “between

   $4,000 and $13,000 per rocket or roadside bomb, depending on the circumstances.” SAC ¶252.

   EFPs – the signature weapon at the forefront of Iran’s efforts – were channeled to the Special

   Groups through Hezbollah and the IRGC to kill and maim Americans in Iraq.

   B.     Iran’s Support for the Terror Campaign in Iraq Was Well-Known and Foreseeable.

          Contemporaneous U.S. government reports were not the only publicly available sources

   linking Iran, Hezbollah and the IRGC to “the increasing lethality of anti-Coalition attacks by …


   35
           Kata’ib Hezbollah (“KH”), SAC ¶¶302, 310-322; Mahdi Army (“JAM”), SAC ¶¶294-297; Asaib Ahl al-
   Haq (“AAH”), SAC ¶¶323-329; and Promised Day Brigades, SAC ¶¶298-301. On June 24, 2009 Kata’ib Hezbollah
   was designated both an FTO and an SDGT. SAC ¶¶304-307.


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   Shia militants” and their use of Iranian-origin EFPs. The Complaint cites numerous, credible,

   public sources linking Iran and its instrumentalities to these lethal weapons. SAC ¶¶266-279.

   The Complaint also cites numerous occasions in which the media publicized the direct link

   between Iran and the use of EFPs against Coalition Forces in Iraq. SAC ¶¶36-39.

                                              ARGUMENT

   I.     THE ATA ESTABLISHES LIABILITY FOR CONSPIRACY.

          Deep into their Joint Memorandum, and well after it would have mooted their causation

   arguments, Defendants finally reach the threshold issue: whether conspiracy is available under

   §2333(a). Citing Rothstein’s rejection of common law aiding and abetting under the ATA, and

   this Circuit’s rejection of conspiracy liability under §10(b) of the Securities Exchange Act of

   1934 in Dinsmore v. Squadron, Ellenoff, Plesent, Sheinfeld & Sorkin, 135 F.3d 837 (2d Cir.

   1998), Defendants ask this Court to reject conspiracy liability predicated on violations of the

   material support statutes. Both of these opinions (and the Supreme Court opinion in Central

   Bank of Denver v. First Interstate Bank of Denver, 511 U.S. 164 (1994) on which they rely) rest

   on the relevant statute’s silence regarding liability. See, e.g., Dinsmore, 135 F.3d at 842 (“there is

   no mention of conspiracy in the text”).

          But neither case applies here, because the ATA is not silent. First, by a straightforward

   chain of incorporations by reference, §2333(a) incorporates the express conspiracy provisions of

   §§2339A and 2339B, creating primary liability with “the character of secondary liability,” as

   Judge Posner put it in the seminal en banc decision in Boim III. 549 F.3d at 691. Dinsmore itself

   emphasized that “secondary actors who conspire to commit [Rule 10b-5] violations will still be

   subject to liability so long as they independently satisfy the requirements for primary liability.”

   135 F.3d at 842. Second, Congress has now expressly confirmed that the legal framework Boim



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   III used “is the proper legal framework for how such liability should function in the context of

   chapter 113B of title 18,” where both §2333(a) and the material support statutes appear. JASTA

   §2(a)(5).

           Congress has also now amended the ATA to add express secondary liability for

   conspiracy with regard to injuries arising from a terrorist act committed, planned, or authorized

   by an FTO, like Hezbollah or Kata’ib Hezbollah. JASTA §4(a), adding §2333(d). Although

   Plaintiffs did not plead this newly-defined claim, this Court may uphold the conspiracy claims

   (Claims 1 and 2) on any available legal theory supported by the factual allegations in the

   complaint. See, e.g., Bristol-Myers Squibb Co. v. Matrix Labs. Ltd., No. 15-1922-CV, 2016 WL

   3553442, at *2 (2d Cir. June 30, 2016) (pleading merely has to contain “factual allegations” that

   would entitle plaintiff to relief under law, whether or not plaintiff has identified the legal basis).

   Section 2333(d) therefore, alone moots Defendants’ arguments against the availability of

   conspiracy, as Bank Saderat’s counsel has publicly conceded:

           JASTA … makes clear that under the ATA’s treble damages remedy, there can
           now be civil liability for those who aid and abet an act of terrorism, as well as
           those who conspire to do so…. The defense that the statute does not provide civil
           liability for persons who do not actually commit an act of terror will likely no
           longer be available to any organization or individual sued in an ATA case. 36

           A.      By a Chain of Statutory Incorporations by Reference, 18 U.S.C. §2333(a)
                   Incorporates Conspiracy Violations of §§2339A and 2339B.

           In the seminal ATA case, Boim III, the Seventh Circuit rejected “common law” claims

   for civil aiding and abetting. The court held, in an opinion by Judge Posner, that statutory silence

   on the subject of (common law) secondary liability means there is none, and that §2333(a)

   therefore does not authorize claims predicated on federal common law secondary liability. In


   36
            Jeremy D. Frey, “Will JASTA Yield More Lawsuits Over Terror?” The National Law Journal, October 3,
   2016, attached as Exhibit K to the Radine Declaration.


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   Rothstein, the Second Circuit expressly adopted Boim III’s analysis. Rothstein, 708 F.3d at 98.

          But Boim III also held that, through a chain of statutory incorporation by reference (in

   that case, from §2333(a) to §2331(1) to §2339A)), Congress enacted a form of statutory

   secondary liability as primary liability. 549 F.3d at 690-92. The court then fleshed out that

   liability by borrowing common law principles of secondary liability:

          The parties have discussed both issues mainly under the rubrics of “conspiracy”
          and “aiding and abetting.” Although those labels are significant primarily in
          criminal cases, they can be used to establish tort liability, see, e.g., Halberstam v.
          Welch, 705 F.2d 472 (D.C. Cir. 1983); Restatement (Second) of Torts §§ 876(a),
          (b) (1979), and there is no impropriety in discussing them in reference to the
          liability of donors to terrorism under section 2333 just because that liability is
          primary. Primary liability in the form of material support to terrorism has the
          character of secondary liability. Through a chain of incorporations by reference,
          Congress has expressly imposed liability on a class of aiders and abettors.

   Id. (emphasis added). While the Boim plaintiffs rested their claims on aiding and abetting, Judge

   Posner’s opinion did not differentiate aiding and abetting and conspiracy: “there is no

   impropriety in discussing them . . . just because that liability is primary.” No court in this Circuit

   had disavowed Boim III’s analysis of primary liability with the character of secondary liability.

   See, e.g., Strauss v. Crédit Lyonnais, S.A., 925 F. Supp. 2d 414, 426 (E.D.N.Y. 2013) (citing

   cases); Linde v. Arab Bank, PLC, No. 04–cv–2799 (BMC)(PK), 2015 WL 1565479, at *27

   (E.D.N.Y. April 8, 2014); Sokolow v. Palestine Liberation Organization, 60 F. Supp. 3d 509,

   516 (S.D.N.Y. 2014). Nor did Rothstein. The Rothstein plaintiffs did not plead conspiracy –

   either civil or criminal – and the court there did not mention or address it.

          In any case, Congress has now expressly endorsed Judge Posner’s resort to the tort law of

   secondary liability to decide the dimensions of primary liability for material support. In JASTA,

   Congress found that the authority which Judge Posner cited, Halberstam v. Welch, 705 F.2d 472




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   (D.C. Cir. 1983), “provides the proper legal framework for how such liability should function in

   the context of chapter 113B of title 18, United States Code.” JASTA §2(a)(5).

            The Plaintiffs’ claim for primary liability here rests on the statutory incorporation by

   reference, via §2333(a) and §2331(1), of the criminal provisions of §§2339A and 2339B. Each of

   these provisions expressly delineates conspiracy as an alternative element of each crime:

            18 U.S.C. §2339A(a): Whoever provides material support or resources or conceals or
            disguises the nature, location, source, or ownership of material support or resources,
            knowing or intending that they are to be used in preparation for, or in carrying out, a
            violation … or attempts or conspires to do such an act, shall be fined under this title,
            imprisoned not more than 15 years, or both, and, if the death of any person results, shall
            be imprisoned for any term of years or for life. (Emphasis added.)37

            18 U.S.C. §2339B(a)(1): Whoever knowingly provides material support or resources to a
            foreign terrorist organization, or attempts or conspires to do so, shall be fined under this
            title or imprisoned not more than 15 years, or both, and, if the death of any person results,
            shall be imprisoned for any term of years or for life. To violate this paragraph, a person
            must have knowledge that the organization is a designated terrorist organization (as
            defined in subsection (g)(6)), that the organization has engaged or engages in terrorist
            activity (as defined in section 212(a)(3)(B) of the Immigration and Nationality Act), or
            that the organization has engaged or engages in terrorism (as defined in section 140(d)(2)
            of the Foreign Relations Authorization Act, Fiscal Years 1988 and 1989). (Emphasis
            added.)

   In short, not only is the ATA not silent, but through §§2339A and 2339B it incorporates by

   reference the very word “conspires.”

            Notwithstanding Defendants’ protestations, Linde v. Arab Bank, PLC, 944 F. Supp. 2d

   215 (E.D.N.Y. 2013), is not to the contrary. Joint. Mem. at 25 (citing Linde Amended Complaint




   37
            Many of the predicate acts set forth in §2339A also expressly incorporate conspiracy into their acts. See,
   e.g., 18 U.S.C. §956(a)(1) (conspiracy to kill, kidnap, maim, or injure persons or damage property in a foreign
   country); §2332a(a)(1) (conspiracy to use weapon of mass destruction against U.S. nationals); §2332f(a)(2)
   (conspiracies to bomb government buildings and/or places of public use); §2332b(a)(2) (conspiracies to perform acts
   of international terrorism that transcend national boundaries, including, per §2332b(b)(1)(C), situations where
   intended victim is member of U.S. uniformed services). Thus, in Gill v. Arab Bank, PLC, 893 F. Supp. 2d 474, 505
   (E.D.N.Y. 2012), Judge Weinstein acknowledged that claims for conspiracy were viable for violations of §2332(b)
   because that statute explicitly renders it a crime to engage in a conspiracy to murder or injure U.S. nationals abroad.


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   ¶316). The Linde court dismissed federal common law claims based on conspiracy38 that

   plaintiffs had pled prior to Rothstein’s adoption of Boim III’s analysis rejecting federal common

   law secondary liability.39 Had the Linde court read Rothstein to preclude all “conspiracy claims

   and other theories of secondary liability” based on primary liability for incorporated material

   support violations, as Defendants contend (Joint. Mem. at 2), it would have granted summary

   judgment to the defendant on all of the claims in that case. Instead, it permitted claims predicated

   on primary liability to proceed to trial, resulting in a jury verdict for plaintiffs. See Linde v. Arab

   Bank, PLC, 97 F. Supp. 3d 287, 323 (E.D.N.Y. 2015) (denying defendant’s post-trial motions

   and affirming primary violation by “a series of incorporations by reference”).

            The HSBC defendants and RBS alone also argue that the underlying violations of

   §2339A and §2339B do not satisfy 18 U.S.C. §2331(1)’s definitional requirement that those acts

   38
            It reasoned that, “as with aiding and abetting liability, the Second Circuit is likely to hold that §2333(a)
   does not provide for claims for civil conspiracy.” Id. at 216-17 (emphasis added). Defendants erroneously cite ¶316
   of the Amended Linde complaint, Joint. Mem. at 25, which was not the Claim for Relief at issue before the district
   court. See, Linde, No. 04 Civ. 2799 (E.D.N.Y. Aug. 10, 2004), ECF No. 4, Amended Complaint ¶¶384-90.
   39
             The pertinent colloquy between counsel in the instant case and Judge Gershon in Linde makes the
   distinctions clear:

            MR. OSEN (Plaintiffs’ Counsel): We also pled consistent with form three and courts in this circuit what
            Judge Posner referred to as primary liability with the elements of secondary liability.
            THE COURT: Well I am not talking about that. I am not talking about direct liability claims. I am talking
            about what you called in your complaint, at least in Linde which I used as the paradigm, about which you
            called an aiding and abetting claim.
            MR. OSEN: Right.
            THE COURT: You’re saying that you had in mind that that was a common-law claim or maybe you
            actually said it.
            MR. OSEN: Right. Maybe another way of stating it is that the first claim for relief was common-law based
            on violations of 876 Restatement, generally referred to as common-law aiding and abetting.
            THE COURT: Okay.
            MR. OSEN: As opposed to direct liability for violations of 2339A, B or C, which have characteristics of
            aiding and abetting but are not a standalone aiding and abetting claim. So by its definition, Your Honor,
            when you provide material support under 2339B, that is material support to a primary tortfeasor who blows
            up the bus or what have you. So, it therefore has, as Judge Posner said, characteristics of secondary liability
            but it’s a primary liability.
            THE COURT: All right, we’re on the same page. Mr. Walsh, are we on the same page?
            MR. WALSH (Defendant’s Counsel): Yes, Your Honor.

   Apr. 24, 2013 Hearing, at 6:21-7:23, Linde, No. 04 Civ. 2799, ECF No. 94 (emphasis added). (Plaintiffs’ counsel in
   this case were also plaintiffs’ counsel in Linde.)

                                                             29
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   “appear   to    be    intended   …     to   intimidate   or   coerce    a   civilian   population.”

   Although they concede (as they must) that this is an objective, not a subjective standard, citing

   Boim III, HSBC/RBS Mem. at 2, they tellingly ignore that opinion’s application of it to material

   support violations.

          A knowing donor to Hamas—that is, a donor who knew the aims and activities of
          the organization—would know that Hamas was gunning for Israelis (unlike some
          other terrorist groups, Hamas's terrorism is limited to the territory of Palestine,
          including Israel [internal citation omitted]), that Americans are frequent visitors to
          and sojourners in Israel, that many U.S. citizens live in Israel [internal citation
          omitted]), and that donations to Hamas, by augmenting Hamas's resources, would
          enable Hamas to kill or wound, or try to kill, or conspire to kill more people in
          Israel. And given such foreseeable consequences, such donations would “appear
          to be intended ... to intimidate or coerce a civilian population” or to “affect the
          conduct of a government by ... assassination,” as required by section 2331(1) in
          order to distinguish terrorist acts from other violent crimes, though it is not a
          state-of-mind requirement; it is a matter of external appearance rather than
          subjective intent, which is internal to the intender. [Boim III, 549 F.3d at 693-94.]

          So too, a bank that knowingly conspired with State Sponsor of Terrorism Iran and its

   instrumentalities, that knew that Iran was seeking to clandestinely clear billions of U.S. dollars

   for illegitimate operations (operations it could not legally fund via the U-Turn Exemption), and

   that systematically concealed transfers from U.S. regulatory authorities and law enforcement, in

   express violation of the material support statutes and the Iranian sanctions regime, would know

   that Iran was gunning for Americans serving in Iraq between 2004 and 2011. It would know that

   many U.S. servicemen were being killed and wounded in Iraq, and that facilitating billions of

   dollars in funds transfers on Iran’s behalf, by augmenting Iran's clandestine resources, would

   enable Iran to kill or wound, or try to kill, or conspire to kill more Americans in Iraq. Given such

   eminently foreseeable consequences, such fund transfers would inherently “appear to be intended

   ... to intimidate or coerce a civilian population” or to “affect the conduct of a government by ...

   assassination,” as required by section 2331(1) – as a matter of external appearance rather than



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   subjective intent. See Linde v. Arab Bank, Plc, 97 F. Supp. 3d at 322 (“I agree with those courts

   that have held that a violation of 18 U.S.C. § 2339B is itself an act of international terrorism”).40

   Violating §§2339A or 2339B by knowingly providing material support for terrorism (and

   systematically concealing that conduct) “appears to be intended,” even if Defendants were

   actually motivated solely by greed.

            B.       18 U.S.C. §2333(d) Provides an Alternative Legal Basis for Plaintiffs’
                     Conspiracy Claims.

            In JASTA, Congress found it “necessary to recognize the substantive causes of action for

   aiding and abetting and conspiracy liability under chapter 113B of title 18, United States Code.”

   JASTA §2(a)(4). To provide the “broadest possible basis” for ATA plaintiffs to seek relief from

   those who provide material support to foreign organizations or persons that engage in terrorist

   activities against the United States, Congress amended the ATA to add §2333(d):

            In an action under subsection (a) for an injury arising from an act of international
            terrorism committed, planned, or authorized by an organization that had been designated
            as a foreign terrorist organization under section 219 of the Immigration and Nationality
            Act (8 U.S.C. 1189), as of the date on which such act of international terrorism was
            committed, planned, or authorized, liability may be asserted as to any person who aids
            and abets, by knowingly providing substantial assistance, or who conspires with the
            person who committed such an act of international terrorism.

   Section 2333(d) gives ATA plaintiffs the option (“liability may be asserted”) to allege

   conspiracy with the person (including associations, societies, and individuals) who commits an

   40
             Accord, Abecassis v. Wyatt , 7 F. Supp. 3d 668, 672-673 (S.D. Tex. 2014); Wultz v. Islamic Republic of
   Iran, 755 F. Supp. 2d 1, 42-43 (D.D.C. 2010); Goldberg v. UBS AG, 690 F. Supp. 2d 92, 112-15 (E.D.N.Y. 2010)
   (collecting cases); Strauss v. Crédit Lyonnais, S.A., 2006 WL 2862704, at *1 (E.D.N.Y. 2006) (“Violations of 18
   U.S.C. § 2339B and § 2339C are recognized as international terrorism under 18 U.S.C. § 2333(a).”). Ignoring these
   cases, Defendant instead cites two outlier cases. Stutts v. De Dietrich Grp., 2006 WL 1867060, at *2 (E.D.N.Y.
   2006) did not involve claims predicated on violations of §§2339A or 2339B nor did it involve any act of terrorism
   against U.S. servicemen. The claim was predicated on injuries allegedly caused by exposure to chemicals during
   U.S. Defense Department environmental clean-up activities conducted after the first Gulf War. The court held that
   Banks’ letters of credit that facilitated sales of chemicals to Iraq a decade earlier “were [not] designed to coerce
   civilians or government entities as required under §2331.” Id. Stansell v. BGP, Inc., 2011 WL 1296881 (M.D. Fla.
   2011), relied on the defendant’s motive as alleged in the complaint to find that plaintiffs had not adequately pled the
   §2331(1)(B) element. In so doing, the court “relied on the subjective intent of the defendants as pled by the
   plaintiffs,” as the later decision noted in distinguishing Stansell. Abecassis v. Wyatt, 7 F. Supp. 3d at 676 (emphasis
   added). But “[t]he subjective intent of the defendant is not relevant.” Id.

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   act of international terrorism committed, planned, or authorized by an FTO. While §2333(d) does

   not affect primary liability, it provides an alternative legal theory, predicated on express common

   law secondary liability, to support Plaintiffs’ First and Second Claims for conspiracy to provide

   material support to FTOs Hezbollah and Kata’ib Hezbollah for injuries arising from acts of

   terrorism they committed, planned, or authorized.

   II.      THE COMPLAINT PLAUSIBLY PLEADS CONSPIRACY UNDER 18 U.S.C.
            §§2339A AND 2339B.

            As noted above, Congress has determined that Halberstam v. Welch “provides the proper

   legal framework for how such liability should function in the context of chapter 113B of title 18,

   United States Code.” JASTA §2(a)(5). Halberstam summarized the elements of criminal

   conspiracy as: “(1) an agreement between two or more persons; (2) to participate in an unlawful

   act, or a lawful act in an unlawful manner; (3) an injury caused by an unlawful overt act

   performed by one of the parties to the agreement; (4) which overt act was done pursuant to and

   in furtherance of the common scheme.” 705 F.2d at 477. As shown below, Defendants cannot

   plausibly dispute that Plaintiffs’ allegations satisfy these elements. In fact, Defendants studiously

   avoid discussing conspiracy law for obvious reasons. See Joint Mem. at 27-28 n.11 (“the Moving

   Defendants do not here discuss in detail other legal deficiencies in the Complaint, including

   Plaintiffs’ failure plausibly to allege the necessary elements of a conspiracy”). 41

            A.      The Complaint Plausibly Pleads the Existence of an Unlawful Agreement.

         “Proof of a tacit, as opposed to explicit, understanding is sufficient to show agreement.”

   Halberstam, 705 F.2d at 477. See also United States v. Amiel, 95 F.3d 135, 144 (2d Cir. 1996)

   41
            See also BS Mem. at 19 (calling Plaintiffs’ conspiracy allegations “conclusory,” but providing no other
   argument); CB Mem. at 8 (same); HSBC/RBS Mem. (none); SCB Mem. at 10 n.10 (“SCB does not address the
   SAC’s failure to adequately allege a conspiracy claim”); Credit Suisse Mem. at 5-6 (only disputing proximate
   cause). Since “[a]rguments made for the first time on reply are deemed waived,” Lujan v. Cabana Management,
   Inc., 284 F.R.D. 50, 62 (E.D.N.Y. 2012), Defendants effectively concede the sufficiency of the Complaint’s
   conspiracy allegations by their failure to challenge them in their motions.


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   (“There need not be any written statement or even a speaking of words which expressly

   communicates agreement.”). The Complaint is replete with specific, non-conclusory allegations

   based on admissions Defendants made to the U.S. government and on other U.S. government

   findings that evidence an unlawful agreement to secretly launder hundreds of billions of Iran’s

   money through the United States in a manner intended to evade counter-terrorist and counter-

   proliferation sanctions and to assist Iran in financing the acquisition of blacklisted goods and

   materials. The Moving Defendants’ admitted conduct of years of coordination with Iranian co-

   conspirators in developing internal systems and protocols to launder hundreds of billions of

   dollars evidences an unlawful agreement. Halberstam, 705 F.2d at 481 (duration of joint conduct

   is relevant in inferring agreement).42

           The Conspiracy’s aims and objectives included, among others, concealing hundreds of

   billions of dollar-denominated transactions from detection by U.S. regulators and facilitating

   illicit transactions totaling at least $50 million USD for Hezbollah, at least $100 million for the

   IRGC, billions of dollars for the IRGC-controlled NIOC, more than $60 million for IRISL after

   its designation, and more than $120 million for Mahan Air (SDGT) and MODAFL to evade U.S.

   arms embargoes and export controls. All of the foregoing (and more) enabled Iran and its agents

   to perpetrate the acts of international terrorism that injured Plaintiffs.

           The agreement and its purposes can also be inferred from the fact that Defendants all

   agreed to strip the names of Iranian banks and other Iranian entities from their SWIFT-NET

   messages; convert ordinary transactions into bank-to-bank transfers to conceal the origin and

   destination of Iranian funds transfers; alter Letters of Credit on Iran’s behalf and knowingly aid

   Mahan Air, the IRGC and MODAFL to contravene U.S. arms embargoes and export controls;

   42
            Accord, United States v. Hawkins, 547 F.3d 66, 74 (2d Cir. 2008) (holding that factors “establish[ing] an
   agreement” include a “prolonged cooperation between the parties, a level of mutual trust, [and] standardized
   transactions”) (citation omitted).

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   and facilitate the illicit transfer of proceeds from the export and import of Iranian petroleum

   products on behalf of the NIOC and other sanctioned Iranian entities, thereby providing Iran with

   illegal access to billions of dollars and directly funding the IRGC and its front companies. See

   SAC ¶¶23, 25. In sum, Defendants’ coordinated criminal conduct over a period of many years

   provides both direct and inferential evidence of a conspiracy to conceal funding of a State

   Sponsor of Terrorism’s illegitimate activities, including acts of international terrorism.

           B.       The Complaint Plausibly Pleads Defendants’ State of Mind in Joining the
                    Conspiracy.

           Knowledge of a conspiracy has two elements: “1) knowing participation or membership

   in the scheme charged and 2) some knowledge of the unlawful aims and objectives of the

   scheme.” United States v. Lanza, 790 F.2d 1015, 1022 (2d Cir. 1986). Further, “some

   knowledge” of the unlawful aims and objectives of the scheme can be satisfied by allegations

   showing that Defendant actually knew or was “aware of a high probability of some of the

   conspiracy’s unlawful aims.” U.S. v. Garcia, 509 F. App’x 40, 42 (2d Cir. 2013) (first emphasis

   added) (“A conscious avoidance charge is appropriate where a defendant ‘assert[s] what amounts

   to ignorance of the specific objectives alleged in the indictment.’”).43

           Here, the first element of conspiracy is satisfied by Plaintiffs’ allegations that Defendants

   worked with Iran and Iranian banks and others to deliberately and systematically conceal Iranian

   transactions from U.S. regulators and law enforcement. The Moving Defendants clearly intended

   to agree to join the Conspiracy in various capacities, even if, as they argue, they did not always




   43
            See also United States v. Ferraina, 19 F.3d 145, 154-55 (2d Cir. 2002) (same); United States v.
   Stavroulakis, 952 F.2d 686, 690 (2d Cir. 1992) (“The policies underlying conspiratorial liability could easily be
   thwarted by the careful compartmentalization of information, and ‘conspirators would go free by their very
   ingenuity,’ if it were required that they agree on all details of the scheme.”) (emphasis added) (quoting Blumenthal
   v. United States, 332 U.S. 539, 557 (1947)).


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   intend to make direct transfers to terrorists themselves.44 See United States v. Ulbricht, 31 F.

   Supp. 3d 540, 561 (S.D.N.Y. 2014) (“There are numerous examples of participants in narcotics

   conspiracies who did not themselves intend physically to possess or distribute narcotics; an

   individual may have been a middleman, the protective muscle, the lookout, a decoy, a person

   with information or contacts, etc.—in any event, the individual may nonetheless be found to be

   part of the conspiratorial enterprise.”).

            The second element is detailed in the Complaint in several ways. First, the Moving

   Defendants all knew they were conspiring with a State Sponsor of Terrorism. SAC ¶42. Second,

   they all knew that Iran had a legal channel to transfer funds for Iran’s legitimate operations (in

   Rothstein’s terms), but was choosing unlawful and clandestine avenues instead. SAC ¶¶140-149.

   As Plaintiffs allege in detail, until November 2008, Iran had the ability to lawfully transfer U.S.

   dollars for its legitimate governmental purposes through the United States, provided it abided by

   certain conditions and did so transparently. The only conceivable reason Iran could have for

   enlisting the Moving Defendants in a criminal conspiracy to launder hundreds of billions of




   44
            Examples include:

           HSBC: SAC ¶¶507-510 (e-mails describing a “Bank Melli Proposal” boasting “a solution” to “alter the
            format of its [sic] payments to achieve straight through processing”);
           Credit Suisse: SAC ¶962 (Credit Suisse instructed its Iranian Bank co-conspirator customers on how to
            format U.S. dollar payments to evade U.S. sanctions);
           Standard Chartered Bank: SAC ¶¶631-32 (instructing CBI how to disguise payment order messages to
            hide its identity; SAC ¶¶673-838 (working with the Iranian bank co-conspirators on processing letters of
            credit through New York for IRGC and MODAFL acquisition of embargoed goods);
           Barclays SAC ¶¶581-615 (describing Barclays’ coordination with Iranian co-conspirators);
           RBS N.V.: SAC ¶¶920-929 (ABN Amro’s admissions to conspiring “with the co-conspirators [on] how to
            format United States Dollar message payments so that such payments would … evade United States
            sanctions”); and
           Commerzbank: SAC ¶992 (Commerzbank admissions to knowingly conspiring “to engage in financial
            transactions with Sanctioned Entities and SDNs” and to “violate executive orders and regulations
            prohibiting the exportation, directly and indirectly, of services from the United States to Sanctioned Entities
            and SDNs”).


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   dollars in an unlawful manner was to facilitate and conceal transfers for its illegitimate purposes

   – namely terrorism, arms smuggling, and embargo-evading.

            Thus, it is highly plausible, if not self-evident, that the Moving Defendants joined the

   Conspiracy knowing or consciously avoiding knowing that it was intended to, and did, enable

   Iran to successfully transfer millions of dollars to fund its known terrorist proxies, FTO

   Hezbollah and the IRGC.45 So too, by secretly facilitating hundreds of millions of dollars in

   illegal Letters of Credit that evaded the U.S. embargo on dual-use goods and materials –

   including those used in the manufacture and transport of components of the weapons used to

   attack Plaintiffs – the Moving Defendants could not have been blind to Iran’s objectives. The

   contraband nature of the cargo, the use of shady middlemen (often with criminal records), the

   destination of the goods, and the glaring indications that the true parties in interest were IRGC

   and MODAFL entities all scream “terrorism!” and “lethal support!” 46

            Examples include statements from the Moving Defendant’s employees acknowledging

   the risk that their transactions could support terrorism while continuing to perform illegal

   transactions on behalf of Iranian customers after they were designated as supporters of terrorism:

               HSBC: SAC ¶¶510-12 (“some of the routes traditionally used to avoid the impact of
                US OFAC sanctions may no longer be acceptable” to hide “a payment which turns
                out to be connected to terrorism”); SAC ¶¶383, 518 (HSBC maintained account(s) for
                Bank Saderat despite knowing the US had “direct evidence against Bank Saderat
                particularly in relation to the alleged funding of Hezbollah”); SAC ¶520 (internal


   45
           These facts were explicitly found by the U.S. government in support of its decision to revoke Bank Saderat
   and Bank Melli’s access to the U-Turn Exemption SAC ¶¶357, 365. Both banks were co-conspirators and customers
   of the Moving Defendants. Bank Saderat, an SDGT instrumental to the transfer of millions of dollars directly to
   Hezbollah, indisputably knew the goals of the Conspiracy.
   46
            “A and B conspire to burglarize C's safe. B, who is the active burglar, after entering the house and without
   A's knowledge of his intention to do so, burns the house in order to conceal the burglary. A is subject to liability to
   C, not only for the conversion of the contents of the safe but also for the destruction of the house.” Halberstam, 705
   F.2d at 483 (quoting Restatement (Second) of Torts §876, comment d, illustration 10 (1979)).



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              warning that a Treasury Counterterror official “essentially threatened” HSBC with
              action if it did not withdraw from certain relationships)

             ABN Amro (RBS): SAC ¶¶906-08 (justifying circumvention of US sanctions
              premised on “anti-terrorism,” because they were “politically motivated”)

             Standard Chartered Bank: SAC ¶¶665-66 (Bank’s US CEO stating that its Iranian
              business could “subject … management in US and London (e.g. you and I) and
              elsewhere to personal reputational damages and/or serious criminal liability.”);
              SAC ¶¶684, 757 (knowingly facilitating Letters of Credit for weapons components
              listed on the USML); SAC ¶865 (maintaining accounts for Bank Saderat and Bank
              Sepah, both designated, “with no markers against them” as of 2015)

             Barclays: SAC ¶614 (maintaining accounts for Bank Saderat after it was designated
              an SDGT for funding Hezbollah)

             Credit Suisse: SAC ¶¶973-980 (changing (but not stopping) its stripping technique
              after 2004 Swiss Federal Banking Commission rules change.); SAC ¶¶750-757
              (Credit Suisse illegally cleared payments through New York for Letters of Credit that
              financed Iranian acquisitions of goods listed on USML embargo list)

             Commerzbank: SAC ¶1022 (transferring nearly $40 million on behalf of IRISL
              subsidiaries and related entities in just the four months following IRISL’s 2008
              designation by the U.S.)

          Saderat’s denial of scienter merits separate mention because it is the only Defendant that

   has itself been designated an SDGT for laundering tens of millions of Eurodollars for Iran’s

   Central Bank to Hezbollah and other FTOs. In spite of this, Saderat claims that the Complaint

   does “not supply any inference of the requisite mental states required by §§2339A and B as to

   BSPLC.” BS Mem. at 25. Plaintiffs respectfully submit that the U.S. government did not revoke

   Bank Saderat’s access to the U-Turn Exemption in 2006 for unwittingly serving as “a significant

   facilitator of Hezbollah’s financial activities and has served as a conduit between the

   Government of Iran and Hezbollah.” SAC ¶365. Nor did Saderat accidentally provide re-

   financing for illegal aircraft purchases by Mahan Air (later designated an SDGT). SAC ¶375.

   And U.S. government officials did not warn of unintentional “direct evidence against Bank

   Saderat particularly in relation to the alleged funding of Hezbollah.” SAC ¶518. Instead, relying

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   almost exclusively on U.S. government findings, Plaintiffs have sufficiently pled Saderat’s

   requisite state of mind in providing material support to Hezbollah.

          In sum, the Moving Defendants fully understood that their Iranian co-conspirators would

   use some of the hundreds of billions of dollars they were laundering through the United States to

   support terrorism. As Judge Posner noted in Boim III:

          Giving money to Hamas, like giving a loaded gun to a child (which also is not a
          violent act), is an “act dangerous to human life.” And it violates a federal criminal
          statute enacted in 1994 and thus before the murder of David Boim—18 U.S.C.
          §2339A(a), which provides that “whoever provides material support or resources
          ..., knowing or intending that they are to be used in preparation for, or in carrying
          out, a violation of [18 U.S.C. §2332],” shall be guilty of a federal crime. So we go
          to 18 U.S.C. §2332 and discover that it criminalizes the killing (whether classified
          as homicide, voluntary manslaughter, or involuntary manslaughter), conspiring to
          kill, or inflicting bodily injury on, any American citizen outside the United States.

   Boim III at 690. Even if transparently giving money to Iran’s legitimate activities in compliance

   with U.S. regulations is arguably not dangerous, laundering hundreds of billions of dollars to a

   State Sponsor of Terrorism in calculated violation of those regulations so as to conceal the

   transactions was an “act dangerous to human life” that foreseeably resulted in funding FTO

   Hezbollah, the IRGC, and other terrorist entities that participated in the attacks that injured

   Plaintiffs. As Congress has implicitly recognized, secretly funding Iran’s illegitimate activities

   and terrorist proxies, “directly or indirectly,” poses “a significant risk of committing acts of

   terrorism that threaten the security of nationals of the United States….” JASTA §2(a).

          C.      The Law Does Not Require a Showing That Each Co-Conspirator Shared All
                  of the Same Goals or Motives.


          Despite the overwhelming evidence that Defendants shared some goals of the conspiracy

   and its overall purpose, they insist in a single footnote that they did not share the “common goal”

   of “‘murdering and maiming U.S. servicemen and civilians in Iraq’” and did not “specifically



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   intend[] to attack U.S. soldiers.” Joint Mem. at 27-28 n. 11. But neither did the burglar’s

   girlfriend in Halberstam (“the leading case regarding federal civil aiding and abetting and

   conspiracy liability,” as Congress found in JASTA §2(a)(5)) share the “goal” of murdering

   anyone. There, the girlfriend (Hamilton) was held civilly liable under both civil conspiracy and

   aiding and abetting theories for the death of Halberstam after Halberstam was killed by a burglar

   (Welch), who lived with Hamilton. Hamilton had not participated in Halberstam’s murder or

   even in Welch’s many burglaries, and there was no evidence whatsoever that she had a “common

   goal of murdering” (or even burglarizing) Halberstam. Nevertheless, the D.C. Circuit held that,

   just as “under a civil conspiracy theory,” “[i]t was not necessary that Hamilton knew specifically

   that Welch was committing burglaries. Rather, when she assisted him, it was enough that she

   knew he was involved in some type of personal property crime at night -- whether as a fence,

   burglar, or armed robber made no difference -- because violence and killing is a foreseeable risk

   in any of these enterprises.” Id. at 488, Although “Hamilton and Welch did not commit

   burglaries together,” their activities were “symbiotic” because Hamilton knew about Welch’s

   illegal activities and assisted him in various ways (e.g., filing a tax return that hid burglary

   profits). Id. at 486-87.

           Thus, it does not matter not whether a particular Defendant had a purpose of supporting

   terrorism or even knew that another co-conspirator would orchestrate a specific terrorist act. A

   conspirator “need not even have planned or known about the injurious action, . . . so long as the

   purpose of the tortious action was to advance the overall object of the conspiracy” – here to

   conceal the funding of a State Sponsor of Terrorism’s illegitimate activities. Halberstam, 705

   F.2d at 481. If the defendant in Halberstam who knew her boyfriend was involved in some type

   of crime at night was deemed liable, a fortiori Defendants in this case – that knew they were



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   involved in massive, sustained money laundering, sanctions evasion, and embargo-evasion

   scheme for a State Sponsor of Terrorism – are also liable. Funding that State Sponsor’s

   illegitimate enterprises made violence and killing a foreseeable risk of their conspiratorial acts.47

   Moreover, the fact that the Moving Defendants may have been motivated by greed to conspire

   with Iran is irrelevant. “Where defendants are shown to have intended to defraud the United

   States, they cannot escape liability by showing that this intent was merely incidental to some

   other action which constituted their primary motivation.” United States v. Southland Corp., 760

   F.2d 1366, 1373 (2d Cir. 1985).48

            The Second Circuit rejected a nearly identical argument to Defendants’ “we were just

   greedy” defense in United States v. Gurary, 860 F.2d 521 (2d Cir. 1988). In Gurary, defendants

   sold false invoices for a fraction of their face value. Many of their customers used the invoices to

   report fictitious business expenses on their corporate taxes. The defendants were charged with,

   among other things, conspiring to impede the IRS. The defendants argued that they could not

   know that their customers would use the invoices for tax fraud as opposed to, e.g.,

   embezzlement. The court disagreed. First, “intent to defraud the United States may be incidental

   to another primary motivation or purpose.... Impeding the IRS, though not defendants’ primary

   purpose, was part and parcel of the scheme.” Id. at 525. Second, the defendants must have known

   that the invoices would lead to inaccurate tax returns, as they would be recorded on corporate
   47
            See also United States v. Capanelli, 479 F.3d 163, 166–67 (2d Cir. 2007) (“The individual conspirators
   can have incongruent intentions as to particular details or specific goals of the conspiracy, so long as the
   coconspirators share a ‘common purpose’ and agree on the ‘essential nature’ of the enterprise.”). See also Ocasio v.
   United States, 136 S. Ct. 1423, 1429-30 (2016) (holding that plaintiffs need only allege that a defendant agreed to
   “pursue the same common objective” of the conspiracy, even if it did not “agree to commit or facilitate each and
   every part of the substantive offense”); United States v. Maldonado-Rivera, 922 F.2d 934, 963 (2d Cir. 1990) (“The
   goals of all the participants need not be congruent for a single conspiracy to exist, so long as their goals are not at
   cross-purposes.”).
   48
           United States v. Cervantes, 466 F.2d 736, 738 (7th Cir. 1972) (“The fact that a conspiracy’s various
   members may play different roles in executing it and may have dissimilar motives for participating in it, does not
   mean that a single conspiracy does not exist.”) (emphasis added).


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   books (even if only to facilitate embezzlement) used in preparation of those tax returns. Id. Like

   the defendant in Gurary, the Moving Defendants knew that they were joining a conspiracy

   through which Iran was able to launder hundreds of billions of dollars in circumvention of

   sanctions specifically intended to prevent its support of terrorism. Finally, as in Gurary, the

   Moving Defendants’ own “motivations” and “primary purpose” in participating in the

   Conspiracy are irrelevant to their liability as long as they possessed “some knowledge” of Iran’s

   unlawful aims and objectives.

           D.       The Complaint Plausibly Pleads That Plaintiffs’ Injuries Were Proximately
                    Caused by the Conspiracy.

                    1.       Conspirators Are Liable for All Acts Foreseeably Committed in
                             Furtherance of the Conspiracy.

           As stated above, Defendants simply decline to address proximate cause in the conspiracy

   context, presumably because they understand that as conspirators, they are liable for all acts

   foreseeably committed in furtherance of the conspiracy. “As to the extent of liability, once the

   conspiracy has been formed, all its members are liable for injuries caused by acts pursuant to or

   in furtherance of the conspiracy. A conspirator need not participate actively in or benefit from

   the wrongful action in order to be found liable.” Halberstam, 705 F.2d at 481.49

           Plaintiffs’ injuries are the foreseeable, direct result of the Conspiracy. Plaintiffs were

   Iran’s intended targets and Defendants knew Iran’s goals for the Conspiracy included materially

   supporting terrorism. It is legally irrelevant that the Conspiracy might (in some cases) by its

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             Accord Pinkerton v. United States, 328 U.S. 640 (1946). See also United States v. Vario, 943 F.2d 236, 240
   (2d Cir. 1991) (“[I]t is a fundamental tenet of the law of conspiracy that reasonably foreseeable acts of individual
   co-conspirators taken in furtherance of the conspiracy count against all members equally.”); Smith v. United States,
   133 S. Ct. 714, 719 (2013) (“Since conspiracy is a continuing offense, a defendant who has joined a conspiracy
   continues to violate the law ‘through every moment of [the conspiracy's] existence,’ and he becomes responsible for
   the acts of his co-conspirators in pursuit of their common plot.”) (citations omitted); DT Boring, Inc. v. Chicago
   Pub. Bldg. Comm’n, No. 15-C-11222, 2016 WL 3580756, at *13 (N.D. Ill. June 28, 2016) (“As with all conspiracy
   claims, the predicate acts allegedly committed by [a co-conspirator] may serve as the proximate cause of plaintiff’s
   injuries for purposes of plaintiff’s § 1962(d) conspiracy claim [against all co-conspirators].”).


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   “very ingenuity” (Blumenthal v. United States, 332 U.S. 539, 557 (1947)) protect the Moving

   Defendants from knowing which particular transfers went directly to terrorism and which merely

   acted to disguise those transfers.

                    2.       Plaintiffs Do Not Have to Show But-For Causation.

           Defendants’ contention that Plaintiffs have not plausibly shown that Iran would have

   been unable to fund the attacks at issue without Defendants’ funds transfers is just another way

   of arguing the universally rejected strict “but for” causation standard. Rothstein suggested that

   such an allegation was one of several alternative allegations that might have been sufficient to

   plead proximate causation,50 not that it was necessary. 708 F.3d at 96-97. As another court in this

   district has held:

           [R]equir[ing] proof of “but for” causation would make it impossible for the
           victims of terrorist attacks to hold a terrorist group's “financial angels” liable, and
           thereby eviscerate the civil liability provisions of the ATA….The fact remains
           that no court has expressly held that the ATA’s civil remedy requires a showing
           of but-for causation. And in the only Court of Appeals decision to actually decide
           the issue [Boim III], Judge Posner set forth a detailed and compelling explanation
           of why it does not.

   Linde v. Arab Bank PLC, 97 F. Supp. 3d 287, 326-28 (E.D.N.Y. 2015) (quoting Boim III, 549

   F.3d at 690); see also In re Chiquita Brands Int'l, Inc. Alien Tort Statute & S’holder Derivative

   Litig., No. 08-01916-MD, 2015 WL 71562, at *7 (S.D. Fla. Jan. 6, 2015) (same).

           In any case, the Complaint cites the U.S. government’s own assessment that:

           Iran’s access to the international financial system enables the Iranian regime to
           facilitate its support for terrorism and proliferation. The Iranian regime disguises
           its involvement in these illicit activities through the use of a wide array of



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             Had such an allegation been necessary, rather than just a sufficient alternative allegation of proximate
   cause, it would hardly have been necessary for the Rothstein plaintiffs also to allege that “UBS was a participant in
   the terrorist attacks that injured plaintiffs,” another alternative the Court identified. Similarly, Al Rajhi also
   identified alternative sufficient allegations, listing them conjunctively without even including the “unable to fund”
   allegation that Defendants argue is necessary. O’Neill v. Al-Rajhi Bank (In re Terrorist Attacks on Sept. 11, 2001),
   714 F.3d 118, 124 (2d Cir. 2013).

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          deceptive techniques, specifically designed to avoid suspicion and evade detection
          by responsible financial institutions and companies.

   SAC ¶172. Given the restrictions and safeguards that the United States placed on Iran’s access to

   dollar-clearing services in order to prevent it from using such transactions to finance terrorism

   and proliferation (which the Defendants’ Conspiracy was expressly designed to surreptitiously

   evade) (SAC ¶¶140-172), the allegation that without the Conspiracy between the Defendants and

   Iran the latter could not have transferred the volume of U.S. dollars it did for the benefit of

   Hezbollah and the IRGC through the international financial system is more than plausible.

   SAC ¶¶16, 23, 44-52, 157-159, 406.

                  3.     SDGT Designations Are Probative of Proximate Cause, as Well as
                         Knowledge.

          The Moving Defendants argue that the U.S. designation of some of their co-conspirators

   and Iranian agents to which they provided material support (such as Defendant Saderat, Mahan

   Air, IRISL, NIOC, and MODAFL) “long after the alleged transactions were completed,” Joint

   Mem. at 8, shows that they could not previously have known that they were dealing with

   illegitimate agencies, operations, and programs of Iran. This argument misconstrues the

   evidentiary significance of U.S. designations.

          First, SDGT designations constitute evidence of the designee’s terrorist conduct and thus

   provide plausible allegations of proximate cause, regardless of whether they also suggest

   scienter. By definition, U.S. designations are retrospective – not predictive. Every entity placed

   on the SDGT or SDN list is – by definition – designated for its past conduct, not its possible

   future conduct. Because designations are retrospective, Plaintiffs have plausibly alleged that at

   the time these entities were receiving material support from the Conspiracy, they were engaged

   in and/or supporting terrorism. In addition, designation for past conduct can also be relevant



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   evidence that the designated entity’s unlawful activities were known to Defendants before the

   designation (or that they consciously avoided knowing). Here it is knowledge of the activities for

   which, e.g., Saderat or Mahan Air was designated, not knowledge of the designation itself, that is

   relevant and probative.

          Finally, when several of the Moving Defendants continued to engage in criminal conduct

   on behalf of designated entities even after they were so designated, their post-designation

   conduct can be probative of their state of mind before designation. See, e.g., SAC ¶865 (Standard

   Chartered Bank’s accounts for Bank Saderat and Bank Sepah “with no markers against them” as

   of 2015); SAC ¶1022 (Commerzbank illegally transferred almost $40 million on IRISL’s behalf

   after its designation); SAC ¶918 (ABN-Amro’s 90 post-designation transactions on IRISL’s

   behalf); SAC ¶614 (Barclays’ maintaining accounts for Bank Saderat after its designation);

   SAC ¶383 (HSBC did likewise).

          Given all of the foregoing, there is simply no colorable basis for the Moving Defendants’

   assertion that “there is no allegation that the Moving Defendants maintained any accounts for or

   provided any services to any terrorist entity.” Joint Mem. at 16.

   III.   THE COMPLAINT PLAUSIBLY PLEADS CAUSATION FOR THE NON-
          CONSPIRACY CLAIMS (FIFTH, SIXTH AND SEVENTH CLAIMS).

          Plaintiffs’ Fifth, Sixth and Seventh Claims for Relief are not predicated on conspiracy to

   violate the material support statutes. Plaintiffs’ Fifth Claim asserts that Commerzbank violated

   §2339A by knowingly providing material support to IRISL. Plaintiffs’ Sixth Claim asserts that

   Commerzbank violated §2339B by knowingly sending funds to the Martyrs Foundation in

   Lebanon, an SDGT agent of Hezbollah. Plaintiffs’ Seventh Claim asserts that Standard Chartered

   Bank violated §2339A by knowingly providing (unlawful) material support to Mahan Air, a

   menagerie of MODAFL entities, and the IRGC, that facilitated more than a hundred million

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   dollars in embargoed (often dual-use) goods being illegally purchased by these Iranian entities

   from the United States.

          A.      The ATA §2333(a) Remedy Requires Traditional Proximate Causation.

          The Rothstein plaintiffs made the extraordinary claim that alleged violations of the

   ATA’s material support statutes created a presumption of causation that shifted the evidentiary

   burden to the defendant to prove that material support provided did not reach the terrorist groups

   that injured the plaintiffs. 708 F.3d at 96. The Second Circuit unsurprisingly rejected this

   proposition. Id. (“[P]laintiffs’ contention that proximate cause is established because they were

   injured after UBS violated federal law is a post hoc, ergo propter hoc proposition that would

   mean that any provider of U.S. currency to a State Sponsor of Terrorism would be strictly liable

   for injuries subsequently caused by a terrorist organization associated with that state.”). Instead,

   the Second Circuit reiterated and quoted the traditional proximate causation standard from

   Lerner v. Fleet Bank N.A., 318 F.3d 113, 123 (2d Cir. 2003):

          Central to the notion of proximate cause is the idea that a person is not liable to all
          those who may have been injured by his conduct, but only to those with respect to
          whom his acts were a substantial factor in the sequence of responsible causation
          and whose injury was reasonably foreseeable or anticipated as a natural
          consequence. [Rothstein, 708 F.3d at 91 (citation omitted; emphasis in original).]

          B.      The Complaint’s Non-Conclusory Allegations Differentiate Rothstein and
                  Plausibly Plead Proximate Causation for the Non-Conspiracy Claims.

          Rothstein held that the complaint in that case did not plausibly satisfy the proximate

   causation standard:

          [W]e cannot agree that the Complaint sufficiently alleges proximate cause. The
          Complaint does not allege that UBS was a participant in the terrorist attacks that
          injured plaintiffs. It does not allege that UBS provided money to Hizbollah or
          Hamas. It does not allege that U.S. currency UBS transferred to Iran was given to
          Hizbollah or Hamas. And it does not allege that if UBS had not transferred U.S.
          currency to Iran, Iran, with its billions of dollars in reserve, would not have
          funded the attacks in which plaintiffs were injured.

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          And while the Complaint alleges that “UBS knew full well that the cash dollars it
          was providing to a state-sponsor of terrorism such as Iran would be used to cause
          and facilitate terrorist attacks by Iranian-sponsored terrorist organizations such as
          Hamas, Hizbollah and PIJ” (id. ¶ 108 (emphases added)), these are conclusory
          allegations that do not meet Twombly’s plausibility standard with respect to the
          need for a proximate causal relationship between the cash transferred by UBS to
          Iran and the terrorist attacks by Hizbollah and Hamas that injured plaintiffs. The
          fact that the transfers were made to a state sponsor of terrorism of course made it
          more likely that the moneys would be used for terrorism than if the transfers were
          to a state that did not sponsor terrorism. But the fact remains that Iran is a
          government, and as such it has many legitimate agencies, operations, and
          programs to fund. We see no non-conclusory allegation in the Complaint that
          plausibly shows that the moneys UBS transferred to Iran were in fact sent to
          Hizbollah or Hamas or that Iran would have been unable to fund the attacks by
          Hizbollah and Hamas without the cash provided by UBS. [Rothstein, 708 F.3d at
          97 (emphasis in original).]

          Seeking to bring the Complaint within Rothstein, Defendants describe their conduct in

   this case as having:

          allegedly provided U.S. dollar clearing transactions for Iranian banks, those
          Iranian banks allegedly then were separately used by the Government of Iran to
          provide financial support to Hezbollah and IRGC-QF, Hezbollah and IRGC-QF
          allegedly then provided support to named and unnamed terrorist groups in Iraq,
          and these named and unnamed Iraqi terrorist groups, or more often unidentified
          individuals or entities, allegedly then carried out or facilitated the attacks which
          injured Plaintiffs. [Joint Mem. at 18 (emphasis added).]

   But Defendants’ illegal U.S. dollar clearing transactions on behalf of Iran and Iranian banks were

   not “separate” from Iran’s material support to terrorism; they were the mechanism through

   which that material support was accomplished. Defendants’ insertion of the word “separately”

   gives the game away. The Complaint, in fact, alleges the opposite – relying on U.S. government

   findings. For example, the U.S. government noted that, from 2002 to 2006, the Moving

   Defendants’ customer, Bank Melli:

          was used to send at least $100 million to the [IRGC] Qods Force. Bank Melli use
          of Deceptive Banking Practices … When handling financial transactions on
          behalf of the IRGC, Bank Melli has employed deceptive banking practices to
          obscure its involvement from the international banking system. For example,


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          Bank Melli has requested that its name be removed from payment instructions for
          US dollar denominated transactions. SAC ¶357.

   On summary judgment or at trial, Defendants may argue that the felonies they committed by

   assisting Bank Melli (among other entities) to conceal the latter’s transactions from U.S.

   regulators and law enforcement are unrelated to Bank Melli’s transfers of $100 million to the

   IRGC’s Qods Force. But on this motion to dismiss, even though (1) Bank Melli was a customer

   of each Moving Defendant, and (2) each Moving Defendant conspired with Bank Melli to

   remove its name from USD transactions, and (3) Bank Melli transferred $100 million to the

   IRGC-QF (4) employing the same “deceptive banking practices to obscure its involvement from

   the international banking system” when “handling financial transactions on behalf of the IRGC,”

   Defendants ask this Court to find – as a matter of law – that their conduct was wholly separate

   from and unrelated to Bank Melli’s $100 million in wire transfers to the IRGC-QF.

          The same suspension of belief is required to hold, as a matter of law, that although the

   Moving Defendants each maintained accounts for Bank Saderat and each committed a long

   string of felonies assisting Bank Saderat to conceal its transactions from U.S. regulators and law

   enforcement, Saderat’s transfer of “illicit transactions totaling at least $50 million USD for the

   benefit of [FTO] Hezbollah” was wholly separate and unrelated to the Moving Defendants’

   identical illegal conduct on Bank Saderat’s behalf.

          HSBC, Standard Chartered Bank and RBS N.V. also ask this Court to conclude that their

   accounts for the IRGC–controlled National Iranian Oil Company and the long string of felonies

   they committed in concealing and altering the transactions for NIOC could not have proximately

   caused Plaintiffs’ injuries, even though Plaintiffs cite and rely upon government findings for

   their allegations that the IRGC provided “lethal support in the form of weapons, training,

   funding, and guidance to select groups of Iraqi Shi’a militants who target and kill Coalition and

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   Iraqi forces and innocent Iraqi civilians,” SAC ¶16. See also SAC ¶257 (quoting Treasury

   Department as finding that IRGC-led group’s “first objective is to fight U.S. forces, attacking

   convoys and killing soldiers,” and which “conducted IED attacks against Americans in the

   Baghdad region”).51

            Individual Defendants also offer additional variants on the proximate causation argument,

   addressed infra.

                     1.        Saderat’s Semantic Causation Argument

            Saderat argues that the U.S. government’s findings that it illegally transferred funds “for

   the benefit of” Hezbollah are different from an allegation that they were sent “to” Hezbollah. See

   BS Mem. at 22-23. In fact, the Complaint does allege that Saderat was used “to channel funds to

   terrorist organizations, including Hezbollah ....” SAC ¶18 (emphasis added). The fact that

   Defendant sent the money to its sister-bank in Lebanon for “the benefit of Hezbollah fronts in

   Lebanon” is not remotely exculpatory. It is the same kind of actionable conduct this Court


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             Defendants also assert that Rothstein requires Plaintiffs to assert that the funds Defendants transferred on
   Iran’s behalf were used “directly” for the attacks on the Plaintiffs, citing only RICO cases. Joint. Mem. at 3-4, 21
   (but neglecting to cite Lerner, the principal case cited in Rothstein). As the Court of Appeals subsequently
   emphasized in a later Lerner opinion, however, “[T]he fact that plaintiffs had not pleaded facts sufficient to support
   a finding of proximate causation in the RICO action therefore does not necessarily mean that their injuries were,
   under the facts alleged, not proximately caused by the bank’s actions for purposes of the plaintiff’s claims under the
   common law.... [It] depend[s] on the cause of action under which the plaintiff brings suit.” Lerner v. Fleet Bank
   N.A., 459 F.3d 273, 284-85 (2d Cir. 2006). This is because RICO plaintiffs are held “to a more stringent showing of
   proximate cause that would be required at common law.” Moore v. Paine Webber, Inc., 189 F.3d 165, 179 (2d Cir.
   1999) (Calabresi, J., concurring). Thus, Hemi Grp. LLC v. City of New York, 559 U.S. 1, 130 (2010), on which
   Defendants also rely, explained that, “[o]ne consideration we have highlighted as relevant to the RICO ‘direct
   relationship’ requirement is whether better situated plaintiffs would have an incentive to sue…. Our precedents
   make clear that in the RICO context, the focus is on the directness of the relationship between the conduct and the
   harm.” Id. at 11-12 (emphasis added). Here, of course, the Plaintiffs are the direct victims of terrorism and are the
   best – indeed, the only – persons who could “vindicate” the ATA. Furthermore, “[t]he ATA is different than other
   statutes that reference causation. The tort it condemns is one of secondary action, not primary action. It assumes the
   existence of a tort by a third party, and then renders the defendant liable for providing support to that third party, not
   for supporting any particular conduct by that third party.” Linde, 97 F. Supp. 3d at 324. “No one has ever ‘directly’
   been injured by a wire transfer,” id. at 328, and if that were the standard of causation, no ATA plaintiff could ever
   recover for the material support for terrorists that Congress criminalized and incorporated by reference in the ATA
   civil remedy. Judge Cogan said in Linde, “I cannot conclude that Congress enacted a meaningless provision here.”
   Id. at 327. Nor should this Court.


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   recognized in Strauss (2006 WL 2862704, at *6) – except that Crédit Lyonnais, unlike Saderat,

   was not itself an SDGT, it “only” held an account for (at least) one.

           Nor does Defendants’ mantra that Plaintiffs’ allegations are “conclusory” rescue them,

   because the allegations of transfers “for the benefit of Hezbollah,” the IRGC, and other

   designated entities that were engaged in orchestrating attacks on Americans in Iraq rest on

   findings by the United States government that are the result of official investigations.52 The

   Complaint is heavily supported by the U.S. government press releases announcing designations,

   diplomatic cables, official government reports, government indictments, and the DPAs that the

   Moving Defendants themselves entered into with the U.S. government, state banking authorities,

   and the New York County District Attorney’s Office.

           Saderat’s lame rebuttal is that none of these government findings “does anything to

   establish” elements of Plaintiffs’ claims. BS Mem. at 24. Of course, at the pleading stage,

   Plaintiffs do not have to “establish” their allegations; they just have to show that they are

   plausible.

                    2.       Commerzbank’s “Indirect” Causation Argument Regarding the Fifth
                             Claim for Relief

           Commerzbank argues that its criminal acts in support of IRISL that are the predicate for

   the Fifth Claim for Relief merely state a “claim for indirect support of terrorist acts,” breaking

   the chain of required causation. CB Mem. at 5 (emphasis in original). According to

   Commerzbank’s gloss, the Complaint alleges that it (1) provided support in the form of (illegal)


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            See, e.g., SAC ¶18 (quoting Treasury Department that “a Hezbollah-controlled organization [] has received
   $50 million from Iran through [defendant and co-conspirator] Bank Saderat since 2001”); SAC ¶368 (quoting
   Treasury Department testimony that “Hezbollah uses Saderat to send money to other terrorist organizations as
   well”); SAC ¶385 (noting U.S. government finding on designating Bank Saderat as an SDGT that it “transferred $50
   million from the Central Bank of Iran through its subsidiary in London to its branch in Beirut for the benefit of
   Hezbollah fronts in Lebanon that support acts of violence”). See also SAC ¶383 (noting Defendant HSBC-Middle
   East Regional Head’s acknowledgement that the U.S. government has “direct evidence against Bank Saderat
   particularly in relation to the alleged funding of [FTO] Hezbollah”).

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   dollar-clearing services to IRISL; (2) IRISL in turn provided material support to FTO Hezbollah;

   and (3) Hezbollah, among others, was allegedly responsible for the attacks in which Plaintiffs

   were injured. Id. Having restyled the allegations against it, Commerzbank then analogizes its

   own gloss on the Complaint’s allegations to the allegations in O’Neill v. Al-Rajhi Bank (In re

   Terrorist Attacks on Sept. 11, 2001), 714 F.3d 118 (2d Cir. 2013). In Al-Rajhi, defendant Al

   Rajhi Bank allegedly provided financial services to Al-Haramain Islamic Foundation (“Al-

   Haramain”) (prior to its designation as an SDGT for its support of al Qaeda). The Second Circuit

   held that this allegation did not alone suffice to plausibly plead proximate cause because there

   were no allegations that the funds provided by Al-Haramain to al Qaeda went through defendant

   Al Rajhi Bank. Al-Rajhi, 714 F.3d at 124.53

           Here, in contrast, the Complaint actually alleges that (1) Commerzbank provided support

   in the form of extensive money laundering services for IRISL both before and after its

   designation; (2) IRISL was controlled by, and is directed by, Iran,54 and served as one of the

   logistical channels for transporting and supplying IRGC, Hezbollah, and other Iranian

   instrumentalities of terrorism (shipping weapons, explosives, IED components, etc.); and (3) Iran

   itself (including the IRGC), Hezbollah, and other Iranian instrumentalities of terrorism were

   responsible for the attacks in which Plaintiffs were injured.


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            In Al-Rajhi, plaintiffs’ 12(e) statement also alleged transfers of funds to FTO Hamas, but made no non-
   conclusory allegation that Hamas participated in the 9/11 attacks at issue. See Burnett v. Al Baraka Investment and
   Development Corp., No. CIV.A.02–1616 (JR) (D.D.C. Aug. 27, 2003), ECF No. 266, Plaintiffs’ Response to Al
   Rajhi Bank’s Rule 12(e) Request to Plaintiffs ¶66. The Second Circuit therefore found that “plaintiffs did not allege
   that [the defendants] … provided money directly to al Qaeda ..., nor ... that the money allegedly donated by
   [defendants] to the purported charities was transferred to al Qaeda and aided in the September 11, 2001 attacks.”
   714 F.3d at 124. As noted in the text, here in contrast, Plaintiffs allege transfers for FTO Hezbollah, IRGC, and
   IRISL, entities designated by the United States in part for orchestrating and/or supplying weapons for attacks on
   U.S. forces in Iraq, including the distinctive weapons components used in EFP attacks.
   54
            Commerzbank makes much of the fact that “unlike Hezbollah, IRISL has not been designated by the
   Secretary of State as an FTO” and “that IRISL is not an alter ego of, or controlled by, Hezbollah.” CB Mem. at 6.
   But Commerzbank has the wrong claim; the Fifth Claim for Relief is based on a violation of Section 2339A, not
   2339B, and the relevant issue is IRISL’s control by Iran, not Hezbollah.

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          These allegations closely parallel those made in Strauss v. Crédit Lyonnais, in which the

   complaint alleged not only that Crédit Lyonnais maintained an account for an SDGT (in that

   case, CBSP), but also identified specific Hamas-controlled counterparties that received funds

   from CBSP through Crédit Lyonnais. Strauss v. Crédit Lyonnais, S.A., No. CV-06-0702, 2006

   WL 2862704, at *11 (E.D.N.Y. Oct. 5, 2006) (“plaintiffs have adequately alleged that these

   various charitable committees are agents of HAMAS because plaintiffs have alleged that the

   committees are controlled by HAMAS, share leadership with HAMAS, and have as their

   purpose the support of HAMAS.”).

          In fact, in Strauss, Crédit Lyonnais made arguments similar to the one Commerzbank

   makes here, urging the district court to dismiss plaintiffs’ claims brought in that case under

   §2339B, “because plaintiffs have failed to adequately allege that Crédit Lyonnais provided

   material support directly to an FTO, but rather have alleged only that it provided material support

   to organizations with alleged ties to the FTO HAMAS.” Id. at 10 (emphasis in the original).

   Judge Sifton rejected this argument, quoting extensively from National Council of Resistance of

   Iran v. Department of State II (NCRI), 373 F.3d 152 (D.C. Cir. 2004). The D.C. Circuit’s

   reasoning applies with the same force to the terror apparatus of a State Sponsor of Terrorism as it

   does to a Foreign Terrorist Organization. The Circuit explained:

          Just as it is silly to suppose “that Congress empowered the Secretary to designate
          a terrorist organization ... only for such periods of time as it took such
          organization to give itself a new name, and then let it happily resume the same
          status it would have enjoyed had it never been designated” NCRI, 251 F.3d at
          200, so too is it implausible to think that Congress permitted the Secretary to
          designate an FTO to cut off its support in and from the United States, but did not
          authorize the Secretary to prevent that FTO from marshaling all the same support
          via juridically separate agents subject to its control. For instance, under NCRI's
          conception, the Government could designate XYZ organization as an FTO in an
          effort to block United States support to that organization, but could not, without a
          separate FTO designation, ban the transfer of material support to XYZ's fund-
          raising affiliate, FTO Fundraiser, Inc. The crabbed view of alias status advanced

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          by NCRI is at war not only with the antiterrorism objective of AEDPA, but
          common sense as well. [Id. at 157-58.]

   That “crabbed view” is also one that Congress expressly rejected in JASTA, when it found that

   contributing material support, “directly or indirectly,” to organizations that pose a significant risk

   of committing acts of terrorism threatens the security of U.S. nationals. JASTA §§2(a)(6)-(7)

   (emphasis added).

          When, as here, a Defendant admits to extensive (criminal) collusion with, and provision

   of tens of millions of dollars in material support to, a designated entity controlled by a State

   Sponsor of Terrorism that facilitates that State Sponsor of Terrorism’s terrorist acts, immunizing

   that conduct from its foreseeable consequences would stand common sense on its head. All any

   entity would have to do to elude the reach of the law would be to insist that a State Sponsor of

   Terrorism use juridically separate agents as intermediaries. Commerzbank may, of course, argue

   at summary judgment or trial that IRISL is (contrary to the Complaint’s allegations) independent

   of Iran or that because IRISL was “Iran's national maritime carrier” it falls within Rothstein’s

   safe harbor for “legitimate agencies, operations and programs,” and that it did not engage in

   weapons shipments in support of Iranian-sponsored terrorism. But, at the pleading stage, the fact

   that IRISL is a juridically separate agent of Iran does not immunize Commerzbank from liability

   any more than the fact that a Hamas-controlled organization is nominally registered as a charity

   and has its own by-laws would immunize, e.g., Crédit Lyonnais or Arab Bank for sending funds

   to such an organization. As the D.C. Circuit rightly observed, such a result would be “silly.”

                  3.      Commerzbank’s “Indirect” Causation Argument Regarding the Sixth
                          Claim for Relief

          Commerzbank also characterizes Plaintiffs’ allegation that it maintained accounts for the

   Orphans Project Lebanon, which then transferred funds to Hezbollah’s Martyrs Foundation, as



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   merely a claim for “indirect support of terrorist acts.” CB Mem. at 8 (emphasis in original). Once

   again, a Defendant arrives at this argument by restyling the Complaint as if it alleges that the

   Martyrs Foundation in Lebanon only raises “funds for or otherwise support[s] Hezbollah, not

   that they are Hezbollah.” CB Mem. at 9 n. 8.

            Incredibly, Commerzbank fails to inform this Court that Judge Hellerstein rejected

   precisely the same kind of argument against it in Lelchook v. Commerzbank, No. 10-cv-05795-

   AKH, 2011 WL 4087448 (S.D.N.Y. Aug. 2, 2011). In Lelchook, “Commerzbank contend[ed]

   that the act of maintaining a bank account for a group alleged to be affiliated with a terrorist

   organization, Hezbollah, is too weak a series of connections to create liability for Hezbollah's

   acts,” citing Rothstein. Judge Hellerstein disagreed: “In this case, Plaintiffs allege that

   Commerzbank maintained a bank account for a Hezbollah front; this distinction takes the case

   outside the rule of Rothstein, for a terrorist front organization has no legitimate function that the

   United States recognizes.” Id. at 1.55 Lelchook was correctly decided and its reasoning rebuts

   Commerzbank’s argument here as well.56




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            See SAC ¶1040, citing https://www.treasury.gov/press-center/press-releases/Pages/hp503.aspx. The U.S.
   designation of the Martyrs Foundation finds, inter alia:

       Senior Martyrs Foundation officials were directly involved in Hezbollah operations against Israel during the
        July-August 2006 conflict.
       The Goodwill Charitable Organization (GCO), a fundraising office established by the Martyrs Foundation in
        Dearborn, Michigan. GCO is a Hezbollah front organization that reports directly to the leadership of the
        Martyrs Foundation in Lebanon.
       Hezbollah recruited GCO leaders and has maintained close contact with GCO representatives in the United
        States.
       GCO has provided financial support to Hezbollah directly and through the Martyrs Foundation in Lebanon.
       Hezbollah’s leaders in Lebanon have instructed Hezbollah members in the United States to send their
        contributions to GCO and to contact the GCO for the purpose of contributing to the Martyrs Foundation.
   56
            A transcript of Judge Hellerstein’s July 18, 2011 bench rulings is attached as Exhibit J to the Radine Decl.

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                    4.       Standard Chartered Bank’s Causation Argument Regarding the
                             Seventh Claim for Relief

           Defendant Standard Chartered Bank offers two grounds for dismissing Plaintiffs’ Seventh

   Claim for Relief (§2333(a) primary liability for violation of §2339A). First, Standard Chartered

   argues that Stutts v. De Dietrich, No. 03-CV-4058 (ILG), 2006 WL 1867060 (E.D.N.Y. Jun. 30,

   2006) mandates dismissal based on what it argues are largely analogous allegations. Second,

   Standard Chartered Bank argues that the Complaint fails to allege that it actually provided

   material support used by Iran in preparation for, or in carrying out, acts of terrorism of the kind

   that injured Plaintiffs. Both arguments are meritless.

                             a.      Stutts v. De Dietrich Is Not Remotely Analogous.

           Standard Chartered Bank asserts that Stutts compels dismissal of Plaintiffs’ Seventh

   Claim for Relief. SC Mem. at 5-10. In Stutts, plaintiffs brought a class action against, inter alia,

   a group of banks for injuries U.S. servicemen allegedly sustained by exposure to chemicals that

   were released into the environment when U.S. and coalition forces bombed Iraqi depots during

   the Gulf War in 1991. Plaintiffs’ theory was that the defendant banks acted “as correspondent

   banks under letters of credit issued to Saddam Hussein's Iraqi regime” to purchase chemicals in

   the early 1980s and that they “must have full and complete knowledge of the transaction,

   including knowledge of the parties and the goods and materials being sold.” Stutts Amended

   Complaint (AC) ¶5.57

           Judge Glasser summarized the Stutts plaintiffs’ theory of causation and foreseeability as

   follows:



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            The only other non-duplicative allegation against the banking defendants in Stutts averred: “The Bank
   Defendants, nonetheless acted as correspondent banks on letters of credits obtained by the government of Iraq for
   the benefit of the Supplier Defendants in connection with the sale of goods and services used by Saddam Hussein's
   regime to produce and/or obtain chemical weapons of mass destruction.” Stutts AC ¶87.

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          What the plaintiffs essentially ask the Court to accept is that by providing letters
          of credit to manufacturers of chemicals, the Bank Defendants should have
          perceived the risk that those chemicals would be sold to Iraq; that Saddam
          Hussein would use those chemicals to manufacture lethal weapons; that those
          weapons would be stockpiled in a location that would one day be bombed by
          coalition forces; that the bombs would hit and detonate those weapons; that the
          detonation would cause the toxic emissions to be released; that those emissions
          would permeate the atmosphere; that the plaintiffs would be present in that
          atmosphere, inhale those emissions and sustain the injuries alleged.

   Stutts, 2006 WL 1867060 at *35. Unsurprisingly, Judge Glasser concluded that “[t]o attribute

   such foresight to the Banks is to attribute a prescience that is beyond human ken.” Id. at *36.

          Standard Chartered Bank argues that by comparison to the Stutts allegations, “[t]he

   absence of proximate cause is even starker here.” SC Mem. at 6. The following juxtaposition,

   however, shows otherwise:

                Defendants in Stutts                          Standard Chartered Bank

   Plaintiffs were injured by U.S. Air Force         Plaintiffs were injured by weapons
   bombing of Iraqi chemical depots.                 manufactured, designed and deployed by Iran,
                                                     not the U.S. Air Force.

   Defendants’ alleged conduct occurred before       Defendants’ alleged conduct occurred after
   the ATA’s enactment.                              the ATA’s enactment.

   Plaintiffs did not allege any violations of the   Plaintiffs have alleged violations of 18 U.S.C.
   material support statutes (18 U.S.C. §2339A       §2339A (as well as conspiracy for violating
   or §2339B).                                       §§2339A and 2339B).

   Iraq was not a designated State Sponsor of        Iran was a designated State Sponsor of
   Terrorism throughout the relevant period,         Terrorism throughout the relevant period.
   1982-1990.

   Plaintiffs did not allege money laundering.       Plaintiffs allege and Standard Chartered Bank
                                                     has admitted to conspiring to launder money
                                                     for Iran and altering payment messages to
                                                     assist Iran in evading sanctions.

   Plaintiffs did not allege violations of U.S.      Plaintiffs allege and Standard Chartered Bank
   export controls.                                  has admitted to facilitating violations of U.S.
                                                     export controls (including terrorism-related
                                                     export controls).

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   Plaintiffs did not allege direct contacts, let           Plaintiffs allege that Standard Chartered Bank
   alone conspiracy, with Iraq’s military or                actively conspired with numerous Iranian
   terror-supporting apparatus.                             entities that are part of Iran’s terrorism
                                                            apparatus (IRGC, MODAFL, Mahan Air,
                                                            Bank Saderat).

   Plaintiffs did not allege that banks dealt with          Plaintiffs allege that Standard Chartered Bank
   any entity later designated as terrorists or             actively conspired with entities later
   agents of FTOs.                                          designated as terrorists or agents of FTOs.

                             b.       The Complaint Plausibly Pleads That Standard Chartered
                                      Bank Provided, Concealed, and Disguised Material Support to
                                      Iran Used in Preparation for, or in Carrying Out, Acts of
                                      Terrorism in Violation of §2339A.

           Standard Chartered Bank also argues that the Complaint contains no “alleg[ation] that

   SCB provided banking services for Hezbollah, the Islamic Revolutionary Guards Corps

   (‘IRGC’), or any terrorist organization.” SC Mem. at 4.58 This argument conflates liability

   predicated on violating §2339B – material support for foreign terrorist organizations – with

   liability for violating §2339A, material support in preparation for, or in carrying out, acts of

   terrorism, which is the basis for the Seventh Claim for Relief against Standard Chartered Bank.

           As discussed supra, at 45-48, the Second Circuit in Rothstein held that because even

   State Sponsors of Terrorism “have many legitimate agencies, operations, and programs to fund,”

   funding them cannot be treated as presumptively facilitating terrorism. Thus, an ATA complaint

   alleging financial or other material support to a State Sponsor of Terrorism must plausibly plead

   that the support provided was not directed toward that state’s “legitimate agencies, operations,

   and programs.” Rothstein, 708 F.3d at 97. Here, Plaintiffs have pled with great specificity that

   Standard Chartered Bank provided material support to Iran’s illegitimate agencies, operations,

   and programs. As summarized more fully supra, the Complaint details Standard Chartered

   Bank’s ongoing and extensive efforts on behalf of Mahan Air and sub-agencies of MODAFL
   58
          Even as styled, the statement is not accurate since Standard Chartered facilitated at least four unlawful USD
   payments to Zener Electronics, a procurement company for Hezbollah. SAC ¶¶798-802.

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   (helping them illegally purchase more than $120 million in embargoed U.S. aircraft and aircraft

   parts) and facilitation of more than $130 million in transfers on behalf of Iranian front

   companies, including $2.79 million USD’s worth of electromotors for hydraulic presses, the

   precise type of machinery required to manufacture EFPs.

           Faced with such detailed and voluminous evidence of its role in supplying embargoed

   manufacturing components, Standard Chartered Bank muses that dual-use equipment like

   electromotors for hydraulic presses might have been used to manufacture hockey equipment,

   adding that “[n]owhere do Plaintiffs allege that the electromotors that were the subject of the

   transaction involving SCB were used to manufacture hydraulic presses that, in turn,

   manufactured EFPs,” SC Mem. at 7-8. But the hydraulic presses were not placed on the

   Commerce Control list (for Anti-Terrorism reasons) because the U.S. government wanted to

   cripple Iran’s hockey leagues. They were embargoed because they are the precise type of

   machinery required to manufacture EFPs.59 As discussed supra, the kind of “tracing” causation

   espoused by Standard Chartered Bank is not the legal standard under the ATA. Boim III, 549

   F.3d at 697-98 (rejecting tracing requirement for terror funding).

   IV.     THE COMPLAINT PLAUSIBLY PLEADS THAT STANDARD CHARTERED
           BANK HAD THE REQUISITE STATE OF MIND TO VIOLATE §2339A IN
           SUPPORT OF THE SEVENTH CLAIM FOR RELIEF.

           Plaintiffs previously addressed their allegations of Standard Chartered Bank’s state of

   mind regarding their conspiracy claims (First and Second Claims for Relief). See supra, at 34-41.

   However, Standard Chartered separately argues, regarding its extensive criminal conduct in

   facilitating Letters of Credit to Iran’s military, that “issuers of letters of credit are third parties


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             The hydraulic pump a defendant provided to his co-conspirators in Garcia, 509 F. App’x at 42, also had
   other uses, but “it was not necessary for the government to show that [defendant] was aware of a high probability
   that the pump would be used for robberies of drug dealers (as charged in the indictment) ….”).


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   ignorant of the specifics of the transactions who merely deal in documents describing the terms

   of the credit extended.” SC Mem. at 6 n.5 (quoting Stutts, 2006 WL 1867060, at *13). It is

   simply impossible for Standard Chartered to make that claim in light of the Sanctions

   Compliance Transaction Review – Standard Chartered Bank, Report on Iranian Trade Finance

   Transactions (“Promontory Report”), which is incorporated in the Complaint.60 The Promontory

   Report – prepared by Standard Chartered Bank’s own hired consultant and disclosed by a

   whistleblower – provides a unique window into Standard Chartered Bank’s knowledge of the

   specifics of its illegal conduct in facilitating Letters of Credit for Iran’s terrorist apparatus. It

   shows that Standard Chartered was not an “ignorant third party”: it knowingly acted as the

   critical conduit providing access for Iranian banks, MODAFL, and the IRGC to U.S. suppliers

   and embargoed U.S. materials. For this, and many other reasons detailed in the Complaint, New

   York State’s Department of Financial Services (“DFS”) concluded: “SCB operated as a rogue

   institution.” SAC ¶840.

   V.      THE COMPLAINT PLAUSIBLY PLEADS VIOLATIONS OF 18 U.S.C. §2332d
           UNDERLYING THE THIRD AND FOURTH CLAIMS FOR RELIEF.

           It is illegal under 18 U.S.C. §2332d for a “United States person” to “engage[] in a

   financial transaction with the government of” a country that it knows, or reasonably should

   know, to be designated under section 6(j) of the Export Administration Act of 1979 as a country

   supporting international terrorism, “[e]xcept as provided in regulations issued by the Secretary of

   the Treasury, in consultation with the Secretary of State.” 18 U.S.C. §2332d(a). The Iranian

   Trade Regulations (“ITRs”) implemented this prohibition, and the U-Turn Exemption fashioned


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            Exhibit A(1) to the Complaint. The Promontory Report provides extensive descriptions of the types of
   information Standard Chartered collected in the process of fronting for various Iranian banks financing Letters of
   Credit for Iran’s terrorist apparatus, including “Certificates of Origin,” descriptions of the relevant goods,
   documentation indicating the identity of the Iranian Issuing Bank, and documentation indicating the ultimate
   recipient of the goods. Id. at 3-20.

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   an exception, which the conspirators could have used legally to facilitate transfers for the benefit

   of Iran’s legitimate agencies, operations, and programs. Instead, as discussed above, Defendants

   conspired with Iran to conceal their U.S. dollar clearing through the United States. SAC ¶¶140-

   172. The ITRs prohibit precisely the conduct in which the §2332d Defendants engaged. For

   example, 31 C.F.R. §560.20361 expressly provides that “[a]ny transaction by any United States

   person or within the United States that evades or avoids, or has the purpose of evading or

   avoiding, or attempts to violate, any of the prohibitions contained in this part is hereby

   prohibited.” (Emphasis added.) By a chain of statutory incorporation, violations of §2332d are

   acts of international terrorism that may give rise to civil liability through §2333(a). See supra, at

   26-31 (discussing primary liability).

            Section 2332d(b)(2) defines “United States person” as any:

                (A)       United States citizen or national;
                (B)       permanent resident alien;
                (C)       juridical person organized under the laws of the United States; or
                (D)       any person in the United States.

   “Financial transaction” is defined as “a transaction which in any way or degree affects interstate

   or foreign commerce … involving the movement of funds by wire or other means or … a

   transaction involving the use of a financial institution which is engaged in, or the activities of

   which affect, interstate or foreign commerce in any way or degree.” 18 U.S.C. §2332d(b)(1)

   incorporating §1956(c)(4).

            Standard Chartered Bank, RBS N.V., and Commerzbank alone argue that they are not

   United States persons for purposes of this section (as HSBC-US indisputably is a U.S. person),

   and all four of them argue that the Complaint’s §2332d allegations are defective because they

   fail to allege financial transactions with “the government of Iran.” The first argument is refuted

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     All citations to the C.F.R. cite the language and sections in effect at the times relevant to the SAC; the C.F.R. has
   since been remapped but retains the same language quoted here.

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   by §2332d’s plain language, and the second by the clear case law construing the provision, as

   well as common sense.

          A.      §2333(a) Creates Primary Liability for Violations of §2332d.

          For the same reason that the ATA creates primary liability for conspiracy, it creates

   primary liability for violations of §2332d. As the district court in Abecassis held, §2333(a)

   violations predicated on primary violations of §2332d are cognizable:

          Iraq was designated as a state sponsor of terrorism at all times relevant to this
          case. Regulations were issued to permit Americans and American companies to
          take part in the [Oil For Food Program] OFP. The plaintiffs allege that the
          defendants in this case were issued licenses to do so under those regulations. But
          the allegations are that the defendants violated the terms of the OFP, and thus the
          federal regulations insulating them from liability under § 2332d. The plaintiffs
          allege that because the defendants participated in the OFP and went through the
          licensing process, they knew that Iraq was designated as a state sponsor of
          terrorism. Of course, as the defendants argue, the definition of “international
          terrorism” also requires that the underlying criminal violation is an act “dangerous
          to human life.” 18 U.S.C. §2331(1). But like giving a loaded gun to a child, or
          giving money to Hamas, see Boim III, 549 F.3d at 690, giving money to a state
          sponsor of terrorism in knowing violation of strict rules set for transacting
          business with that country is an act dangerous to human life. The allegations in
          the complaint state a violation of the ATA based on §2332d. [Abecassis v. Wyatt,
          785 F. Supp. 2d 614, 648 (S.D. Tex. 2011) (emphasis added).]

          Like the regulations governing financial transactions with Iraq in Abecassis, the ITRs

   were “federal regulations insulating [Defendants] from liability under §2332d,” provided simply

   that they obeyed them. By knowingly and unlawfully “stripping” and otherwise laundering

   Iranian dollar transactions through the United States to evade U.S. terror-financing controls, in

   violation of those regulations, HSBC-US, Standard Chartered Bank, RBS, and Commerzbank

   chose to subvert and evade the regulations that could have insulated them from §2332d liability

   for at least some of the transactions.




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          B.      HSBC-US Is a U.S Person for Purposes of §2332d.

          HSBC-US is a national bank chartered under federal law with corporate headquarters in

   McLean, Virginia, and its principal office in New York. SAC ¶¶67-68. The Moving Defendants

   are silent on whether HSBC-US is a “juridical person organized under the laws of the United

   States,” because they cannot argue otherwise.

          C.      The U.S. Branches of Standard Chartered Bank, RBS N.V., and
                  Commerzbank Are U.S Persons for Purposes of §2332d.

          Standard Chartered Bank, RBS N.V., and Commerzbank assert that their U.S. branches

   are neither “juridical person[s] organized under the laws of the United States” nor “any person in

   the United States” under §2332d(b)(2). Joint Mem. at 28-30. All three banks, however, operated

   branches in the United States (as opposed to separately incorporated subsidiaries) during the

   relevant period, and these branches were licensed by, and operated under the laws of, New York

   and the United States.

          Congress enacted §2332d to prohibit two kinds of conduct involving financial

   transactions with State Sponsors of Terrorism. First, it wanted to prohibit domestic entities (i.e.

   U.S. citizens, permanent resident aliens, and U.S. legal entities) from engaging in unlicensed

   financial transactions with State Sponsors of Terrorism anywhere in the world. Second, it also

   wanted to prohibit any person or entity, whether foreign or domestic, from engaging in

   unlicensed financial transactions with State Sponsors of Terrorism in the United States. Section

   §2332d defines “U.S. persons” to reach both groups. Sections 2332d(b)(2)(A)-(C) forbid

   domestic entities from engaging in prohibited financial transactions anywhere in the world, while

   §2332d(b)(2)(D) forbids all persons and entities from engaging in prohibited transactions in the

   United States. There is nothing “superfluous” about this coverage, as Defendants argue (Joint.

   Mem. at 29): the definitions precisely match the logical reach of the prohibition.


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            Nor is “any person” limited to “natural persons,” as Defendants maintain. Section

   2331(3) defines “person” for the entire terrorism chapter of the U.S. Code (thus including

   §2332d) as “any individual or entity capable of holding a legal or beneficial interest in

   property.” §2331(3) (emphasis added). The U.S. branches of Standard Chartered Bank, RBS and

   Commerzbank all qualify as entities “capable of holding a legal or beneficial interest in

   property.” Furthermore, this reading is entirely consistent with the manner in which financial

   transactions with Iran have been circumscribed in the ITRs.62 For example, as noted above, 31

   C.F.R. §560.203 expressly provides that “[a]ny transaction by any United States person or within

   the United States that evades or avoids, or has the purpose of evading or avoiding, or attempts to

   violate, any of the prohibitions contained in this part is hereby prohibited.” (Emphasis added.)

   Likewise, 31 C.F.R. §560.204 prohibits “the exportation, reexportation, sale or supply, directly

   or indirectly, from the United States, or by a United States person, wherever located, of any

   goods, technology, or services....” (Emphasis added.) Like §2332d, the ITRs clearly target

   transactions conducted in or from the United States by any person. Similarly, prior to 2008, the

   ITRs permitted certain United States dollar clearing transactions involving Iran by “United States

   depository institutions” under specific conditions. 31 C.F.R. §560.516.

            The term United States depository institution means any entity (including its
            foreign branches) organized under the laws of any jurisdiction within the United
            States, or any agency, office or branch located in the United States of a foreign
            entity, that is engaged primarily in the business of banking (for example, banks,
            savings banks, savings associations, credit unions, trust companies and United
            States bank holding companies).

   62
             Consideration of related regulatory language is entirely appropriate in interpreting §2332d’s statutory
   definition. See Smith v. Califano, 597 F.2d 152, 156 (9th Cir. 1979) (where regulations are reasonable and reflect
   language and policy underlying statute, court should carefully consider regulations in determining proper
   interpretation of statute). Cf. Commodity Futures Trading Comm’n v. Gibraltar Monetary Corp., No. 04-80132-
   CIV, 2006 WL 1789018, at *20, n. 8 (S.D. Fla. May 30, 2006) (“When a statute and regulation contain virtually
   identical language, the interpretation of the statute guides the interpretation of the regulation.”). Indeed, Defendants
   claim that Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363 (2000), is on point because in that case the Supreme
   Court construed what they describe as “identical language” in regulations setting forth Burma-related sanctions.


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   31 C.F.R. §560.319 (emphasis added). The chain of definitions in the ITRs leads directly to

   Defendants’ doors.

               Faced with the plain language of the statute and the actual implementing regulations,

   Defendants rely on United States v. Chalmers, 474 F. Supp. 2d 555 (S.D.N.Y. 2007),63 a criminal

   case in which the court refused to impute the conduct of an independent entity (a U.S.

   subsidiary) to a Bahamian corporation that had no independent presence in the United States.

   Chalmers did not address a factual scenario involving a U.S.-licensed branch of a foreign

   corporation or that entity’s U.S. conduct. Moreover, Chalmers relied entirely on Crosby, 530

   U.S. at 379 (as does Joint. Mem. at 29), a Supreme Court case that considered whether a state

   statute boycotting (inter alia) wholly foreign corporations (having no branch, office, operation,

   or other presence in the state or the United States)64 was pre-empted by the Foreign Operations,

   Export Financing, and Related Programs Appropriations Act, 1997 (“FOEFRPAA”).65 The

   Supreme Court concluded that the state law was preempted because FOEFRPAA occupied the

   field of prohibition and did not reach wholly-foreign companies. “The state Act ... imposes

   restrictions on foreign companies as well as domestic, whereas the federal Act limits its reach to

   United States persons.” 530 U.S. at 379. Crosby’s reasoning does not apply here.



   63
               Defendants also cite Abecassis, 785 F. Supp. 2d 614, but Abecassis merely cites Chalmers without further
   analysis.
   64
            The state statute reached any person “(a) having a principal place of business, place of incorporation or its
   corporate headquarters in Burma (Myanmar) or having any operations, leases, franchises, majority-owned
   subsidiaries, distribution agreements, or any other similar agreements in Burma (Myanmar), or being the majority-
   owned subsidiary, licensee or franchise of such a person.” Quoted in Crosby, 530 U.S. at 366.
   65
            FOEFRPAA provided: “The President is hereby authorized to prohibit, and shall prohibit United States
   persons from new investment in Burma” but did not itself define “United States persons.” Pub. L. No. 104-208, 110
   Stat. 3009-166, §570(b). However, elsewhere in the same Act, Congress provided the following definition: “(1) a
   natural person who is a citizen or national of the United States; or (2) a corporation, partnership, or other legal entity
   organized under the United States or any State, territory, possession, or district of the United States.” Pub. L. No.
   104-208, 110 Stat. 3009-170, §581(c).

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          First, FOEFRPAA did not include the words “any person in the United States” in its

   definition, as §2332d does. This alone is dispositive. Defendants rely upon the Supreme Court’s

   analysis of a statute that does not contain the words “any person in the United States” to argue

   that those words in §2332d must exclude U.S. branches of foreign banks “in the United States.”

          Second, FOEFRPAA has a different purpose than the ATA. It dealt primarily with U.S.

   foreign aid and investment (e.g., the Agency for International Development, debt relief and other

   governmental expenditures), not prevention of terrorism financing. See JASTA §2(a)(1)

   (“International terrorism is a serious and deadly problem that threatens the vital interests of the

   United States.”). The Supreme Court has recently cautioned that “‘the presumption of consistent

   usage readily yields to context,’ and a statutory term may mean different things in different

   places.” King v. Burwell, 135 S. Ct. 2480, 2493 n. 3 (2015), quoting Util. Air Regulatory Grp. v.

   EPA, 134 S. Ct. 2427, 2441 (2014).

          Finally, the Complaint here does not allege that §2332d reaches conduct by wholly-

   foreign corporations that conduct financial transactions with Iran outside the United States.

   Instead, it alleges that financial transactions were purposefully conducted by Standard Chartered

   Bank, RBS, and Commerzbank through their U.S.-licensed branches in the United States – the

   very conduct spelled out in the ITRs by a direct chain of reference.

          Defendants effectively ask this Court to carve a giant loophole in §2332d and its

   implementing regulatory regime. They urge the Court to extend an inapposite holding in

   Chalmers to domestic conduct by U.S. branches of foreign banks by holding that: §2332d

   prohibits (1) domestic U.S. entities from engaging in financial transactions with State Sponsors

   of Terrorism anywhere in the world and (2) “natural persons” from engaging in financial

   transactions with State Sponsors of Terrorism in the United States, but (3) exempts U.S.-licensed



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   branches of foreign banks that violate sanctions laws and regulations by deliberately laundering

   money for State Sponsors of Terrorism in the United States.66 It is hard to imagine that the

   Chalmers court intended such an absurd result. But if it had, that case was wrongly decided.

            The U.S. branches of foreign banks are hybrid entities. They are treated as “foreign”

   entities for certain purposes, such as personal jurisdiction. But they are also “juridical person[s]

   organized under the laws of the United States,” because as U.S. branches, they must obtain

   licenses and register to do business in the United States and are subject to U.S. sanctions against

   Iran. See Radine Decl., Ex. F, (Attachment B ¶¶7, 11-16 – Commerzbank), Ex. C (Factual

   Statement ¶¶9, 73-77 – SCB), and Ex. D (Factual Statement ¶¶9-13 – RBS). That is why they are

   included in the definition of “United States depository institutions” in the ITR regulations. 31

   C.F.R. §560.516. Similarly, §560.327 defines a “U.S. financial institution” to include “those

   branches, offices, and agencies of foreign financial institutions that are located in the United

   States, but not such institutions’ foreign branches, offices, or agencies.” The statutory and

   regulatory scheme is coherent; Defendants’ proposed loophole and sui generis interpretation of

   the statute are not.

            D.       The Complaint Plausibly Pleads That the §2332d Defendants Knowingly
                     Engaged in Financial Transactions with the Government of Iran.

            Defendants further argue, without any case citation, that Plaintiffs are required to plead

   that they engaged in “transactions with the Iranian government itself,” to state a §2332d claim.

   Joint. Mem. at 29 (emphasis added). Nothing in the language of 18 U.S.C. §2332d suggests,

   however, that proscribed “financial transactions with the government of Iran” are limited solely
   66
            The definition of a “United States person” is nearly identical to the definition contained in the United States
   Global Terrorism Sanctions regulations, see 31 C.F.R. §594.315, issued by the President on September 11, 2001,
   pursuant to Executive Order No. 13224, 66 Fed. Reg. 490708 (Sept. 23, 2001). These regulations also apply to “any
   person in the United States” and block financial transactions with SDGTs affiliated with al Qaeda, Hamas,
   Hezbollah and other terrorist groups. Yet, under Defendants’ theory, U.S. branches of foreign corporations would be
   allowed to freely operate within the United States and engage in financial transactions with SDGTs without
   exposing themselves to criminal liability under the Executive Order No. 13224 regulations.

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   to transactions in the name of the government of Iran. If they were so limited, any State Sponsor

   of Terrorism could simply ask banks to send money to a state instrumentality or wholly-

   controlled entity not named “the Islamic Republic of Iran,” and a party could escape criminal

   liability under §2332d by engaging in transactions with those entities or alter-egos, agents, or

   dummy companies established by the Iranian government. 67 Section 2332d is not so obviously

   circumvented; it reaches instrumentalities and entities controlled by the Iranian government. See

   Abecassis, 785 F. Supp. 2d at 620 (payments to an account “held by Al Wasel and Babel General

   Trading, a United Arab Emirates company allegedly ‘secretly owned and controlled’ by

   Hussein,” sufficient to plead proscribed financial transaction with the government of Iraq); cf.,

   Nat’l Council of Resistance of Iran v. Dep’t of State, 373 F.3d 152, 157-58 (D.C. Cir. 2004)

   (reasoning that it is “silly” and “implausible” to think that a designated terrorist could escape the

   consequences of the designation simply by adopting an alias).

           The Complaint alleges that the U.S. Treasury Department revoked authorization for “U-

   Turn” transactions

           because it suspected Iran of using its banks – including the CBI/Markazi, Bank
           Saderat and Bank Melli – to finance its nuclear weapons and missile programs.
           The U.S. also suspected that Iran was using its banks to finance terrorist groups,
           including Hezbollah, Hamas and the Palestinian Islamic Jihad, and engaging in
           deceptive conduct to hide its involvement in various other prohibited
           transactions….

   SAC ¶163 (emphasis added). It further alleges that the CBI “is an alter-ego and instrumentality

   of the Iranian government.” SAC ¶¶391-393.68 The ITRs themselves define the term


   67
            Similarly, the ITRs state: “The term entity owned or controlled by the Government of Iran includes any
   corporation, partnership, association, or other entity in which the Government of Iran owns a 50 percent or greater
   interest or a controlling interest, and any entity which is otherwise controlled by that government.” 31 C.F.R.
   §560.313.
   68
            On February 6, 2012, pursuant to his authority under IEEPA, President Obama issued Executive Order
   (“E.O.”) 13599 which provides that:


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   “Government of Iran” to include “the Central Bank of Iran.” 31 C.F.R. §560.304. Bank Melli is

   also “effectively controlled by the Iranian regime.” SAC ¶417, and in other litigation, Bank Melli

   has conceded that it is an instrumentality of Iran. See Weinstein v. Islamic Republic of Iran, 609

   F.3d 43, 48 (2d Cir. 2010) (“Bank Melli concedes that it is an instrumentality of Iran.”). As the

   Complaint notes, in its 2004 Consent Order with ABN Amro (RBS N.V.), U.S. regulators found

   that “the New York Branch processed wire transfers originated by Bank Melli Iran, a financial

   institution owned or controlled by the Government of Iran.” SAC ¶914 (emphasis added).69 The

   Complaint further alleges that the U.S. Treasury Department made a determination that the

   National Iranian Oil Company was an agent or affiliate of the IRGC. SAC ¶516. IRISL has also

   been held to be an instrumentality of the government of Iran. See Estate of Heiser v. Bank of

   Tokyo Mitsubishi UFJ, New York Branch, 919 F. Supp. 2d 411, 420 (S.D.N.Y. 2013) (“As Iran’s

   ‘national maritime carrier,’ IRISL functions as an instrumentality of the government of Iran.”).

            The Complaint pleads that each of the four Defendants identified in the Third and Fourth

   Claims for Relief knowingly engaged in financial transactions in the United States with one or

   more of these instrumentalities or divisions of the Government of Iran. For example, the

   Complaint details HSBC-US’s knowledge70 that it was an unlawful conduit for financial



            [a]ll property and interests in property of the Government of Iran, including the Central Bank of
            Iran, that are in the United States, that are or hereafter come within the United States, or that
            hereafter come within the possession or control of any United States person, including any foreign
            branch, are blocked and may not be transferred, paid, exported, withdrawn, or otherwise dealt in.
            Exec. Order No. 13599, 77 Fed. Reg. 26 (Feb. 6, 2012) (emphasis added).
   69
            See also New York State Department Of Financial Services Order Pursuant To Banking Law §39 attached
   as Exhibit L to the Radine Decl. ¶1 (“For nearly a decade, SCB programmatically engaged in deceptive and
   fraudulent misconduct in order to move at least $250 billion through its New York branch on behalf of client Iranian
   financial institutions (‘Iranian Clients’) that were subject to U.S. economic sanctions, and then covered up its
   transgressions. These institutions included no less than the Central Bank of Iran/Markazi (‘CBI/Markazi’), as well as
   Bank Saderat and Bank Melli, both of which are also Iranian State-owned institutions.”). (Emphasis added.)
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            The Moving Defendants baldly assert: “[n]or can Plaintiffs demonstrate that U.S. clearing banks like HSBC
   US knew that Iran was the beneficiary of transactions, as the nub of Plaintiffs’ allegations is that this information
   was stripped from wire transfers before it reached the U.S. clearing bank.” Joint Mem. at 30. But the Complaint sets

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   transactions on behalf of the CBI, Bank Melli, and NIOC. SAC ¶¶400, 516, 532-571 (e.g. July

   12, 2001 e-mail to senior employees at HSBC-US advising them that HSBC had “been

   approached by the Central Bank of Iran to take back their USD clearing business from

   Natwest”). The Complaint also details the U.S. branch of Standard Chartered Bank’s knowledge

   that it was an unlawful conduit for financial transactions on behalf of the CBI, Bank Saderat,

   Bank Melli and NIOC, SAC ¶¶621-672, and RBS’s U.S. branch’s knowledge that it was used as

   an unlawful conduit for financial transactions on behalf of the CBI and Bank Melli. SAC ¶¶881-

   918. Lastly, the Complaint alleges that Commerzbank’s U.S. branch knew it was being used as

   an unlawful conduit for financial transactions on behalf of Bank Melli, Bank Saderat and IRISL.

   SAC ¶¶992-1038.

   VI.     THIS COURT HAS SPECIFIC PERSONAL JURISDICTION OVER BANK
           SADERAT, PLC AND ALL CLAIMS AGAINST COMMERZBANK

           Bank Saderat contests personal jurisdiction under C.P.L.R. §302(a)(1), (2) and Rule

   4(k)(2), and Commerzbank contests personal jurisdiction as to Plaintiffs’ Sixth Claim, which

   relates to Commerzbank’s material support to Hezbollah through its account for the

   Waisenkinderprojekt.71 As shown below, this Court has jurisdiction over Bank Saderat for the

   same reasons it found jurisdiction over the defendant in Strauss v. Crédit Lyonnais, S.A., No. 06-

   cv-702(DLI)(MDG), 2016 WL 1305160 (E.D.N.Y. Mar. 31, 2016) and the Second Circuit found

   jurisdiction over the defendants in Licci ex rel. Licci v. Lebanese Canadian Bank, SAL (“Licci


   forth in detail HSBC-US’s awareness and participation in the unlawful acts of the Conspiracy. See, e.g., SAC ¶¶415;
   447-448; 498; 507-508; 2227-2232 (detailing HSBC-US’s practices and knowledge). Tellingly, the Department of
   Justice press release announcing the DPA by which HSBC Holdings and HSBC-US agreed to a forfeiture of more
   than a billion USD cited “HSBC’s willful flouting of U.S. sanctions laws and regulations [that] resulted in the
   processing of hundreds of millions of dollars in OFAC-prohibited transactions.” SAC ¶574.
   71
            In evaluating whether the requisite showing of personal jurisdiction has been made, the Court must
   construe the pleadings and any supporting materials in the light most favorable to the plaintiffs. Chloé v. Queen Bee
   of Beverly Hills, LLC, 616 F.3d 158, 163 (2d Cir. 2010). See also Dale v. Banque SCS Alliance S.A., No.
   02Civ.3592(RCC)(KNF), 2005 WL 2347853, at *3 (S.D.N.Y. Sept. 22, 2005) (“the court will construe jurisdictional
   allegations liberally and take all uncontroverted factual allegations to be true.”).

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   IV”), 732 F.3d 161 (2d Cir. 2013). This Court also has pendent personal jurisdiction over

   Commerzbank because its material support to Hezbollah shares a common nucleus of fact with

   Plaintiffs’ other claims against Commerzbank, for which it does not contest personal jurisdiction.

           A.     This Court Has Personal Jurisdiction Over Bank Saderat.

           Bank Saderat is the only foreign bank defendant to contest personal jurisdiction as to the

   Conspiracy-related claims (Plaintiffs’ First and Second Claims for Relief), but it provides no

   reason to accord it special treatment. This Court in Strauss set out the relevant personal

   jurisdiction standard:

           To make a prima facie showing that personal jurisdiction exists, a plaintiff must
           demonstrate: (1) proper service of process upon the defendant; (2) a statutory basis for
           personal jurisdiction over the defendant; and (3) that [the court’s] exercise of jurisdiction
           over the defendant is in accordance with constitutional due process principles.

   Strauss, 2016 WL 1305160, at *7 (internal quotation marks and citation omitted). Saderat does

   not contest proper service of process, requiring analysis only of the latter two elements. As

   shown below, this Court has jurisdiction over Bank Saderat under (a) C.P.L.R. §§302(a)(1) and

   (2) and (b) Rule 4(k)(2), and jurisdiction comports with due process principles.

                  1.        This Court Has Personal Jurisdiction Over Bank Saderat Under
                            C.P.L.R. §302(a)(1).

           C.P.L.R. §302(a)(1) has two prongs: “purposeful availment,” directly or through an

   agent, of the privilege of conducting activities within New York, invoking the benefits and

   protections of its laws, and an “articulable nexus” or “substantial relationship” between the

   plaintiff’s claims and the defendant’s transaction in New York. Id. at *9.

           In Licci v. Lebanese Canadian Bank, SAL (“Licci III”), 20 N.Y.3d 327, 960 N.Y.S.2d

   695 (2012), the New York Court of Appeals found purposeful availment on facts similar to those

   here:



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            [A] foreign bank’s repeated use of a correspondent account in New York on
            behalf of a client—in effect, a course of dealing—show[s] purposeful availment
            of New York’s dependable and transparent banking system, the dollar as a stable
            and fungible currency, and the predictable jurisdictional and commercial law of
            New York and the United States.

   Licci III, 20 N.Y.3d at 339. This is precisely what Plaintiffs have alleged against Bank Saderat –

   that it repeatedly directed its co-conspirators to clandestinely send Eurodollars through

   correspondent accounts in New York, including Eurodollars sent to Hezbollah and other terrorist

   entities. SAC ¶¶364-390.

            As shown in detail in Lloyds TSB Bank Plc’s (“Lloyds”) DPA, Bank Saderat and other

   Iranian banks (described jointly in the DPA as the “U.K. Iranian Banks”) held accounts with

   Lloyds in order to non-transparently clear money for illegitimate activities through Lloyds’s New

   York correspondent accounts. See Lloyds DPA, Radine Decl. Ex. G, Factual Statement ¶13.

   Lloyds’s “processing staff manually reviewed each SWIFT message received from the U.K.

   Iranian Banks before they were transmitted to the United States to ensure that references to Iran

   were removed from certain outgoing USD SWIFT messages.” Id. ¶16 (emphasis added). Lloyds

   thereby “prevented the U.S. depository institutions located in New York ... from recognizing the

   transactions as originating from sanctioned countries, banks or persons .... [and] from generating

   business records of transactions to be filed with OFAC, as required by law.” Id. ¶20 (emphasis

   added). These Complaint excerpts and the incorporated Lloyds DPA72 undercut Saderat’s

   counterfactual argument that “[t]here are no allegations of any...specific U-turn or other

   transaction involving BSPLC directly or indirectly routed through New York.” BS Mem. at 14.

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             Bank Saderat argues that the Lloyds DPA is insufficient to support §302(a)(1) personal jurisdiction because
   the DPA also identifies other Iranian bank co-conspirators using Lloyds to illegally clear dollar-denominated assets
   through New York. BS Mem. at 15 n.28. Bank Saderat also inexplicably quotes from a discussion of the heightened
   pleading requirements in a fraud action in a decision on a Rule 9(b) motion to dismiss. Trans World Airlines, Inc. v.
   47th St. Photo, Inc., No. 88 CIV. 1936 (PNL), 1990 WL 481956, at *5 (S.D.N.Y. Apr. 16, 1990). The decision does
   include a brief personal jurisdiction section as well (examining §302(a)(2), not (1)), but it only concludes that
   jurisdictional discovery is necessary to determine personal jurisdiction. Id. at *8.


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           Bank Saderat also points out that “[t]here are no allegations of any BSPLC bank account

   in New York, [or a] BSPLC correspondent account in New York.” BS Mem. at 14. Bank Saderat

   has no correspondent accounts in New York because “US sanctions” prohibit it from doing so, as

   it admits in a footnote. BS Mem. at 15 n. 27. That Bank Saderat instead performed business in

   New York through a series of agents does not change the jurisdiction analysis. As stated above,

   §302 explicitly applies to out of state actors who act in New York “through an agent.” C.P.L.R.

   §302(a). In fact, whenever a U.S. correspondent bank performs a dollar-clearing transaction for a

   correspondent account of a foreign bank, as in the Licci cases, the U.S. bank is operating as the

   foreign bank’s agent for that purpose.73 See PDK Labs, Inc. v. Friedlander, 103 F.3d 1105,

   1110–11 (2d Cir. 1997) (using agents in forum is purposeful availment sufficient to comport

   with due process); Cavu Releasing, LLC. v. Fries, 419 F. Supp. 2d 388, 393 (S.D.N.Y. 2005)

   (same). Thus, Bank Saderat urges the absurd result that, because it was barred from maintaining

   a correspondent account in New York and barred from accessing the U-Turn Exemption because

   of its support for Hezbollah, its illegal use of other banks’ correspondent accounts in New York

   to fund terrorism makes it immune from suit in New York for injuries resulting from that

   terrorism.

           As for the “nexus” prong of §302(a)(1), showing a nexus is a “relatively permissive”

   standard that “does not demand a causal connection between the defendant’s New York

   transaction [and] the plaintiff’s claim.” Strauss, 2016 WL 1305160, at *9. Instead, it “requires

   only a ‘relatedness... such that the latter is not completely unmoored from the former’” and that

   “at least one element [of the plaintiff’s claim] arises from the [defendant’s] New York contacts.”

   73
            “Whether a defendant’s representative is an ‘agent’ for purposes of § 302(a) turns on whether the
   representative acted ‘for the benefit of and with the knowledge and consent of [the] defendant and [the defendant]
   exercised some control over [the agent] in the matter.’” Shpak v. Curtis, 10-CV-1818 RRM JO, 2011 WL 4460605,
   at *8 (E.D.N.Y. Sept. 26, 2011) (citations omitted). Plaintiffs’ allegations clearly meet this standard.


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   Id. (quoting Licci III, 20 N.Y.3d, at 339). Bank Saderat argues that Plaintiffs have not

   “identif[ied] a single banking transaction routed through New York involving BSPLC directly or

   indirectly, much less a banking transaction involving BSPLC and an account associated with

   terrorism.” In fact, Plaintiffs have provided substantial allegations of Bank Saderat’s transfer of

   US dollars to Hezbollah through New York-based correspondent accounts, which lost Bank

   Saderat its access to the U-Turn system and earned it its SDGT status. SAC ¶163 (revocation of

   U-Turn authorization), SAC ¶365 (Hezbollah), SAC ¶387 (SDGT status). Plaintiffs have also

   alleged in detail Bank Saderat’s collaboration with the Moving Defendants to strip Letters of

   Credit, cleared through New York, SAC ¶745, illegally procuring military equipment on the

   USML list for MODAFL and U.S. aircraft parts for Mahan Air, SAC ¶¶375-381. More is not

   required, as “it is not Plaintiffs’ burden to adduce any such proof at this stage. Rather, Plaintiffs

   need only plead facts that, if credited, would establish jurisdiction over Defendant.” Strauss,

   2016 WL 1305160, at *10.

           Bank Saderat also quotes Tamam v. Fransabank Sal, 677 F. Supp. 2d 720, 728 (S.D.N.Y.

   2010) for the proposition that “[t]he ‘events giving rise to the physical injuries and deaths for

   which Plaintiffs [sought] redress [were] missile attacks in Israel, not funds transfers in New

   York.’” BS Mem. at 17 (quoting Tamam 677 F. Supp. 2d, at 728) but fails to acknowledge that

   the New York Court of Appeals in Licci III rejected this reasoning, holding:

           [T]he specific harms suffered by plaintiffs flowed not from LCB’s alleged support
           of a terrorist organization, but rather from rockets. Yet CPLR 302(a)(1) does not
           require that every element of the cause of action pleaded must be related to the
           New York contacts; rather, where at least one element arises from the New York
           contacts, the relationship between the business transaction and the claim asserted
           supports specific jurisdiction under the statute. [20 N.Y.3d at 341.]74



   74
           This holding was then used by the Second Circuit in Licci IV to vacate the lower court’s dismissal (Licci v.
   Am. Exp. Bank Ltd., 704 F. Supp. 2d 403, 407 (S.D.N.Y. 2010)) of the complaint, premised in part on Tamam.

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                    2.       This Court Also Has Personal Jurisdiction Over Bank Saderat Under
                             C.P.L.R. §302(a)(2).

           Bank Saderat is also subject to personal jurisdiction under C.P.L.R. §302(a)(2) because it

   committed tortious acts within New York State. The acts of a defendant’s agent or co-conspirator

   within New York provide a sufficient basis for personal jurisdiction under C.P.L.R. §302(a)(2),

   even when the defendant itself was outside the state at the time of the tortious conduct. See

   Emerald Asset Advisors, LLC v. H. Cy Schaffer, 895 F. Supp. 2d 418, 431 (E.D.N.Y. 2012).

   (“[T]he New York activities of a ‘co-conspirator’ may also be imputed to an out-of-state

   defendant for purposes of personal jurisdiction under § 302(a)(2) under an agency rationale.”).

   Factors courts consider in assessing co-conspirator jurisdiction are:

           (1) the out-of-state co-conspirator had an awareness of the effects of the activity in New
           York, (2) the New York co-conspirators’ activity was for the benefit of the out-of-state
           conspirators, and (3) that the coconspirators in New York acted at the behest of or on
           behalf of, or under the control of the out-of-state conspirators.

   Id. at 431. Here, the detailed allegations in the Complaint make clear that (1) Bank Saderat

   actively conspired to effectuate the criminal conduct directed at New York (and the United States

   generally), (2) many of the hundreds of transactions the co-conspirators illegally performed in

   New York were for Bank Saderat’s benefit, and (3) the co-conspirators performed those

   transactions at the behest of, and on behalf of, Bank Saderat. See SAC ¶¶364-390.

           Bank Saderat argues that conspiracy-based personal jurisdiction is unavailable because

   (1) it believes conspiracy liability is unavailable under the ATA, 75 (2) the “tortious act” did not

   occur in the state because “the last event necessary to make the actor liable” occurred elsewhere,

   and (3) Plaintiffs have not made out even a prima facie showing of Conspiracy. BS Mem. at 18-

   19. Grounds (1) and (3) are plainly incorrect and are addressed supra, Sections I and II. Ground


   75
           As noted supra, Bank Saderat’s counsel has since conceded that “there can now be civil liability for those
   who aid and abet an act of terrorism, as well as those who conspire to do so….”

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   (2) is premised on a profound misreading of LaSala v. Lloyds TSB Bank, 514 F. Supp. 2d 447

   (S.D.N.Y. 2007) and Devore v. Pfizer, Inc., 867 N.Y.S.2d 425 (1st Dep’t 2008). As those cases

   make clear, the “last event” test is used for deciding choice of law, not personal jurisdiction, and

   even in that context, as one of Bank Saderat’s own cases show, “the ‘last place’ criterion does

   not displace ordinary interest analysis.” LaSala, 514 F. Supp. at 464.

                     3.       Even if C.P.L.R. §302 Is Not Satisfied, This Court Has Personal
                              Jurisdiction Over Bank Saderat Under Rule 4(k)(2).

            If Bank Saderat is right that the New York long arm statute does not reach it (and no

   other state has personal jurisdiction), then Rule 4(k)(2) applies. To establish personal jurisdiction

   under Rule 4(k)(2), “there must be a federal claim, personal jurisdiction must not exist over the

   defendant in New York or any other state, and the defendant must have sufficient minimum

   contacts with the United States as a whole such that the exercise of jurisdiction does not violate

   Fifth Amendment due process.” In re Terrorist Attacks on Sept. 11, 2001, 392 F. Supp. 2d 539,

   557 (S.D.N.Y. 2005), aff’d, 538 F.3d 71 (2d Cir. 2008) (internal quotation marks and citation

   omitted). Plaintiffs assert federal claims, and, as shown above, Bank Saderat’s numerous

   transfers through correspondent banks and co-conspirators in the United States to terrorist groups

   establish sufficient minimum contacts with the United States “as a whole” to satisfy the Fifth

   Amendment.76




   76
             Bank Saderat’s rejoinder is to cite cases in which plaintiffs pleaded no connections to the United States
   sufficient to confer specific jurisdiction except the citizenship of the victims. See BS Mem. at 19-21. The In re
   Terrorist Attacks on Sept. 11, 2001 family of cases involve donations entirely made outside of the United States to
   charities that at best foreseeably could have supported al Qaeda. As Bank Saderat admits, Waldman v. Palestine
   Liberation Org., No. 15-3135-CV, 2016 WL 4537369 (2d Cir. Aug. 31, 2016) and Walden v. Fiore, 134 S. Ct. 1115
   (2014) only reject theories premised entirely on the identity of the victims, rather than the aim of the defendants’
   conduct. In fact, the Waldman court found that the attacks were not “expressly aimed” at the United States because
   the American victims were not specifically targeted for their citizenship. In the instant case, the terror attacks were
   clearly intended to harm American forces in order to affect American policy. For instance, Iran designed EFPs
   specifically to penetrate the armored vehicles used by American forces in Iraq. SAC ¶¶47 n.9, 197 n. 17.

                                                            74
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                     4.       Bank Saderat Has Minimum Contacts With the United States and
                              Exercise of Specific Personal Jurisdiction Over It Is Reasonable.

            The remaining elements of personal jurisdiction are that Bank Saderat had “minimum

   contacts” with the United States, and that this Court’s exercise of personal jurisdiction over Bank

   Saderat would be “reasonable under the circumstances.” Strauss, 2016 WL 1305160, at *16.

   However, as this Court noted, “the Second Circuit observed that it would be ‘rare’ and ‘unusual’

   for a court to determine that the exercise of personal jurisdiction over a defendant was permitted

   by §302(a)(1), but prohibited under principles of due process. In fact, the Second Circuit noted

   that it was aware of no such decisions within this Circuit.” Id. (quoting Licci IV, 732 F.3d at

   170). The instant case should not be the first.

            The minimum contacts test is satisfied “if ‘the defendant purposefully availed itself of the

   privilege of doing business in the forum and could foresee being haled into court there.’” Id.

   (quoting Licci IV, 732 F.3d at 170). Notably, in JASTA §2(a)(6), Congress found that

            entities ... that knowingly or recklessly contribute material support or resources,
            directly or indirectly, to persons or organizations that pose a significant risk of
            committing acts of terrorism that threaten the security of nationals of the United
            States… necessarily direct their conduct at the United States, and should
            reasonably anticipate being brought to court in the United States to answer
            for such activities.

   (emphasis added).77 Moreover, “as acknowledged by the Second Circuit, . . . ‘use of a forum’s

   banking system as part of an allegedly wrongful course of conduct may expose the user to suits

   seeking redress in that forum when that use is an integral part of the wrongful conduct.’” Strauss,

   2016 WL 1305160 at *19 (quoting Licci IV, 732 F.3d at 172 n. 7).




   77
             Although not controlling on a constitutional question, Congress’s findings and purposes provide useful
   guidance in interpreting a statute. See Rubin v. Islamic Republic of Iran, No. 14-1935, 2016 WL 3903409, at *7 (7th
   Cir. July 19, 2016) (“None of the standard objections to judicial reliance on legislative history inhibit our resort to
   a statutory declaration of purpose for help in interpreting a part of the statute to which it applies.”).

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             Reasonableness includes several factors, such as the burden on the defendant, the

   interests of the forum (here, New York and the United States) and the justice system generally,

   and the furthering of national social policies. Id. A defendant “bears a heavy burden” to render

   jurisdiction unreasonable, id., and where minimum contacts are met, “dismissals resulting from

   the application of the reasonableness test should be few and far between.” Id. (quoting Metro.

   Life Ins. Co. v. Robertson–Ceco Corp., 84 F.3d 560, 575 (2d Cir. 1996)). Bank Saderat does not

   contest reasonableness, nor could it. Bank Saderat, a UK corporation, has demonstrated that it

   can litigate this case through its U.S. counsel, especially given “the conveniences of modern

   communication and transportation.” See id. at *20 (quoting Licci IV, 732 F.3d at 174). Further,

   New York and the U.S. have a clear “interest in monitoring banks and banking activity to ensure

   that its system is not used as an instrument in support of terrorism.” Id.

             Lastly, this Court stated, “although not a controlling factor, it is appropriate to consider

   the federal policy underlying Congress’ enactment of the ATA.” Id. This Court found, before the

   passage of JASTA, that “the legislative history and the express language of the ATA [provide] a

   clear statutory objective ‘to give American nationals broad remedies in a procedurally privileged

   U.S. forum.’” Id. (quoting Goldberg v. UBS AG, 660 F. Supp. 2d 410, 422 (E.D.N.Y. 2009)).

   JASTA reaffirms this policy, stating:

             The purpose of this Act is to provide civil litigants with the broadest possible basis,
             consistent with the Constitution of the United States, to seek relief against persons,
             entities, and foreign countries, wherever acting and wherever they may be found, that
             have provided material support, directly or indirectly, to foreign organizations or persons
             that engage in terrorist activities against the United States.

   JASTA §2(b) (“Purpose”) (emphasis added). Likewise, Congress’s finding in JASTA §2(a)(7)

   states:

             The United States has a vital interest in providing persons and entities injured as a result
             of terrorist attacks committed within the United States with full access to the court system

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             in order to pursue civil claims against persons, entities, or countries that have knowingly
             or recklessly provided material support or resources, directly or indirectly, to the persons
             or organizations responsible for their injuries.

   In sum, this Court has personal jurisdiction over Bank Saderat under C.P.L.R. §§301(a)(1) and

   (2) and Rule 4(k)(2).

             B.     This Court Has Pendent Personal Jurisdiction Over Plaintiffs’ Sixth Claim
                    for Relief (Commerzbank).

             Commerzbank does not contest that this Court has personal jurisdiction over Plaintiffs’

   conspiracy-based claims against it, but contends that its transfers to the Martyrs Foundation in

   Lebanon were unrelated to the Conspiracy. See SAC ¶¶1039-1040; CB Mem. at 10. However,

   even if that were correct – and at the pleading stage it is impossible for the Court to so determine

   – this Court can exercise pendent personal jurisdiction over it for the Sixth Claim even absent

   specific allegations that the transfers to the Martyrs Foundation were routed through the United

   States.

             As this Court has stated, pendent personal jurisdiction is available for a claim that “arises

   from the same common nucleus of fact as another claim for which the court properly has

   jurisdiction over the defendant.” Strauss, at *20. While Commerzbank’s specific transactions on

   behalf of Bank Saderat, IRISL and the Waisenkinderprojekt vary from one another,

   Commerzbank’s conduct arises from a common nucleus of operative facts: i.e., ATA claims

   predicated on Defendant providing material support to Iran and its agents during the same time

   period.78

             Although this Court did not make a determination as to pendent personal jurisdiction in

   Strauss – having found personal jurisdiction over all of plaintiffs’ claims – it did note that in the

   78
           In United Mine Workers of America v. Gibbs, 383 U.S. 715, 725 (1966) the Supreme Court defined a
   “common nucleus of operative facts” as a situation where “a plaintiff's claims are such that he would ordinarily be
   expected to try them all in one judicial proceeding.”


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   Second Circuit the doctrine “primarily has been embraced to permit the adjudication of pendent

   state law claims” given similar federal claims. Id. (Emphasis added.) District and circuit courts

   in other circuits, however, have also found pendent personal jurisdiction over federal claims, in

   addition to state claims. See, e.g., Robinson Engineering Co. Pension Plan and Trust v. George,

   223 F.3d 445, 449 (7th Cir. 2000) (holding that once there was personal jurisdiction for

   Securities Act and Securities Exchange Act claims, court had pendent personal jurisdiction for

   RICO claims that arose out of the same nucleus of operative facts.). 79 Plaintiffs know of no case

   to the contrary.80

   VII.     THE ACT OF WAR DEFENSE DOES NOT APPLY TO THE TERRORIST
            ATTACKS THAT INJURED PLAINTIFFS.

            Having admitted in a prior brief that “remnants [and] insurgents” conducted the attacks at

   issue in the “aftermath” of “conventional war,” BS 5/29/15 Mem. at 11 (ECF No. 89), Saderat

   now doubles down and incredibly asserts that “military forces” conducted the attacks in a

   “declared war.” BS Mem. at 6-7 (emphasis added). This would surely surprise Congress. The

   79
             See also Action Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174, 1180–81 (9th Cir. 2004)
   (“Pendent personal jurisdiction is typically found where one or more federal claims for which there is nationwide
   personal jurisdiction are combined in the same suit with one or more state or federal claims for which there is not
   nationwide personal jurisdiction.”) (emphasis added); Alcohol Monitoring Systems, Inc. v. Actsoft, Inc., 682 F. Supp.
   2d 1237, 1253 (D. Colo. 2010) (noting that “several courts have applied the concept of pendent personal jurisdiction
   where the additional claim is a federal claim” and holding the same) (emphasis added); Miller Pipeline Corp. v.
   British Gas plc, 901 F. Supp. 1416, 1423-24 (S.D. Ind. 1995) (holding that pendent personal jurisdiction can be used
   to obtain personal jurisdiction over a defendant for related federal claims) (emphasis added); Noble Sec., Inc. v. MIZ
   Eng'g, Ltd., 611 F. Supp. 2d 513, 556 (E.D. Va. 2009) (“the Fourth Circuit has approved the exercise of pendent
   personal jurisdiction over claims arising from a common nucleus of operative fact, whether the additional claim is a
   state claim or a federal claim”) (emphasis added).
   80
            For the reasons set forth above, jurisdictional discovery is not required. However, to the extent the Court
   believes a more fulsome jurisdictional record is preferable for deciding jurisdiction over the Sixth Claim, Plaintiffs
   request that the Court afford them the opportunity to conduct limited jurisdictional discovery concerning
   Waisenkinderprojekt’s Commerzbank transactions through the United States. See Daventree Limited v. Republic of
   Azerbaijan, 349 F. Supp. 2d 736, 761 (S.D.N.Y. 2004) (“A plaintiff should be provided with ample opportunity to
   secure and present evidence relevant to the existence of jurisdiction through jurisdictional discovery.”) (internal
   quotation marks and citations omitted). See also Stratagem Dev. Corp. v. Heron Int’l N.V., 153 F.R.D. 535, 547
   (S.D.N.Y. 1994) (finding that where plaintiff failed to make a prima facie showing of personal jurisdiction, “the
   Court has discretion to order further discovery on the jurisdictional issue, provided that plaintiffs make a threshold
   showing of jurisdiction and establish that their position is not frivolous.”).


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   last time it declared war was June 5, 1942. Act of June 5, 1942, ch. 323, 56 Stat. 307 (“Declaring

   that a state of war exists” between the U.S. and, respectively, Rumania, Bulgaria, and Hungary).

            But Saderat’s “declaration” sets the meager standard for accuracy and common sense for

   the rest of its act-of-war argument. It asks this court to find that a defendant that is itself a

   designated terrorist enjoys immunity from liability for conceded acts of terrorism under a

   congressional act commonly called the Anti-Terrorism Act – a result that would “pervert the very

   purpose of the ATA,” as all but one of the courts that have reached the issue and all of the courts

   in this Circuit, including this Circuit’s Court of Appeals, have recognized. 81 This Court should

   reject this invitation to error.

            For purpose of its “facial challenge,” Saderat does not dispute that:82

               Hezbollah was designated by the United States at all relevant times herein and the
                IRGC’s Qods Force was designated for “training, funding, and guid[ing] select

   81
             Weiss v. Arab Bank, PLC, No. 06 CV 1623(NG)(VVP), 2007 WL 4565060, at *5 (E.D.N.Y. Dec. 21,
   2007). See, e.g., In re Sept. 11 Litig., 751 F.3d 86, 93 (2d Cir. 2014) (dictum) cert. denied sub nom. Cedar &
   Washington Associates, LLC v. Port Auth. of New York & New Jersey, 135 S. Ct. 742 (2014); Gill, 893 F. Supp. 2d
   at 517; Stansell, 2011 WL 1296881, at *11; Sokolow v. Palestine Liberation Org., 583 F. Supp. 2d 451 (S.D.N.Y.
   2008); Estate of Klieman v. Palestinian Authority, 424 F. Supp. 2d 153, 166 (D.D.C. 2006); Morris v. Khadr, 415 F.
   Supp. 2d 1323 (D. Utah 2006); Biton v. The Palestinian Interim Self-Gov’t Auth., 412 F. Supp. 2d 1 (D.D.C. 2005).
   A District of Columbia district court applied the defense to the rocket attacks in the Israel-Lebanon War, as
   discussed below. Kaplan v. Central Bank of Islamic Republic of Iran, 961 F. Supp. 2d 185 (D.D.C. 2013). In this
   Circuit, only Stutts v. De Dietrich Group, No. 03-CV-4058 (ILG), 2006 WL 1867060, at *5 (E.D.N.Y. 2006), has
   applied the exception, but it did so with respect to injuries arising from the destruction of leftover chemical
   stockpiles by Coalition Forces in the 1991 Persian Gulf War that were not perpetrated or orchestrated by any
   terrorist group. See the discussion of Stutts, supra at III.B.4.a.
   82
             Saderat grudgingly concedes that it is making only a “facial challenge” and that “all inferences are drawn in
   the plaintiffs’ favor.” BS Mem. at 6. Nevertheless, it asserts that “many” courts (now backing away from its prior
   claim that “[m]ost courts,” “the majority,” (BS 5/29/16 Mem. at 4, 6)) have treated the act of war defense as
   jurisdictional. BS Mem. at 4. In fact, four of seven courts to have considered the issue declined to treat it as
   jurisdictional and two others declined to decide whether it was jurisdictional. Compare Stansell, 2011 WL 1296881,
   at *10-11 (apparently rejecting act of war defense on Rule 12(b)(6) motion); Stutts, 2006 WL 1867060, at *5 (ruling
   on Rule 12(b)(6) motion); Weiss, 2007 WL 4565060, at *3 (expressly declining to analyze the motion under Rule
   12(b)(1), and treating act of war claim under Rule 12(b)(6); Gill, 893 F. Supp. 2d at 508 (“defendant is incorrect
   insofar as it has argued that the act of war exception ... is jurisdictional. The exception merely provides ATA
   defendants with an affirmative defense.”) (citation omitted); Kaplan, 961 F. Supp. 2d at 199-200 (declining to
   resolve whether the act of war defense is jurisdictional, an affirmative defense, or an element of the claim); Sokolow,
   583 F. Supp. 2d at 458 (declaring characterization of the legal nature of defendants’ [act of war] objections
   irrelevant” because the alleged terrorist attacks were not acts of war) with Biton, 412 F. Supp. 2d at 6-7 (assuming,
   without discussion, that §2336(a) is jurisdictional); Klieman, 424 F. Supp. 2d 153 (same); Morris, 415 F. Supp. 2d
   1323 (same). Now Saderat concedes what it had claimed was the “majority” rule is “debatable.” BS Mem. at 4.

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              groups of Iraqi Shi’a militants who target and kill Coalition and Iraqi forces and
              innocent Iraqi civilians” (SAC ¶¶10, 11, 16, 273, 275-276);

             the attacks in question were acts of international terrorism within the meaning of the
              ATA (activities involving violent acts that are criminal under U.S. law and appear to
              be intended to influence the policy of the United States (and Iraq) by coercion)
              (SAC ¶¶336, 2187, 2198, 2205);

             the attacks were carried out by terrorists, not the armed forces or military forces of
              recognized governments (SAC ¶332); and

             the attacks violated the laws of armed conflict (SAC ¶¶332, 335).

   Saderat’s argument therefore hinges on the legal proposition that acts of international terrorism

   alleged in the Complaint are also acts of war within the meaning of ATA §2336(a), giving it a

   complete defense.

          In a decision that Saderat completely ignored in a prior opposition brief, and now buries

   deep in a three-sentence footnote, BS Mem. at 5, n. 12, the Second Circuit flatly rejected that

   proposition:

          The purpose of the ATA was “[t]o provide a new civil cause of action in Federal
          law for international terrorism that provides extraterritorial jurisdiction over
          terrorist acts abroad against United States nationals.” H.R. 2222, 102d Cong.
          (1992). The statutory exception for an act of war defines it as “any act occurring
          in the course of—(A) declared war; (B) armed conflict, whether or not war has
          been declared, between two or more nations; or (C) armed conflict between
          military forces of any origin.” 18 U.S.C. §2331(4). Acts of war, then, are
          distinguished from acts of terrorism.

          .... [T]he ATA is designed precisely to differentiate between acts of terrorism and
          acts of war, while CERCLA is silent as to terrorism. Indeed, in the CERCLA
          context, an event may be both an act of war and an act of terrorism; under the
          ATA regime, it may not....

   In re Sept. 11 Litig., 751 F.3d at 93 (emphasis added). Saderat’s footnote dismisses this as “dicta

   not supported by the text of the ATA and not controlling.” But the Second Circuit has warned

   against “cavalierly disregard[ing]” dicta from a higher court, especially when they concern

   “construction of a statute.” United States v. Bell, 524 F.2d 202, 206 (2d Cir. 1975). Saderat’s

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   entirely perfunctory dismissal of the Second Circuit’s consideration of the ATA’s purpose and

   thrice-repeated differentiation of the ATA’s distinction between acts of terrorism and acts of war

   as “not supported” is cavalier. That court’s rejection of the proposition that an act of terrorism

   may be an act of war – “under the ATA regime, it may not” – alone compels the rejection of that

   proposition here. But even if it did not, the “statutory text, structure, and remedial purposes” of

   the ATA to which the Court of Appeals looked, In re Sept. 11 Litig., 751 F.3d at 93 (“Given the

   manifestly distinct statutory text, structure, and remedial purposes of CERCLA and the ATA, we

   do not construe ‘act of war’ to have the identical meaning in both statutes”), as well as the

   ATA’s clear legislative history, command the same result.

           A.      Sporadic Terrorist Attacks Are Not an “Armed Conflict” Within the
                   Meaning of the ATA, and There Was No “Armed Conflict” With Iraq or
                   Iran at the Time of the Attacks.

           Saderat argues that the Iraq “War is a Declared War or Armed Conflict,” BS Mem. at 6,

   citing the Authorization for Use of Military Force (“AUMF”) Against Iraq Resolution of 200283

   and noting the U.S. military invasion of Iraq started on March 20, 2003. BS Mem. at 2. But it

   simply omits the next steps in the relevant chronology, that: President Bush declared on May 1,

   2003, that “major combat operations in Iraq have ended;” 84 the Coalition Provisional Authority

   (“CPA”) established as the interim government for Iraq disbanded the Iraqi military forces on

   May 23, 2003; the U.N. Security Council authorized the post-conflict occupation of Iraq by

   Coalition Forces in October 2003 to maintain “security and stability” 85 – all before the attacks at

   issue in this case; and the CPA transferred sovereignty to Iraqi authorities on June 28, 2004,


   83
           Pub. L. No. 107-243, 116 Stat. 1498 (Oct. 16, 2002) (emphasis added).
   84
             President Bush Announces Major Combat Operations in Iraq Have Ended (May 1, 2003), available at
   http://georgewbush-whitehouse.archives.gov/news/releases/2003/05/20030501-15.html.
   85
           S.C. Res. 1511, para. 13, U.N. Doc. S/RES/1511 (Oct. 16, 2003).


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   shortly after the first attack but before the rest, pursuant to a U.N. Security Council Resolution

   that expressly assigned the remaining Coalition Forces the task of helping Iraq “by preventing

   and deterring terrorism.”86 In short, the armed conflict with Iraq ended well before any of the

   acts of terrorism at issue in this case, and the United States remained, first as an occupying

   authority, and then as support for the Iraqi government, in substantial part to prevent and deter

   terrorism. Furthermore, Saderat’s reliance on the AUMF Against Iraq Resolution of 2002 simply

   underscores that Congress never authorized the use of military force against – and the United

   States has never been in an “armed conflict” with – Iran.

            Notwithstanding Saderat’s repeated invocation of Kaplan v. Central Bank of Iran, 961 F.

   Supp. 2d 185 (D.D.C. 2013), calling acts of terrorism occurring over the course of many years an

   “armed conflict” does not make it one. Indeed, as noted above, Saderat itself tellingly referred in

   a prior brief to “clashes of remnants, insurgents and other ‘forces of any origin’” occurring in the

   “aftermath” of “conventional war.” BS 5/29/15 Mem. at 11 (emphasis added). While Plaintiffs

   agree with Judge Hellerstein’s analysis in Lelchook v. Commerzbank that Kaplan misconstrued

   §2336,87 its analysis on its own terms does not apply to the attacks here at issue. It characterized

   as armed conflict the “temporarily limited, discrete [conflict] waged between Israel and Lebanon


   86
             S.C. Res. 1546, U.N. Doc. S/RES/1546 (June 7, 2004) (“Decides that the multinational force shall have the
   authority to take all necessary measures to contribute to the maintenance of security and stability in Iraq in
   accordance with the letters annexed to this resolution expressing, inter alia, the Iraqi request for the continued
   presence of the multinational force and setting out its tasks, including by preventing and deterring terrorism ….”).
   (Emphasis added.) The Security Council went on to condemn the kind of terrorist acts here at issue. Id. ¶10
   (“Condemns all acts of terrorism in Iraq, reaffirms the obligations of Member States under [prior] resolutions … ,
   and other relevant international obligations with respect, inter alia, to terrorist activities in and from Iraq or against
   its citizens, and specifically reiterates its call upon Member States to prevent the transit of terrorists to and from
   Iraq, arms for terrorists, and financing that would support terrorists, and re-emphasizes the importance of
   strengthening the cooperation of the countries of the region, particularly neighbours of Iraq, in this regard ….”). Id.
   ¶17 (emphasis in original).
   87
           Lelchook v. Commerzbank AG, 10-cv-5795 (S.D.N.Y. 2010). See July 18, 2011 Court transcript, Radine
   Decl. Exhibit J, at 25 (rejecting argument that Hezbollah’s launching of rockets during the conflict in Southern
   Lebanon in 2006 qualified as “acts of war”).


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   over the course of 34 days during the summer of 2006 and provoked by a discrete event,” a

   border crossing that triggered a massive ground invasion by the Israeli armed forces. Kaplan,

   961 F. Supp. 2d at 203.88

            The 1991 Persian Gulf War is distinguishable on the same basis as the Israel-Lebanon

   War. That armed conflict was also authorized by an Authorization for the Use of Military Force

   Against Iraq, Pub. L. No. 102-1, 105 Stat. 3 (Jan. 4, 1991) (emphasis added), and the ensuing

   armed conflict was between U.S. (and allied) military forces and the Iraqi military forces in a

   conflict recognized by U.N. Security Council Resolution 678, U.N. Doc. S/RES/678 (Nov. 29,

   1990). The Persian Gulf War, also like the Israel-Lebanon War, was a temporally limited,

   intense, sustained conflict between vast national armed forces that came to a negotiated end. The

   court in Stutts therefore rested its application of the act-of-war defense exclusively on the

   plaintiffs’ concession that the acts they complained of “occurred during the ‘1991 Persian Gulf

   War.’” 2006 WL 1867060, at *4.89 Neither Kaplan nor Stutts carries any precedential value for

   characterizing acts of sporadic terrorist violence by “remnants and insurgents” that occur after

   major combat operations have ended.

            B.       Even if the Acts of International Terrorism Did Occur During an Armed
                     Conflict, They Were Not Conducted by “Military Forces” Within the
                     Meaning of the Act-of-War Defense.

            Even if the Court were to hold, as a matter of law, that the acts of international terrorism

   at issue here occurred in an armed conflict, they were not committed by “military forces” within

   the meaning of §2336(a) of the ATA. Congress explained that “[t]he intention of this provision is



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            In contrast, the terrorist attacks on Coalition Forces at issue here occurred after the conclusion of major
   combat operations during and after an occupation, were not between the United States and Iraq or its military forces,
   and neither occasioned, nor were ever officially characterized as, a conflict with Iran or even with Hezbollah.
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           The Stutts court overlooked the statutory requirement that the act of war occur “in the course of,” and not
   simply during, the war, as further explained below.

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   to bar actions for injuries that result from military action by recognized governments as opposed

   to terrorists, even though governments also sometimes target civilian populations.” H. Rep. 102-

   1040, at 7 (1992); S. Rep. 102-342 at 46 (1992) (emphasis added). This legislative history shows

   exactly why the Second Circuit’s “dicta” in In re Sept. 11 Litig. was both considered and exactly

   right (“[T]he ATA is designed precisely to differentiate between acts of terrorism and acts of

   war”).

            Undeterred by the case law and the clear legislative history, Saderat argues that terrorists

   are “military forces of any origin” within the definition of §2331(4)(C) and therefore qualify for

   the act of war defense. See BS Mem. at 7. But this phrase only recognizes that a government may

   conduct military action in an armed conflict not just by its formal “armed forces,” but also by

   “[m]embers of other militias and members of other volunteer groups, including those of

   organized resistance movements, belonging to a Party to the conflict and operating in and outside

   their own territory,” provided these kinds of military meet the same conditions as the armed

   forces of a state – conditions that distinguish them from civilians and entitle them to combatant

   immunity. Geneva Convention Relative to the Treatment of Prisoners of War, Aug. 12, 1949

   (Geneva III), art. 4(A)(2). See Gill, 893 F. Supp. 2d at 515. In pertinent part, these conditions

   include:

                (a)    that of having a fixed distinctive sign recognizable at a distance;
                (b)    that of carrying arms openly; and
                (c)    that of conducting their operations in accordance with the laws and customs of
                       war. [Geneva III, art. 4A(2).]90

            Saderat brushes aside this conventional understanding of “military forces” in a footnote

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             See also Protocol Additional to the Geneva Convention of Aug. 12, 1949, and Relating to the Protection of
   Victims of International Armed Conflicts, June 8, 1977 (Protocol I), art. 44(3) (asserting that even a combatant who
   cannot distinguish himself must carry arms “openly” during engagements). “Nor are these … criteria unique to
   [Geneva III]; they are also established under customary international law . . .” followed by the United States. United
   States v. Lindh, 212 F. Supp. 2d 541, 557, nn.34-35 (E.D. Va. 2002) (“all armed forces or militias, regular and
   irregular, must meet the four criteria if their members are to receive combatant immunity”).

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   erroneously asserting that such requirements relate only “to rights of POWs,” before dismissing

   the laws of war as “not relevant to AOW in the first instance.” BS Mem. at 6 n.13. In fact,

   visibility – distinctive signs, open carrying – and “conducting ... operations in accordance with

   the laws and customs of war” are requirements not just for POW treatment, but, more

   importantly, for combatant immunity. See Geneva III, art. 87, 99.91 The act-of-war defense

   simply and logically tracks that immunity. Furthermore, Saderat again reveals its uncertain

   command of the applicable body of law when it argues that the act-of-war defense does not

   incorporate international law or law of war. BS Mem. at 8, 11 n. 19. Geneva III is a treaty of the

   United States and thus part of our domestic law, which Congress must be deemed to know when

   it enacted the defense, and with which the defense must be interpreted consistently. In fact, the

   legislative history of the act-of-war provision itself emphasizes that the defense applied only to

   injuries received in “open” armed conflict (and therefore not in surreptitious terrorist attacks) (H.

   Rep. 102-1040, at 7 (emphasis added)), an unmistakable reference to the basic condition that

   military forces carry their arms openly.

            Gill therefore rightly concluded that to qualify as a “military force of any origin,” for

   purposes of the act-of-war defense, a group would have to act like the armed forces of a nation

   by meeting the same conditions. Of course, it is not enough that a force had something

   resembling military training or functions as a military or paramilitary wing of a terrorist group.

   See Weiss, 2007 WL 4565060, at *6 (allegations that terrorists engage in military or paramilitary

   activities does not make them a “military force” within the meaning of the ATA); Morris, 415 F.


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            U.S. Dep’t of Defense, Law of War Manual, §§ 4.4.3.1, 4.4.3.2 (June 2015, updated May 2016) (“[T]he
   legal immunity that combatants may be afforded is not the same as POW status.... In addition to being associated
   with humanitarian principles governing the treatment of POWs, the combatant’s privilege has also been viewed as
   an application of the immunity that international law affords States from each other’s jurisdiction. In this view, “the
   act of the soldier who conforms to the law of war and does not engage in private acts of warfare is an act of state
   depriving the enemy state of jurisdiction.”) (emphasis added), available at
   http://www.defense.gov/Portals/1/Documents/DoD_Law_of_War_Manual-June_2015_Updated_May_2016.pdf

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   Supp. 2d at 1333 (allegation that the group that conducted the terrorist attack received “military”

   training does not establish that the group operated as a military force).

            Congress, in using that term [“military”], can be said to have designed the statute
            to contrast the traditional actions of national militaries with those of terrorist
            groups.... [A] paramilitary or terrorist group or organization must act as a
            “military” traditionally (but not universally) does – i.e., in substantial
            conformance with the laws of war, with attacks directed at civilians making up an
            incidental rather than substantial portion of its activities – to have its challenged
            conduct qualify for protection pursuant to section 2331(4)(C). [Gill, 893 F. Supp.
            2d at 515 (emphasis added).]92

            Nor does the ATA remedy exclude those Americans who wore a military uniform in

   service of their country; it runs to “any national of the United States” injured by an act of

   international terrorism. 18 U.S.C. §2333(a) (emphasis added). In fact, in Morris, the plaintiff was

   a U.S. soldier attacked by a member of al Qaeda during combat in the armed conflict in

   Afghanistan after 9/11 (an armed conflict authorized by an AUMF expressly naming al Qaeda as

   the enemy), yet the court had no difficulty finding that terrorist acts by organized groups like al

   Qaeda were not acts of war within the meaning of the ATA, noting that terrorists are defined as

   groups that systematically use violence to coerce. 415 F. Supp. 2d at 1333-34. It is unclear how

   the Morris opinion’s age (2006) somehow gives it “little persuasive value,” BS Mem. at 11 n.20,

   when the act-of-war defense has remained unchanged since its enactment.

            Saderat also breathlessly asserts that excluding terrorists from “military forces” for

   purposes of the act-of-war defense would make armed conflicts “a virtually unlimited source of

   claims from soldiers.” BS Mem. at 12. But excluding terrorists, as Congress intended, still

   preserves the act-of-war defense for acts of violence committed by the armed forces of states and

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             Saderat cites Sokolow, 583 F. Supp. 2d at 459, to argue that the situs or target of the attack is dispositive in
   characterizing the attacker as a “military force.” BS Mem. at 11. But Sokolow never held that either factor was
   dispositive, nor could it, consistent with the statute. The act-of-war definition describes the actor, not the target, and
   a terrorist group that targets soldiers – even in the middle of an armed conflict – does not thereby become a “military
   force.”


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 the militias (or other forces of any origin) that fight openly and conduct their operations like

 those armed forces (even when they also inflict collateral civilian casualties in accordance with

 the law-of-war principle of proportionality). This covers the vast majority of the hostilities by

 contending forces in armed conflict that inflict injuries on soldiers, but does not extend to acts of

 terrorism committed by terrorist organizations.93 This was one reason that the court in Weiss,

 2007 WL 4565060 at *5 held that designated terrorist organizations cannot constitute a “military

 force of any origin” within the meaning of the act-of-war defense.

          The attacks at issue here were all orchestrated and/or committed by U.S.-designated

 terrorists or their proxies – the U.S.-designated FTO Hezbollah, the U.S.-designated SDGT

 IRGC-Qods Force, and their proxies in Iraq (including the U.S.-designated FTO Kata’ib

 Hezbollah (SAC ¶304)). Neither Hezbollah nor Iran’s other proxies acted like a military force

 within the meaning of the ATA. They did not carry arms openly. SAC ¶332. They did not

 distinguish themselves from civilians (SAC ¶332) – indeed, the only uniforms they wore were

 stolen U.S. military uniforms (SAC ¶1044), in blatant violation of Protocol I, art. 37 (prohibiting

 perfidy). The injuries they inflicted were not the result of “open” armed conflict. They murdered

 defenseless U.S. prisoners (SAC ¶¶335, 1052) and a journalist. SAC ¶¶1232-1234. And a


 93
            Saderat warns that the “extraterritorial ATA” must be “cabined” and that there is “a particular reason for
 caution in interpreting AOW,” emphasizing that application of U.S. law extraterritorially “can produce ‘international
 discord.’” BS Mem. at 12, n. 21. Remarkably, for the second time, Saderat fails to acknowledge, much less
 distinguish, the contrary holding of this Circuit’s Court of Appeals on this precise point, even after Plaintiffs brought
 it to their attention in their prior opposition brief. In Weiss v. National Westminster Bank, PLC, 768 F.3d 202 (2d
 Cir. 2014), the Court of Appeals held not only that Congress had clearly expressed its intention for the ATA civil
 remedy to apply extraterritorially, but also that it intended it to apply “regardless of the views and laws of other
 nations.” Id. at 207 n. 5, 208. It’s one thing to cavalierly dismiss (without explanation) considered dicta of the higher
 court as “not supported,” BS Mem. at 5 n.12, but quite another to assert a proposition expressly rejected by its
 holding. In accordance with the Weiss Court’s reasoning for that holding, any “caution in interpreting the act of war
 limitation” must be exercised to avoid applying it in ways that immunize designated terrorists and their proxies for
 conceded acts of international terrorism. As Congress affirmed in JASTA §2(b), the ATA’s purpose is: “to provide
 civil litigants with the broadest possible basis, consistent with the Constitution of the United States, to seek relief
 against persons, entities, and foreign countries, wherever acting and wherever they may be found, that have provided
 material support, directly or indirectly, to foreign organizations or persons that engage in terrorist activities against
 the United States.”

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 substantial additional objective of these terrorists was also to intentionally target and attack

 civilians, as the U.S. government has repeatedly found. SAC ¶¶16, 27, 35, 36, 257, 265, 273-

 278, 305, 308, 323, 335, 350-351, 419-420. By failing to differentiate themselves from civilians,

 to carry arms openly, or to refrain from targeting civilians, Hezbollah, the IRGC, and their

 proxies failed to conduct themselves like “military forces,” making their acts criminal acts of

 international terrorism, as this Circuit has explicitly found in another context. See Pan American

 World Airways, Inc. v. Aetna Cas. & Surety Co., 505 F.2d 989, 1015 (2d Cir. 1974) (“The loss of

 Pan American 747 [by a terrorist hijacking] was not caused by an act that is recognized as a

 warlike act. The hijackers did not wear insignia. They did not openly carry arms. Their acts had

 criminal rather than military overtones.”).

          The collection of sectarian killers described in the Complaint (and originally described by

 Saderat itself as “remnants and insurgents”) “may be prosecuted legally as criminals for bearing

 arms against the government and for other offenses …,” as our own military recognized during

 and after the occupation of Iraq. Counterinsurgency, FM 3-24 (Dec. 2006) App. D at D-15.94

 This Court should not accord them a status that our own government refuses them. Id.

 (“Insurgents have no special status under international law.”).95 Morris therefore correctly held

 that Khadr’s acts in attacking U.S. soldiers were not acts of war and that al Qaeda was not a

 military force within the meaning of the ATA. 415 F. Supp. 2d at 1333-34. Neither were the

 FTOs and SDGTs and their proxies who orchestrated the IED and EFP attacks alleged here.


 94
          http://usacac.army.mil/cac2/Repository/Materials/COIN-FM3-24.pdf (last accessed July 10, 2015).
 95
           The United States charged Omar Khadr, an al Qaeda member who attacked U.S. soldiers during armed
 conflict in Afghanistan, with “Murder by an Unprivileged Belligerent for “attempt[ing] to murder diverse persons,
 while in the context of and associated with armed conflict and without enjoying combatant immunity, by converting
 land mines to improvised explosive devices and planting said improvised explosive devices in the ground where,
 based on previous surveillance, U.S. troops were expected to be traveling.” Khadr’s planting of IEDs against U.S.
 troops was essentially the same act involved in the majority of the attacks here at issue. See Charge 2, United States
 v. Khadr, http://www.defense.gov/news/Nov2005/d20051104khadr.pdf (last accessed July 9, 2015).

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        In Lindh, the court noted that “[i]t would be absurd for members of [a force] to enjoy

 lawful combatant immunity even though the force had no established command structure and its

 members wore no recognizable symbol or insignia, concealed their weapons, and did not abide

 by the customary laws of war.” 212 F. Supp. 2d at 557, n.35. So, too, it would be absurd to claim

 that Hezbollah and Iran’s other proxies, including groups the United States government has

 formally designated as terrorists, qualify as “military forces” entitled to act-of-war immunity

 even though they wore no recognizable insignia, concealed their weapons, did not fight openly,

 planted explosive devices, murdered their prisoners, and generally did not abide by the laws of

 armed conflict, and would therefore not be entitled to combatant immunity.

        C.      The Attacks Were Not Committed “in the Course of” an Armed Conflict.

        The foregoing construction of “military forces” is reinforced by the restrictive statutory

 definitional phrase, “in the course of.” 18 U.S.C. §2331(4). Stutts, on which Saderat chiefly and

 repeatedly relies (BS Mem. passim), asserted that the plaintiffs’ allegation that the unlawful acts

 “occurred during the ‘1991 Persian Gulf War’ put this case squarely within the exemption under

 §2336 for ‘acts of war.’” 2006 WL 1867060, at *4 (emphasis added). This assertion – which

 constituted the entirety of the court’s analysis for this conclusion – did not reflect the ATA’s

 actual language. An act of war under §2332d is not any act “occurring during” armed conflict

 between military forces. It is only an act “occurring in the course” of such conflicts. 18 U.S.C.

 §2331(4) (emphasis added). “In the course of” is a restrictive phrase, a “gatekeeper” phrase, that

 “exclude[s] from the scope of a statutory provision a subset of conduct that, by its nature and

 substance, deviates from or is not sufficiently related to a general set of conduct otherwise

 governed by the provision.” Klieman, 424 F. Supp. 2d at 164. Accord, Biton, 412 F. Supp. 2d at

 7-9 (collecting cases). Saderat completely ignores this limitation. BS Mem. at 9 (asserting, like



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 the plaintiffs in Stutts, that the injuries there occurred “during the Gulf War”).

          Conduct which violates the laws of armed conflict deviates from normal or ordinary acts

 of war that would entitle the actor to combatant immunity. Therefore, “[a]s a matter of law, an

 act that violates established norms of warfare and armed conflict under international law is not

 an act occurring in the course of armed conflict.” Klieman, 424 F. Supp. 2d at 166.96 Crimes

 committed in wartime – even crimes against soldiers – do not qualify as “acts of war” just

 because of their timing; an “act of war” must be committed “in the course of” the armed conflict,

 and then only by military forces acting like the armed forces of the contending parties. The

 terrorist attacks here committed by what Saderat itself once called “remnants and insurgents” in

 the “aftermath” of armed conflict were merely non-qualifying criminal acts of terrorism.

          To apply the act of war defense to acts of international terrorism perpetrated by

 designated terrorists would be perverse. It would “pervert the very purpose of the ATA, which

 was enacted to deter terrorist activity and hold liable those who engage in it.” Weiss, 2007 WL

 4565060 at *5. Accord, Stansell, 2011 WL 1296881, at *11 (“To find that a terrorist organization

 can be a military force under the ATA would defeat the purpose of the Act....”). As the Supreme

 Court has reminded us, “‘[w]e cannot interpret federal statutes to negate their own stated

 purposes;’” “we must read the words ‘in their context and with a view to their place in the

 overall statutory scheme.’ Our duty, after all, is ‘to construe statutes, not isolated provisions.’”

 King, 135 S. Ct. 2480, 2489, 2493 (2015) (citations omitted). Section 2336 must be construed in

 the context of a statutory scheme that imposes liability for acts of international terrorism, exactly


 96
           Gill found that this was a “powerful” argument, but rejected the act-of-war defense on related, but slightly
 different, grounds because of a concern about incorporating laws of armed conflict. 893 F. Supp. 2d at 514. As noted
 above, however, the laws set out by Geneva III are not incorporated in this sense; they are U.S. law under the
 Supremacy Clause. The point, moreover, is not whether Congress incorporated such laws wholesale as a standard of
 conduct or whether the court need do so. Rather, it is that to decide what Congress understood by terms of art such
 as “military forces” and “course of war,” it is appropriate to consider their contemporaneous meaning in the Geneva
 III treaty and customary laws that the U.S. follows, with which Congress may be presumed to be familiar.

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 as the Court of Appeals construed it in In re Sept. 11 Litig., 751 F.3d at 93, not construed in

 isolation to place terrorist acts that happen to murder our soldiers beyond the law’s reach.

                                          CONCLUSION

        For all of the foregoing reasons, the Court should deny Defendants’ motions to dismiss

 and give Plaintiffs the chance to prove their claims. Defendants may be “too big to jail,” but they

 must remain answerable to their victims – as Congress intended and the law provides.


 Dated: October 11, 2016
        Hackensack, NJ                                 Respectfully submitted,

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